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                   IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                          DISTRICT OF FLORIDA MIAMI DIVISION

    Chris Sevier, DE FACTO ATTORNEYS
    GENERAL, John Gunter, SPECIAL
    FORCES OF LIBERTY, Richard
    Penkoski, WARRIORS FOR CHRIST
                                                         COMPLAINT FOR DECLARATORY
                                                         RELIEF AND INJUNCTIVE RELIEF
    Plaintiffs,

              V.

    Merrick Garland, IN HIS OFFICIAL
    CAPACITY OF THE UNITED STATES,                                                   JUL 20 2021
    Ron DeSantis, IN HIS OFFICIAL                                                     ANGELA E. NOBLE
                                                                                     CLERK U.S. DIST. CT.
    CAPACITY AS THE GOVERNOR OF                                                      S. D. OF FLA. - MIAMI
    FLORIDA

              Defendants.


                                       ORIGINAL COMPLAINT
    What the ACLU started in Reno American Civil Liberties Union, 521 US. 844 (1997), we intend
                        to finish and perfect. - De Facto Attorneys General

                            Understanding the Stop Social Media Censorship Act
                            htt.ps:llwww.voutube,comlwatch?v=CCcOALXNteM

                                  htto:l/www.soecialforcesofliberty.com/

           1. This is an action for declaratory and injunctive relief that challenges the sole surviving

   provisions of the "Communications Decency Act of 1996", 47 U.S.C. § 230 et. seq.,1 (hereinafter

   referred to as "Section 230") for namely violating the Petition and Access Clause of the First

   Amendment of the United States Constitution, as well as the Free Speech, Free Exercise and

   Establishment Clauses. The Plaintiffs attack this issue from a different angle than the Trump


          1
              In 1996, Congress passed the Communications Decency Act of 1996, which amended
   the Telecommunications Act of 1934 with Section 230(c ), intending to promote the growth and
   development of Internet platforms, as well as to protect against the transmission of obscene
   materials over the Internet to children. Section 230 is vague and not the least restrictive means to
   fulfill any interests asserted by the government.
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    Plaintiffs. 2 Congress, not Twitter, Facebook, or Youtube, made Section 230. If a litigant wants to

    have a court strike down one of Congress's laws, the proper party to sue in most cases is the

    chief enforcer of Congress's laws, the United States Attorney General. That is what the ACLU

    did in getting all of the other sections of the Communications Decency Act struck down in Reno

    American Civil Liberties Union, 521 U.S. 844 (1997). That is what the Plaintiffs have done here.

            2. In view of a recent decision in Netchoice, LLC et al., v. Moody et. al.

    4 :21 cv220-RH-MAF (N .D .F.L 2021 )(DE 113) and in other cases, there are only two

    intellectually honest outcomes that this Court can render. Optjon one: this Court could find that

    "Congress ... ma[ d]e [a] law... abridging ...the right [of the Plaintiffs] to petition the Government

    for a redress of grievances" in violation of the First Amendment of the United States

    Constitution, when it made Section 230. Option two, this Court could declare that Florida can,

    should, or must enact a narrowly tailored law, like the amended version HB 33 (referred to

    hereinafter as the Stop Social Media Censorship Act) by Sen. Gruters and Rep. Sabatini that was

    painstakingly crafted to fall squarely within the state-law exemption, so that the Plaintiffs and

    other Floridians, for the first time, can legitimately seek redress for their grievances against

    social media websites 3 that acted in bad faith in inflicting personal injury on profile users
    2
      See Trumpv. Twitter, 1:21-cv-22441 (S.D.F.L. 2021), Trumpv. Facebook, 1:21-cv-22440
    (S.D.F.L. 2021), and Trump et al v. YouTube, LLC, 1:21-cv-22445-KMM (S.D.F.L. 2021)
    3
      For purposes of this complaint "social media websites" refer to Facebook, Twitter, Youtube."
    The amended version of HB 33 defines social media websites as follows:
     "Social media website":
            1. Means an Internet website or ap_plication that enables users to communicate with each
    other by posting information, comments, messages, or images and that meets all of the following
    requirements:
            i, Is open to the public,
            ii. Has more than 75 million subscribers with personal user profiles,
            iii. From its inception, has not been specifically affiliated with any one religion or
    political party.
            iv. Provides a means for the website's users to report obscene materials and has in place
    procedures for evaluatimi those reports and removin~ obscene material: and
           v, Allows for subscribers to si~n up for a personal user profile pa~e or account where
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                                                                                                        3


   through fraud, breach, and other deceptive trade practices. Social media websites injured the

   Plaintiffs by falsely marketing themselves as a place where the Plaintiffs were free to exchange

   their political and religious views. After inducing the Plaintiffs to create and invest heavily in

   their user profiles on social media webistes that marketed themselves as glorified digital bulletin

   boards that were neutral on religious and political expression, the social media websites

   arbitrarily shifted their standards and were no longer neutral towards religious and political

   speech, engaging in self-help reprisal actions. The social media websites changed the deal terms

   in bad faith after having reached critical mass and having successfully created a monopoly on the

   digital public square to the shock and awe of users like the Plaintiffs. The bad faith censorship in

   the wake of arbitrary shifting standards that were designed to elevate the religion of Secular

   Humanism over non-religion and other religions has economically and emotionally injured the

   Plaintiffs.4 Social media websites have been permitted to get away with these consumer

   protection violations because of a Congressional action in making Section 230.

          3. In determining the trajectory of the First Amendment of the United States

   Constitution, the public's interest would likely best be served if the Court goes with the second

   option presented. Accordingly, the Plaintiffs plead in the alternatively under FRCP 8(e)(2) and

   demand that if the Court finds that Section 230 does not violate the First Amendment because

   Congress included an escape hatch under subsection (e) subparagraph (3) (referred to as the

   state-law exemption), that the Court should:

   beliefs and preferences can be expressed by the user.
            2. The term does not include a website that merely permits members of the general public
   to post comments on content published by the owner of the website.
            4
              In this case, the Plaintiffs seek a legal path so that social media websites that were never
   affiliated with a religious institution or political party from their inception will be forced to keep
   their promises to consumers to remain neutral on political and religious speech. Social media
   websites that have less than 75,000,000 subscribers or that made it clear upfront to consumers
   that they were affiliated with a specific religious organization or political party are not of concern
   to the Plaintiffs in this action.
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           (a) declare that the State of Florida should have enacted the amended version of HB 33

    and not the comparatively disastrous SB7072 5 that suffers from the Constitutional concerns

    described by the court in Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L

    202l)(DE 113);

           (b) declare that if Florida or any other state were to enact the Stop Social Media

    Censorship Act that the statute would not be preempted under Section 230 and because it

    narrowly falls squarely within the state-law exemption under subsection (e) subparagraph (3) of

    Section 230;

           (c) affirmatively order and direct Governor DeSantis to call a special session pursuant to

    Article III, Section 3 of the Florida Constitution in step with his oath of office under Clause 3 of

    Article VI of the United States Constitution to enact the Stop Social Media Censorship Act to

    cure constitutional defects of SB7072 in view of the decision in Netchoice, LLC et al., v. Moody

    et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) so that the Plaintiffs can finally have the

    actual ability to properly petition the courts of competent jurisdiction for redress against

    deceptive social media websites that defrauded and dehumanized them.

           (d) declare that the Plaintiffs could bring a lawsuit under § 501.2041 against social media

    websites that have victimized them and that § 501.2041 would not be automatically preempted

    by Section 230, even though§ 501.2041 is poorly written in comparison to the Stop Social

    Media Cenosrship Act.

                                        NATURE OF THE CASE
           4. This case creates a binary that asks for a logically consistent outcome by the Judicial

    branch, who is tasked with the obligation to interpret Section 230, the Stop Social Media


    5
      SB7072 is the bill enacted on May 24, 2021 by Governor Desantis, which created §106.072, §
    287.137, and§ 501.204.
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   Censorship Act, and SB7072 in view of the doctrine of preemption created by the Supremacy

   Clause and the First Amendment of the United States Constitution. The Plaintiffs need

   responsiveness from the Court and the Governor because they are concerned about the statute of

   limitations for the kinds of censorship they have experienced that have been detailed by some

   media outlets in articles such as:

           (a) "Facebook Continues Censorship Of Warriors For Chris Page Pastor Says" -
   Christian Post
           https://www.christianpost.com/news/facebook-continues-censorship-of-warriors-for-chris
   t-page-pastor-says.html
           (b) Facebook Removes Christian Page 'Warriors for Christ' - Christian Headlines
           https://www.christianhead)ines.com/b)o~/facebook-removes-christian-pa~e-warriors-for-c
   hrist.html
          (c) "Facebook shuts down Warriors for Christ page" - Geller Report
          https://gellerreport.com/2018/01 /facebook-warriors-christ.html/
          (d) "Gay Activists Shut Down Christian Facebook Page" - Church Militant
          https://www.churchmilitant.com/news/article/gay-activists-succeed-in-getting-christian-fa
   cebook-page-shut-down
          (e) "Facebook Yanks Warriors For Christ After Ignoring Death Threats To Pastor, Says
   Angel In Armor Pie Violates Standards " - Conservative Firing Line
          https://conservativefirin~line,com/facebook-yanks-warriors-christ-i~orin~-death-threats-
   pastor-says-angel-armor-pic-violates-standards/
           (f) "Facebook Censorship of Christians MUST STOP! Lawsuit underway!" - Counter
   Culture Mom
           https://counterculturemom.com/facebook-censorship-of-christians-must-stop-lawsuit-und
   erway/
           (h) "Youtube Censorship: 'Warriors/or Christ'Channel Demonetized" -National File
          https:llnationaifile,com/youtube-censorship-warriors-for-christ-channel-demonetized/
           (i) "LGBT Activists Target Pastor with Death Threats and Feces over a Facebook Emoji"
   - CBNNews
           https ://www 1.cbn.com/cbnnews/us/2017/july/pastor-sent-death-threats-feces-in-mail-for-
   opposing-this-emoji-on-facebook
           (i) "Pastor who banned rainbow flag emoji from his Face book page is forced to flee after
   receiving death threats" - Christian Today
         https:/lwww.christjantoday,com/artjcle/pastotwbo,banned,rajnbow,fla~.emoji.from.hjs.fa
   cebook,pa~e,is.forced,to,flee,after,receivin~.death,threats/l l l l 57,htm
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           5. The ultimate question raised by this action is what is the best solution to the ongoing

    bi-partisan problem of social media censorship? Is it (a) "an executive order by the President?"

    or (b) "to have the judicial branch decree that social media websites are quasi-state actors for

    purposes of the First Amendment?" or (c) "the striking down Section 230 by judcial action

    under the petition and access clause or the total repeal of Section 230 by Congressional action?"

    or (d) "to do nothing, allowing the status quo of bad faith abuse to continue?", or (e) "to allow

    censored litigants to successfully bring a cause of action pursuant to a narrowly tailored state

    statute, like the Social Media Censorship Act, that will allow injured consumers to hold social

    media websites accountable for having engaged in self-evident unprotected harmful forms of

    speech to include: (1) breach of contract, (2) false advertising, (3) deceptive trade practices, (4)

    bad faith, (5) unfair dealing, (6) unjust enrichment, and (7) fraudulent inducement?" The

    Plaintiffs believe that it would be in the best interest of everyone if the Court resolved that the

    optimal solution to this problem is the fifth option - option (e ). This is because already built into

    section 230 is the "state-law exemption" under subsection (e) subparagraph (3). 6 The following

    coalition of bi-partisan state legislatures agreed that the fifth option is the best and served as the

    prime sponsnor of the Stop Social Media Censorship Act7 at the 2021 legislative session and

    have promised to introduce the bill at the 2022 legislative session. Here is the breakdown state

    by state of the bill language, bill numbers, and the name of the prime sponsors:



            6
              When Congress passed section 230 they included exception provisions for when a
    section 230 immunity defense could not be successfully invoked by an internet intermediary
    under subsection (3). The state of Florida has the authority to enact the Stop Social Media
    Censorship Act under the Tenth Amendment of the United States Constitution so that Florida
    citizens are protected.
    7
      All of these bills were assembled by either De Facto Attorneys General or Professor Hamburger
    of Columbia law school.
    https ;//www,law,columhia,edu/sjtes/default/files/2020-02/hamhm:~er- resume 5,3 o, 19,pdf
    The measures are championed by the Heartland institute of policy.https://www.heartland,or~.
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    1. Alabama - Drafted as follows for the 2022 legislative session:
    https://www,dropbox,com/s/mh0kpmi8s9bk:jsp/2022%20ALABAMA%20STOP%20SOCIAL%2
    0MEDIA %20CENSORSHIP%20AMENDED%20FINAL,pdf?dl=0
    2. Alaska. Drafted by Senator Showers (R) for introduction at the 2022 legislative session:
    https://www.drQpbox.com/s/ci7c8x9r10jb55z/2022%20Alaska%20Stop%20Social%20Media%2
    0Censorship%20Act%20AMENDED%20FINAL.pdf?dl=0
    3. Arizona. SB1428 sponsored by Sen. Townsend (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/AZ/text/SB 1428/2021
    -Amended for 2022 legislative session to be introduced by Sen. Townsend:
    https ;//www,drqpbox,com/s/7i0iakb3z4to 1e~/2022%20Arizona%20Sto.p%20Social%20Medja%
    20Censorship%20final,pdf?dl=0
    4. Arkansas. Drafted by Chairman Sen. Clark (R) to be introduced at the 2023 legislative
    session:
    https://www.dropbox.com/s/o98fkpfblyzgkmy/2023%20Arkansas%20Stop%20Social%20Media
    %20Censorship%20Act%20AMENDED%20%28 l %29 .pdf?dl=0
    5. California. In review by Sen. Grove (R) to be introduced at the 2022 legislative session as
    follows:
    https;//www,dropbox,com/s/b7n96qe~fhk~sw3/2022%20Califomja%20Stop%20Socjal%20Medj
    a%20Censorship%20Act.pdf?dl=0
    6. Colorado. To be introduced by Rep. Williams (R) at the 2022 legislative session as follows:
    https://www.dropbox.com/s/tcc7uxddogwgs6f/2022%20Colorado%20Stop%20Social%20Media
    %20Censorship%20Act%20Final.pdf?dl=0
    7. Connecticut. To be introduced as follows at the 2022 legislative session:
    https;//www,dropbox,com/s/db4xy70hcu5j4jp/2022%20Connectjcut%20Stop%20Socjal%20Med
    ia%20Censorshjp%20Act%20FINAL%20AMENDED,pdf?dl=0
    8. Delaware. To be introduced by Sen. Richardson (R) at the 2022 legislative session:
    https ://www.dropbox.cQm/s/Ox3ayrs6964xy9n/2022%20Delaware%20StQp%20SQcial%20Media
    %20Censorship%20Act.pdf?dl=0
    9. Florida. HB 33 sponsored by Rep. Sabatini (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session :
    https;//Je~jscan,com/FL/bjll/H0033/2021
    To be introduced at the 2022 legislative session as follows:
    https;llwww.dropbox,com/s/b65u~s2ntj48t/2022%20Florjda%20Stop%20Socjal%20Medja%
    20Censorship%20Act%20AMENDED,pdf?dl=0
    10. Georgia. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/391sacz7gg3oekj/2022%20New%20Georgia%20Stop%20Social%2
    0Media%20Censorship%20Act%20FINAL%20%281 %29 .pdf?dl=0
    11. Hawaii. SB357 sponsored by Sen. Gabbard (D) - provided by De Facto Attorneys General
    - at the 2021 legislative session:
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    https ://legiscan.com/Hl/text/SB3 57/2021
    To be introduced at the 2022 legislative session by Sen. Gabbard as follows:
    https://www.dropbox.com/s/4dm0d1 wrkp4gah/2022%20Hawaii%20Stop%20Social%20Media%
    20Censorship%20Act%20%281 %29 .pdf?dl=0
    12. Idaho. H0323 sponsored by Rep. Nichols (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session:
    https ;//le~iscan,com/ID/text/H0323/2021
    To be introduced at the 2022 legislative session by Rep. Nichols as follows:
    https://www.dropbox.com/s/5m97v 1mpdrs36cg/2022%20Idaho%20Stop%20Social %20Media%
    20Censorship%20Act.pdf?dl=0
    13. Illinois. Drafted as follows for the 2022 legislative session:
    https://www.dropbox.com/s/tun4sxpl4r4h2ka/2022%20Illinois%20Stop%20Social%20Media%2
    0Censorsbip pdf?dl=0
    14. Indiana: To be introduced at the 2022 legislative session by Rep. Jacobs (R) as follows:
    https ;//www.dropbox.com/s/laea6ssvk03 j5lj/2022%20Indiana%20Sto.p%20Social%20Media%20
    Censorship%20Act%20.pdf?dl=0
    15. Iowa. HFl 71 sponsored by Rep. Salmon (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session:
    https://legiscan.com/IA/text/HF 171/2021
    To be introduced at the 2022 legislative session by Rep. Salmon as follows:
    https;//www,dropbox,com/s/66e8he2cd0zxsj4/2022%20Iowa%20Stop%20Socjal%20Medja%20
    Censorship%20Act%20AMENDED.pdf?dl=0
    16. Kansas. HB2322 sponsored by Rep. Gaber (R) - provided by De Facto Attorneys General.
    To be introduced by Rep. Garber at the 2022 legislative session as follows:
    https://www.dropbox.com/s/6dxnzcfpzlr67gd/2022%20Kansas%20Stop%20Social%20Media%2
    0Censorship%20Act.pdf?dl=0
    17. Kentucky. SBlll sponsored by Sen. Mills (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session:
    https;//Ie~jscan,com/K,Y/text/SB 11112021
    To be introduced at the 2022 legislative session by Sen. Mills as follows:
    https ://www.dropbox.com/s/tlr4kcgakr 1elyc/2022%20Kentucky%20Stop%20Social %20Media%
    20Censorship%20Act%20%281 %29 .pdf?dl=0
    18. Louisiana. SB196 sponsored by Sen. Morris (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/LA/text/SB 196/2021
    To be introduced at the 2022 legislative session by Sen. Morris as follows:
    https;//www,dropbox,com/s/o0qiu7nout6np6h/Louisiana-202 I-SB l 96-En~rossed%20%283%29,
    pdf?dl=0
    19. Maine. LD1609 sponsored by Rep. Sampson (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
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   https ://legiscan.com/ME/text/LD 1609/2021
   To be introduced at the 2022 legislative session by Rep. Sampson as follows:
   https://www.dropbox.com/s/xji2kpbtktkkrsf/2022%20Maine%20Stop%20Social%20Media%20
   Censorship%20Act.pdf?dl=0
   20. Maryland. HB1314 sponsored by Del. Adams (R) - provided by De Facto Attorneys
   General - at the 2021 legislative session:
   https ;//legiscan.com/MD/text/HB 1314/2021
   To be introduced at the 2022 legislative session by Del. Adams as follows:
   https ://www.drgpbox.com/s/nshl9js3df3 yyn5/2022%20Mar.yland%20Sto.,p%20Social%20Media
   %20Censorship%20Act.pdf?dl=0
   21. Massachusetts. To be introduced as follows at the 2022 legislative session:
   https ://www.dropbox.com/s/yy2ubrgeo5eft6k/2022%20Massachusetts%20Stop%20Social%20M
   edia%20Censorship%20Act,pdf?dl=0
   22. Michigan. To be introduced as follows at the 2022 legislative session:
   https;//www.dropbox,com/s/n31QnOuw23re37z/2022%20Michigan%20Stop%20Social%20Media
   %20Censorship%20Act%20Final%20amendment.pdf?dl=0
   23. Minnesota. To be introduced as follows at the 2022 legislative session:
   https://www.dropbox.com/s/7zrv9gy8jzv48gi/2022%20Minnesota%20Stop%20Social%20Media
   %20Censorship%20Act°/o20Amended%20final.pdf?dl=0
   24. Mississippi: SB2617 sponsored by Sen. Hill (R) - provided by De Facto Attorneys General
   - at the 2021 legislative session:
   https;//legiscan,com/MS/text/SB2617/2021
   To be introduced as follows at the 2022 legislative session:
   https://www.dropbox.com/s/wxjg7ean5b3 7ogw/Mississip_pi%20S top%20Social%20Media%20C
   ensorship%20Act.pdf?dl=0
   2S. Missouri. HB482 sponsored by Rep. Coleman (R) - provided by De Facto Attorneys
   General - at the 2021 legislative session:
   https;U)egiscan,com/MO/bj]]/HB482/202 I
   To be introduced as follows at the 2022 legislative session:
   https;//www.dropbox,com/s/2hj5e2vlyro8m39/2022%20Missouri%20Stop%20Social%20Media
   %20Censorship%20Act.pdf?dl=0
   26. Montana. To be introduced as follows at the 2023 legislative session:
   https ://www.dropbox.com/s/gtwz360f2dik04u/2023%20MONTANA%20STOP%20SOCIAL %2
   0MEDIA %20CENSORSHIP%20AC1'°/o20AMENDED%20FINAL.pdf?dl=0
   27. Nebraska. LB621 sponsored by Sen. Curt Friesen (R) - provided by De Facto Attorneys
   General - at the 2021 legislative session:
   https;//legiscan,com/NE/text/LB621/2021
   To be introduced as follows at the 2023 legislative session:
   https://www.dropbox.com/s/4s6wsko5dw9suj4/2022%20Nebraska%20%20Stgp%20Social%20
   Media%20Censorship%20Act%20FINAL.pdf?dl=0
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     28. Nevada: To be introduced as follows at the 2023 legislative session:
                                                                                                ,   It..,;
     29. New Hampshire. HB133 sponsored by Rep. Plett (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ://legiscan.com/NH/text/HB 13 3/2021
     To be introduced as follows at the 2022 legislative session:
     https://www,dropbox,com/s/bj1whnhjf4cfxui/2022%20New%20Hampshjre%20Stop%20Social
     %20Media%20Censorship%20Act,pdf?dl=0
     30. New Jersey. A578 sponsored by Asm. Auth (R) - provided by De Facto Attorneys General
     - at the 2021 legislative session:
     https ://legiscan.com/NJ/text/A578/2020
     To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/pkt2wgtgx8mwpjb/New%20Jersey%20Stop%20Social%20Media%
     20Censorshjp%20Act,pdf?dl=O
     31. New Mexico. To be introduced as follows at the 2022 legislative session:
     https;//www,dropbox,com/s/3rjkno4547telvr/2022%20New%20Mexico%20Stop%20Social%20
     Media%20Censorship%20Act%20AMENDED.pdf?dl=0
     32. New York. To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/fretoaagwy7108z/2022%20New%,20York%20Stop%20Social%20M
     edia%20Censorship%20Act%20FINAL%20AMENDED%20.pdf?dl=0
      33. North Carolina. S497 sponsored by Sen. Alexander (R) - provided by De Facto
     Attorneys General - at the 2021 legislative session:
     https ;Ule~iscan,com/NC/text/S497/2021
     34. North Dakota. HB1144 sponsored by Rep. Kading (R) - provided by Professor
     Hamburger- at the 2021 legislative session:
     https://legiscan.com/ND/text/1144/2021
     To be introduced as follows at the 2022 legislative session by Rep. Jones:
     https://www.dropbox.com/s/iwf5b 1eyyj 82wsi/2022%20N orth%20Dakota%20Stop%20Social%2
     0Media%20Censorshjp%20Act,pdf?d]=0
     35. Ohio. To be introduced as follows at the 2022 legislative session:
     https;//www,dropbox,com/s/yziri2z6~80eer4/2022%20New%20Ohjo%20Stop%20Social%20Me
     dia%20Censorship%20Act%20Final.pdf?dl=0
     36. Oklahoma. SB383 sponsored by Sen. Standridge (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ://legiscan.com/OK/text/SB3 83/2021
     To be introduced as follows at the 2022 legislative session:
     https://www,dropbox,com/s/]5Qi8fe4z7QWUXb/2022%20Ok]ahoma%20Stop%20Socia]%20Medi
     a%20Censorship%20Act%20FINAL %20AMENDED,pdf?dl=0
     37. Oregon. To be introduced as follows at the 2022 legislative session by Rep. Leif:
     https://www.dropbox.com/s/4k0sm4j5o0iub68/2022%200re~on%20Stop%20Social%20Media%
     20Censorship%20Act%20FINAL %20AMENDED.pdf?dl=0
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    38. Pennsylvania. SB604 sponsored by Sen. Mastriano (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https://legiscan.com/PA/text/S8604/202 l
     39. Rhode Island. HSS64 sponsored by Vella-Wilkinson (D) - provided by De Facto
    Attorneys General - at the 2021 legislative session:
    https:/lwww.dropbox.com/s/hnkI Iybifb0bgk8/2022%20Rhode%20Island%20Stop%20Social%2
    0Medja%20Censorship.pdf?dl=0
    40. South Carolina. H34S0 sponsored by Rep. Burns (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/SC/text/H3450/2021
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/73d6fwl 1hwr204t/2022%20South%20Carolina%20Stop%20Social
    %20Media%20Censorship%20Act%20Conso1idated%20%282%29.pdf?dl=0
    41. South Dakota. HB1223 sponsored by Rep. Jensen (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/SD/bill/HB 1223/2021
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/7bnc8jvt50hhzbu/2022%20South%20Dakota%20Stop%20Social%2
    0Media%20Censorship%20Act.pdf?dl=0
    42. Tennessee. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/y Irl biujf5awlep/2022%20Tennessee%20Stop%20Social%20Media
    %20Censorship%20bill%200859%20amended%20FINAL%20,pdf?dl=0
    43. Texas. SB12 sponsored by Sen. Hughes - provided by De Facto Attorneys General - at the
    2021 legislative session:
    https://www.dropbox.com/s/upeh2w5u5pn6zfc/2022%20Texas%20Stop%20Social%20Media%2
    0Censorship%20Act.pdf?dl=0
    44. Utah. SB228 sponsored by Sen. McKell (R) - provided by De Facto Attorneys General - at
    the 2021 legislative session:
    https://Ieeiscan,com/UT/text/SB0228/202 I
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/6zv60b2igd5xpun/2022%20Utah%20Stop%20Social%20Media%20
    Censorship%20Act%20AMENDED%20FINAL.pdf?dl=0
    45. Vermont. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/kyx6ok5u8o 1fhwu/2021 %20Vennont%20Stop%20Social%20Media
    %20Censorship%20Act%20FINAL %20.pdf?dl=0
    46. Virginia. To be introduced as follows at the 2022 legislative session by Delegate Byron:
    https://www.dropbox.com/s/fmbibe2oe9r6st3/2022%20Vireioia%20Stop%20Social%20Media%
    20Censorship%2QAct%20%281 %29.pdf?dl=0
    47. Washington. To be introduced as follows at the 2022 legislative session:
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                                                                                                           12


    https://www.dropbox.com/s/x3tig83nsjdhr0p/2022%20Washington%20Stop%20Social%20Medi
    a%20Censorship%20Act%20FINAL.pdf?dl=0
    48. West Virginia. To be introduced as follows at the 2022 legislative session by Sen Azinger:
    https://www.dropbox.com/s/6tfkmxloznw5igj/West%20Virginia%20Stop%20Social%20Media%
    20Censorshjp%20Act.pdf?d1=0
    49. Wisconsin. To be introduced as follows at the 2022 legislative session:
    https://www,dropbox,com/s/pt8v99suwbirjel/2022%20Wisconsin%20Stop%20Social%20Media
    %20Censorship%20Act,pdf?dl=0
    50. Wyoming. SF0lO0 sponsored by Sen. Steinmetz (R) - provided by Professor Hamburger-
    at the 2021 legislative session:
    https://legiscan.com/WY/text/SF0 1OO/id/2339364/Wyoming-2021-SFO100-Engrossed.pdf
    To be introduced as follows at the 2022 legislative session:
    https·llwww.dropbox,com/s/mdr58w.y4wsuvh9t/2022%20Wyomjn~%20Stop%20Socja1%20Me
    dia%20Censorshjp%20Act,pdf?dl=0

            6. The Plaintiff, along with hundreds of legislatures, have spent an enormous amount of

    time, money, and resources working on this issue because it is vital to the strength of our

    democracy and the welfare of our citizens. The Court could hold that the "cure-all" to the

     problems presented by this case is the state legislature must be responsive in enacting the Stop

     Social Media Censorship Act, if they want their constituents to be protected from the deceptive

    trade practices perpetrated by social media websites.

          DEMAND FOR SUA SPONTE RESPONSIVENESS OF THE GOVERNOR AND
           SETTLEMENT OFFER TO THE GOVERNOR IN THE SPIRIT OF FRCP 68

            7. In keeping with the spirit of FRCP 68, if Governor De Santis, also a former Judge

     Advocate General, like several members of De Facto Attorneys General and Special Forces Of

     Liberty, will sua sponte call a special session pursuant to Article III, Section 3 of the Florida

     Constitution to attempt to enact the Stop Social Media Censorship Act as set forth in Appendix B

     and in the body of this complaint, then the Plaintiffs will voluntarily non-suit their case against

     the Governor pursuant to FRCP 41(a) without prejudice. 8 In view of the decision in Netchoice,

            8
               The Plaintiffs do not care who is the prime sponsor in the Florida House and Senate,
     but note that Sen. Gruters and Rep. Sabatini carried the bill in the past.
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    LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 202l)(DE 113), Governor DeSantis

    has a duty pursuant to his oath of office under clause 3 of Article VI of the United States

    Constitution to call a special session regarding the Stop Social Media Censorship Act in view of

    the constitutional issues embodied in SB7027 as identified by the court in Netchoice, LLC et al.,

    v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 202l)(DE 113). The demand asserted by the

    Plaintiffs on the Governor mirrors what he is already Constitutionally obligated to do and reflects

    the goals he was attempting to accomplish in enacting SB7072.

          RELEVANT PROCEDURAL AND LEGISLATIVE HISTORY OF THE CASE
           8. In 1996 Congress enacted the Communications Decency Act (CDA) to promote

    "decent" speech, not the deceptive trade practices that social media websites have been engaging

    in with a sense of absolute impunity because of Congress's action. Congress enacted the CDA to

    make it easier for consumers to avoid being exposed to ubiquitous obscene pornographic

    material on Internet-enabled devices that is injurious to minors and the public's health. (Most of

    the states have resolved that pornography online is creating a public health crisis that is harming

    children and families). Section 230 was included in part of the CDA to encourage the free flow

    exchange of ideas and to help the Internet grow, by either somewhat limiting or by totally

    limiting the liability of certain Internet providers - like social media websites. The

    Constitutionality of the CDA was challenged by the ALCU for good cause, and the Supreme

    Court struck down all relevant parts of the CDA in Reno American Civil Liberties Union, 521

    U.S. 844 (1997), except for Section 230, which was not challenged. 9 So what started out as an


           9
             The Plaintiffs, who are ardent anti-pornography activists, agree with the ACLU's
    positions and the Reno court's decision. The Plaintiffs do believe that Congress should take up
    JJustice Rehnquist's suggestion oflnternet zoning and zoning pornographic websites in the same
    way and for the same reason that adult establishments are zoned by ordinances. After Congress
    enacted the Human Trafficking And Child Exploitation Prevention Act or SOCA, the Plaintiffs
    intend to aggressively take up the matter with Congress for good cause.
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    attempt to marginalize indecent content morphed into an immunization sword of indecent

    deceptive trade practices and perversion.

            9. In 1998, Congress attempted to cure the failures of the CDA and deal with the

    problem of unavoidable pornography online by enacting the Child Online Privacy Protection Act

    (COPPA). 10 The ACLU successfully had COPPA struck down in Ashcroft v. Am. Civil Liberties

    Union, 542 U.S. 656 (2004). COPPA suffered from fewer Constitutional problems than the

    CDA, and in striking down COPPA, the Supreme Court provided a road map for the legislative

    branch so that it could successfully deal with the problem of online pornography websites

    distributed by Internet-enabled devices without running afoul of the First Amendment, stating

    "Congress may undoubtedly act to encourage the use of filters .... .It could also take steps to

    promote their development by industry, and their use by parents," which was the Supreme

    Court's way of signaling to the legislative branch that it could pass filter legislation, such as the

    Human Trafficking And Child Exploitation Prevention Act or Save Our Children Act (SOCA)

    authored by the Plaintiffs, and that such a legislative instrument would survive judicial review

    under heightened scrutiny, since as the ACLU put it, "filters are the least restrictive means" for

    purposes of the First Amendment of the United States Constitution.

            10. After engaging in operations in Iraq and Afghanistan, some of the members of De

    Facto Attorneys General and Special Forces Of Liberty joined groups of former Special Forces

    and FBI to do extractions in the area of sex trafficking overseas. While doing the training for

     such field operations, the evidence became overwhelmingly clear that human trafficking and

    rampant prostitution was not just a problem overseas, but was a serious growing problem in our

    own backyard here in America thanks to the concerted efforts of manufacturers and retailers of

     10
       The Plaintiffs' friend, Senator Markey, a Democrat, from Massachusetts was the prime sponsor
     of COPPA. He still serves in the United States Senate and could prime sponsor the Federal
     version of the Human Trafficking And Child Exploitation Prevention Act.
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    Internet-enabled devices to distribute prostitution websites and pornographic websites in flagrant

    disregard of obscenity codes and products liability statutes. 11 While the manufacturers and

    retailers of Internet-enabled devices are not creating pornography content or offering sex

    trafficking themselves directly, their distribution of pornographic websites and prostitution hubs

    make them the head of the causal chain of harm. To kill a snake, you have to cut off its head.

            11. In response to this realization, the founder of De Facto Attorneys General, acting on

    behalf of 35 different entities, filed lawsuits against the Tech Enterprise for racketeering in

    violation of products liability law and obscenity codes, asserting that the current condition that

    Internet-enabled devices were sold in were dangerous and defective because they exposed

    consumers to prostitution websites and pornography websites, after the products were falsely

    marketed as "family-friendly." Sevier v. Google, 15-5345 (6th Cir. 2014). The plaintiff asked the

    court in Sevier v. Google, 15-5345 (6th Cir. 2014) 12 and Sevier v. Apple Inc., 3:2013-cv-00607

    (M.D.T.N. 2013) to issue an injunction that required the manufacturers and retailers of

    Internet-enabled devices to sell their products in a manner that opted-out consumers by default

    from having immediate access to websites that displayed obscenity, child pornography, and

    revenge pornography and websites that were known to facilitate human trafficking and


           11
                The evidence shows that the pornography pandemic hurting the public's health and the
    explosion in sex trafficking across the globe is the direct result of concerted effort by the Tech
    Enterprise to disregard obscenity laws and products liability codes, knowingly selling their
    products in a dangerous and defective manner that has unleashed a litany of secondary harmful
    effects.
             12
                Appellant brief.
    https://www.dropbox.com/s/43hvt217s2p2a63/Appellant%20Brie:f1>/o20in%20Sevier%20v.%20G
    oogle.pdf?dl=0
             Appellee Google response
           https;/lwww.dmphox.com/s/y7yOQuQs1 r6c851/Appellee%20Response%20Brief%20in%2
    0Sevier%20v, %20Gooile,pdf?dl=0
            Appellant reply
    https://www.dropbox.com/s/3jnzmi62adsovpg/Reply%20Brie:f1>/o20official.pdf?dl=O
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                     13
     prostitution.        In the litigation, one of the defendants, Verizon, raised a Section 230 immunity

     defense, but the defense did not work because the plaintiffs' cause of action concerned the

     safeness of physical Internet-enabled products, not the Internet itself. This was the first time that

     some of De Facto Attorneys General and Special Forces Of Liberty team members encountered

     an attempt by the Tech Enterprise to use Section 230 to justify immoral business practices. 14

             12. The ultimate goal of the De Facto Attorneys General litigation against the Tech

     Enterprise in Sevier v. Google, 15-5345 (6th Cir. 2014) and Sevier v. Apple Inc.,

     3:2013-cv-00607 (M.D.T.N. 2013) was to cure the problems with COPPA. In the wake of the

     litigation, the Plaintiffs custom authored a bill called Human Trafficking And Child Exploitation

     Prevention Act or, alternatively, the Save Our Children Act (SOCA) for all 50 states. See

     www.humantraffickingpreventionact.com. 15 This legislative instrument was fashioned directly

     off the findings of the Supreme Court in Ashcroft v. Am. Civil Liberties Union, 542 U.S. 656

     (2004) and Ginsberg v. New York, 390 U.S. 629 (1968), two cases that none of the Tech

     enterprise's lawyers could get around in their destructive crusade to keep big tech from being

                               16
     regulated at all cost.



             13
              The case was covered extensively by the press extensively, and the International
     Business Times reported that the litigation carved a path in a manner that prompted Britsh Prime
     Minister Cameron to bring about some of policy demands in the United
     Kingdom.https;//www.jbtjmes.com/war-porn-uk-does-davjd-camerons-plan-battle-chjld-pornoir
     aphy-io-too-far-yjdeo-1355279
     14
             Instead of pursuing the litigation to its final conclusion, the Plaintiffs took to the
     legislative branch to solve the problem so as to not ask too much from the judicial branch.
     15
        Here is a link to the proposed bill language for the SOCA bill for all 50 states:
     https ://www.dropbox ,com/sh/o59we5kQkbu 1gnr/AABrDTwd 19yrWkJJul GhNQo8Ma?dl=O
             16
                The United States Supreme Court found in Ginsberg v. New York, 390 U.S. 629 (1968)
     that a physical display state statute that required physical brick and mortar stores to put physical
     obscene material behind a physical blinder rack was Constitutional under first amendment
     heightened scrutiny, which means that a digital blinder rack statute, such as the Save Our
     Children Act, that requires digital retailers to put digital obscene material behind a digital blinder
     rack is also constitutional on the same legal basis.
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                                                                                                        17


            13. In working with 3 7 state legislative bodies on the Human Trafficking And Child

    Exploitation Prevention Act/SOCA, many of the legislatures in both parties asked the Plaintiffs

    to draft an additional piece of legislation so that their party would not be construed as "the party

    of censorship" and so that the code under a new area of law called "indecent deceptive trade

    practices" would be balanced out. In response, the Plaintiffs custom-designed the language for

    the Stop Social Media Censorship for all 50 states for the benefit of their legislative drafting

    commissions - also referred to commonly as Legislative Research Commission (LRC) or the

    Office of Legal Services (OLS). The Stop Social Media Censorship At is based on well-settled

    existing contract and tort principles. By introducing the Stop Social Media Censorship Act and

    the Human Trafficking And Child Exploitation Prevention Act contemporaneously, several state

    created a seamless narrative that their statehouse is not for censorship (see the Stop Social Media

    Censorship Act) unless the content is injurious to children or facilitates human trafficking (See

    the Human Trafficking And Child Exploitation Prevention Act-SOCA), and even then, their

    statehouse was not for total censorship.

            14. The goals of the Human Trafficking And Child Exploitation Prevention Act/SOCA

    and the Stop Social Media Censorship Act was not to reinvent the wheel but to merely get

    existing law to catch up to modern-day technology to protect the general public from objective

    harm. Internet-enabled devices makers and social media websites have been operating in direct

    violation of the law under a double standard without consequence in a manner that is devastating

    our democracy and undermining National unity.

            15. In 2017, before being elected to Congress, Florida state Rep. Spano introduced the

    Human Trafficking And Child Exploitation Prevention Act at the Plaintiffs' request. 17

            17
                 See the current modified version for the 2022 legislative session
    https;//www,drgpbox,com/s/b65u~s2nfj48t/2022%20Florida%20Stop%20Social%20Medja%
    20Censorship%20Act%2QAMENDED,pdf?dl=Q
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                                                                                                             18


             16. In 2019, Sen. Gruters introduced the Stop Social Media Censorship Act at the

     Plaintiffs' request, constituting the first state legislator to introduce the measure in the Country.

             17. In 2020, Sen. Gruters and Rep. Sabatini 18 reintroduced the Stop Social Media

                                                   19
     Censorship Act at the Plaintiffs' request.

             18. In 2021, Rep. Sabatini introduced the Stop Social Media Censorship Act (HB33),

     and subsequently, for unknown reasons, Rep. Sabatini got into some kind of squabble with

     Speaker Sprowls, as passions do tend to run high in the legislative branch and there are a lot of

     opportunities for conflict in the legislative branch. This dust-up caused the members of the

     Florida House to oppose Rep. Sabatini's bills simply because of "who he was" and not because

     of "the meritorious substance of his bills." In the wake of the Sabatini/Sprowls spat, Governor

     De Santis got his staff to use the Stop Social Media Censorship Act as a preliminary foundation

     to draft the monstrosity that became SB7072.

             19. At the risk of sounding snarky, SB7072 - although well-intended - was distorted by

     ambitions and legal ignorance. Upon information and belief, personal glory might have been

                                                        20
     prioritized over substance and the rule of law.         The judicial branch can help the legislative

     branch get things right.

             20. On May 24, 2021, SB7072 was enacted and set to go into effect in early July.

             21. In early June, Netchoice (a hyper dishonest lobbying firm that does Big Tech's dirty

     work) 21 filed a lawsuit to stop the state from enforcing SB7072. See Netchoice, LLC et al., v.
             18
                  Rep. Sabatini is running for Congress, and the Plaintiffs support his efforts to do so.
             19
                  See the press conference with Laura Loomer:
     https://www.facebook,com/watch/ljve/?v=907548599640066&ref=watch permaliak)
             20
               The Plaintiffs do not give two shakes of a lamb's tail about credit, but they do want to
     see themselves and other consumers protected. The Plaintiffs would remind the Governor of the
     Reagan priniciple in asking him to sua sponte call a special session"there is no limit to the
     amount of good you can do if you don't care who gets the credit."
     21
        The Plaintiffs deal with Netchoice's agents all the time at different state houses around the
     country. Their lobbiests are some of the greasiest and the most intellectually dishonest people
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   Moody et. al. 4:21-cv-00220-RH-MAF (N.D.F.L 2021). Countless lawmakers around the

   country implored the Plaintiffs to intervene in that case, and the Plaintiffs refused to be

   responsive knowing from personal experience - with all due respect - that if you give Judge

   Hinkle of the Northern District of Florida enough rope, he will metaphorically hang himself. 22

           22. On June 30, 2021, Judge Hinkle in Netchoice granted the plaintiffs' motion for

   preliminary injunction to enjoin Florida state officials from enforcing parts of SB7072. Id. at

   (DE 113). This decision, taken with others, gave the Plaintiffs the apprehension that there is no

   way for the Plaintiffs to seek redress from the harmful acts of social media websites because of

   the unconstitutional actions of Congress in making Section 230.

           23. On July 7, 2021, President Trump and others filed a lawsuit against Twitter,

   Facebook, and Youtube but did not include a cause of action under state statute written to fall

   within the state-law exemption of Section 230. See Trump v. Twitter, 1:21-cv-22441 (S.D.F.L.

    2021); Trump v. Facebook, 1:21-cv-22440 (S.D.F.L. 2021); Trump et al v. YouTube, LLC,

    1:21-cv-22445-KMM (S.D.F.L. 2021). On July 16, 2021, the Plaintiffs, in this case, filed an




    imaginable. They routinely distort the law unethically and ultimately are driven by greed. Their
    entire position can be boiled down to "big tech should be permitted to do whatever it wants
    because it is big tech." Widgets and the Internet are special. Fundamental rights are, like the
    freedom to practice one's religion.
            2Zhttps;//www.Iifesitenews,com/news/former-jai:-officer-bii:bJii:hts-ahsurdit;y-of-i:ay-ma.rr
    iai:e-ey-suini:-to-marry-h
   The courts should have dismissed the same-sex marriage cases for lack of subject matter
   jurisdiction. The Establishment Clause of the First Amendment of the United States Constitution
   prohibits the states and federal government from legally recognizing or promoting any form of
   non-secular parody marriage. Also, the states can limit marriage to one man and one woman
   because all other forms of marriage policies promote licentiousness and undermine the state's
   compelling interest to uphold community standards of decency. In the wake of the judiciaries
   unconstitutional endorsement of the LGBTQ secular humanist religion, the Plaintiffs have
   authored the Establishment Act for all 50 states. See Florida's version:
    https;//www,dropbox,com/s/iwaroH17t7madp4r/202t %20Florida%20Estab1ishment%20Act,pdf?
    dl=0
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     amicus brief in partial support of the Trump plaintiffs' cause of action and in Trump v. Twitter,

     1:21-cv-22441 (S.D.F.L. 2021) in partial opposition before filing this lawsuit. 23

                                               SECTION23Q

            24. The Plaintiffs challenge every section and every subsection of Section 230,

     collectively and individually, for having been misconstrued or written to prevent citizens from

     acquiring relief from the government for the bad faith act of social media websites in violation of

     the petition and access clause of the First Amendment of the United States Constitution.

            25. For the Court and Defendants' convenience, here is Section 230 in its entirely:

            (a) Findings
            The Congress finds the following:
             (l)The rapidly developini array of Internet and other interactive computer services
     available to individual Americans represent an extraordinazy advance in the availability of
     educational and informational resources to our citizens.
             {2) These services offer users a great degree of control over the information that they
     receive, as well as the potential for even greater control in the future as technology develops.
             (3)The Internet and other interactive computer services offer a forum for a true diversity
     of political discourse, unjg,ue opportunities for cultural development, and myriad avenues for
     intellectual activity.
             (4) The Internet and other interactive computer services have flourished, to the benefit of
     all Americans. with a minimum of government regulation.
              (5) Increasinib' Americans are relyini on interactive media for a variety of political,
     educational. cultural. and entertainment services.
     (b) Policy
       It is the policy of the United States-
              {1) to promote the continued development of the Internet and other interactive computer
     services and other interactive media;
             (2) to preserve the vibrant and competitive free market that presently exists for the
     Internet and other interactive computer services, unfettered by Federal or State regulation:
     23
       The amicus brief filed by the Plaintiffs in the Trump v. Twitter case raises similar questions of
     law asserted in this complaint. There are several Federal courts that have concurrent jurisdiction
     over the claims here - including this one - and the Plaintiffs are giving the Florida District Court
     the first crack at resolving this controversy in a manner that honors common sense, the rule of
     law, the United States Constitution, while protecting the interest of social media websites and the
     general public. Other groups that the Plaintiffs work with may be immediately filing a similar
     lawsuit to encourage judicial accountability.
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            (3) to encourage the development of technologies which maximize user control over what
    information is received by individuals, families, and schools who use the Internet and other
    interactive computer services;
            (4l to remove disincentives for the development and utilization of blocking and fiitering
    technologies that empower parents to restrict their children's access to objectionable or
    inappropriate online material; and
            (5) to ensure vigorous enforcement of Federal criminal laws to deter and punish
    trafficking in obscenity, stalking, and harassment by means of computer.
    (<:) Protection for "Good Samaritan" blockine and screenine of offensive material
            Ol Treatment of publisher or speaker
            No provider or user of an interactive computer service shall be treated as the publisher or
    speaker of any information provided by another information content provider.
            (2) Civil liability
            No provider or user of an interactive computer service shall be held liable on account

            (Al any action voluntarily taken in good faith to restrict access to or availability of
    material that the provider or user considers to be obscene, lewd, lascivious, filthy. excessively
    violent, harassing. or otherwise objectionable. whether or not such material is constitutionally
    protected; or
            (Bl any action taken to enable or make available to information content providers or
    others the technical means to restrict access to material described in paramph (1). [11
    (d) Obligations of interactive computer service
            A provider of interactive computer service shall, at the time of entering an agreement
    with a customer for the provision of interactive computer service and in a manner deemed
    appropriate by the provider, notify such customer that parental control protections (such as
    computer hardware, software, or filtering services) are commercially available that may assist the
    customer in limiting access to material that is harmful to minors. Such notice shall identify, or
    provide the customer with access to information identifying. current providers of such
    protections,
    (e) Effect on other laws
       (1) No effect on criminal law
             Nothing in this section shall be construed to impair the enforcement of section 223 or 231
    of this title. chapter 71 (relating to obscenity) or 110 (relating to sexual exploitation of children)
    of title 18, or any other Federal criminal statute,
             (2l No effect on intellectual property law
             Nothing in this section shall be construed to limit or ex;pand any law pertaining to
    intellectual property.
             (3) State law
             Nothing in this section shall be construed to prevent any State from enforcing any State
    law that is consistent with this section, No cause of action may be brought and no liability may
    be imposed under any State or local law that is inconsistent with this section.
             (4) No effect on communications privacy law
             Nothing in this section shall be construed to limit the application of the Electronic
    Communications Privacy Act of 1986 or any of the amendments made by such Act, or any
    similar State Jaw.
             (5) No effect on sex trafficking law
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              Nothing in this section (other than subsection (c)(2)(A)) shall be construed to impair or
     limit-
              (A) any claim in a civil action brought under section 1595 of title 18. if the conduct
     under)yine the claim constitutes a violation of section I 59 I of that title;
              CB} any chacee in a criminal prnsecution broueht under State law if the conduct
     underlying the charge would constitute a violation of section 1591 of title 18: or
              (C) any charge in a criminal prosecution brought under State law if the conduct
     underlying the charge would constitute a violation of section 242 lA of title 18. and promotion or
     faci)itation of peostitution is i)Jeea) in the jll[isdiction where the defendant's promotion oc
     facilitation of prostitution was tareeted.
     CO Definitions
              As used in this section:
              (1) Internet
              The teem "Internet" means the international computer networls; of both Federal and
     non-Federal intemperable packet switched data networls;s,
              (2) Interactive computer service
              The term "interactive computer service" means any information service. system. or
     access software provider that provides or enables computer access by multiple users to a
     computer secver, inc)udine specifica))y a secvice oc system that prnvides access to the Internet
     and such systems operated or services offered by libraries or educational institutions.
              (3) Information content provider
              The term " information content provider" means any person or entity that is responsible.
     in whole or in part. for the creation or development of information provided through the Internet
     oc any other interactive computer secvice,
              <4} Access software provider
              The term "access software provider" means a provider of software (including client or
     server software), or enabling tools that do any one or more of the following:
              (A) filter, screen. allow, or disallow content;
              (B) pick, choose, analyze, oc dieest content; oc
              CC) transmit, receive, display, foewacd, cache, search, subset, oeeanize, ceoceanjze, oc
     translate content.

              26. The purpose of Section 230 was to allow for the free exchange of competing ideas

     and to allow the Internet to "grow," by putting some limit on liability for certain providers in

     certain circumstances. But social media websites, that haveinduced billions of subscribers to

     sign up for user profiles, have "grown," and that extreme "growth" occurred because social

     media websites falsely marketed themselves as being neutral on religious and political speech to

     induce everyone to sign up despite their religious and political affiliations. Just because

     Congress wanted to see the Internet businesses grow does not mean that it gets to ignore the
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                                                                                                            23


    Petition and Access Clause of the First Amendment and subject the Plaintiffs to harmful fraud

    without remedy. Former Attorney General Bill Barr described this scenario as "the greatest bait

    and switch in history" stating that social media websites created the modern-day public square

    "by saying that they were open to all views" until they reached critical mass only to prove

    otherwise after the fact. (See interview with Michael Knowles of the Daily Wire on Verdict with

    Ted Cruz: https://youtu.be/_ HVqRE-6bkc)

           27. Section 230(b)(l) asserts that "it is the policy of the United States to promote the

    continued development of the Internet and other interactive computer services and other

    interactive media" but that policy must fail if completely blocks aggrieved parties, like the

    Plaintiffs and the Trump plaintiffs, from having the opportunity to petition the government for

    redress against social media websites that have engaged in harmful consumer protection

    violations in view of the FirstAmendment. 24

            28. Section 230(c)(2)(A) does not apply for blanket immunity for social media websites

                                25
    that censor in bad faith.        Yet, so far, this has been misconstrued by the courts to allow for a

            24
               As discussed in the Harvard Journal of Law & Public Policy, Leary, Mary Graw,
    The Indecency and Injustice ofSection 230 of the Communications Decency Act, Vol. 41, No. 2,
    pg. 564,565 (2018): Congress expressly stated that th[is] is the policy of the United States 'to
    ensure vigorous enforcement of Federal criminal laws to deter and punish trafficking in
    obscenity, stalking, and harassment by means of computer.' That said, Congress appeared to
    recognize that unlimited tort-based lawsuits would threaten the then-fragile Internet and the
    'freedom of speech in the new and burgeoning Internet medium.' Although these two goals
    required some balancing, it was clear from the text and legislative history of§ 230 that it was
    never intended to provide a form of absolute immunity for any and all actions taken by
    interactive computer services. Section 230 is not 'a general prohibition of civil liability for
    web-site operators and other content hosts.' Rather, Congress sought to provide limited
    protections for limited actions.
            25
               Section 230(c)(2)(A) does not provide blanket immunity. It only applies when an
    interactive computer service acts in "good faith." While the parameters of "good faith" immunity
    under Section 230(c)(2)(A) are not necessarily well-defined in the caselaw, courts might
    ultimately conclude that a social media platform's acting differently than how it marked itself
    and shifting its standards is determinative as to whether the platform acted in "good faith." See
    Smith v. Trusted Universal Standards in Elec. Transactions, Inc., 2010 WL 1799456, at *7
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     range of injurious action to go without redress in a manner that causes Section 230 to violate the

     Petition and Access Clause of the First Amendment, as well as the Free Speech, Free Exercise,

     and Establishment Clauses of the First Amendment. The Plaintiffs are under the apprehension

     that they have no lawful recourse, unless this Court clarifies the importance of the state-law in

     exemption and the need for state legislatures to pass good laws, like the Stop Social Media

     Censorship Act that will cut through an immunity defense.

         FACTS ABOUT THE CURRENT LANDSCAPE OF CENSORSHIP GENERALLY

             29. The evidence shows that the decision in Stratton Oakmont, Inc. v. Prodigy Services

     Co., 1995 WL 323710, at *3-4 (N.Y. Sup. Ct. May 24, 1995) in part led to the creation of

     Section 230. 26




     (D.N.J. May 4, 2020). In Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L
     2021 ), the court stated in its order granting a preliminary injunction that "the legislation compels
     providers to host speech that violates their standards-speech they otherwise would not
     host-and forbids providers from speaking as they otherwise would." But that court failed to
     realize that the social media website providers shift those standards in bad faith in an arbitrary
     and dishonest manner in total breach of how they marked themselves to the public to induce
     reliance. That court also failed to realize that the providers invited, enticed, and induced
     members of the public to speak out openly and freely on different religious and political
     doctrines without any threat of emotional or economic reprisal, ony to then tum around and
     deploy a "gotcha game" with the expectation of total immunity.
              26
                 In Stratton Oakmont, Inc. v. Prodigy Services Co., 1995 WL 323710, at *3-4 (N.Y. Sup.
     Ct. May 24, 1995), an anonymous user posted allegedly defamatory content on an electronic
     bulletin board-an earlier version of what today might be called social media. The court said that
     if the provider of such a bulletin board did not undertake to review posted content-much as a
     librarian does not undertake to review all the books in a library-the provider would not be
     deemed the publisher of a defamatory post, absent sufficient actual knowledge of the defamatory
     nature of the content at issue. On the facts of that case, though, the provider undertook to screen
     the posted content-to maintain a "family-oriented" site. The court held this subjected the
     provider to liability as a publisher of the content. At least partly in response to that decision,
     which was deemed a threat to the development of the internet, Congress enacted 47 U.S.C. §
     230. The Stop Social Media Censorship Act does not subject computer services to tort liability
     for passively hosting content posted by others but seeks to empower users by limiting how
     content may be censored. See 47 U.S.C. § 230(b)(2) (describing congressional purpose to ensure
     that users retain "a great degree of control over the information that they receive")
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           30. The Plaintiffs in this case, unlike the Trump Plaintiffs in their cases, contend that

    there are valid uses of Section 230 that should remain in place, if and only if this Court clarifies

    that the state-law exemption can be used by states to provide consumers with the means for

    recourse, as was perhaps intended by Congress.27 However, what has been happening to the

    Plaintiffs, the Trump plaintiffs, and millions of profile users, who are both registered Democrat

    and Republican, is that social media websites have been arbitrarily censoring users speech in bad

    faith when it just so happens to offend the delicate sensibilities of the employees who happen to

    work at the social media website at the time of the censorship. When censored individuals file a

    lawsuit against the social media website for such injurious wrongdoing, the social media

    defendants invariably float the same questionable argument that they were "merely engaging in

    'editorializing' and should, therefore, not be held liable in view of the Section 230 absolute

    immunity shield." So far in these kinds of cases, the courts have reluctantly allowed the social

    media defendants to barely escape liability, like a man jumping through flames. See 1
           27
              Preliminarily, Section 230 should be explained so that a fifth-grader can understand it.
    Basically, Section 230 was a federal statute created by Congress that was part of the
    Communications Decency Act (CDA). The Communications "Decency" Act was designed to
    promote "decent" speech, not the "deceptive trade practices" that social media websites have
    engage in to the direct injury of the Plaintiffs. Section 230 allows for certain internet
    intermediaries to invoke an immunity defense for the harmful acts of third parties, if and only if,
    the internet intermediary was not acting as a publisher/speaker/common carrier to a certain
    arbitrary and hard to determine degree. So, since that explanation is still confusing and since
    trying to determine whether a platform provider was a speaker, publisher, or common carrier
    tends to be a linguistic nightmare, the best way for anyone to understand a valid Section 230
    immunity defense is through the following example: if a Floridian maliciously posts a
    defamatory comment on Twitter against a person from New York, the New Yorker who was
    defamed could legitimately sue the Floridian for defamation. However, if the New Yorker named
    Twitter as a co-defendant in the lawsuit, then Youtube could successfully file a motion to dismiss
    under FRCP 12 et. seq. invoking Section 230 immunity defense as the legal basis, and
    legitimately have the lawsuit dismissed with prejudice against it.
            That example involves a good use of Section 230 - showing that Section 230 is good law
    - because Youtube was merely acting as an innocent platform in that scenario. Therefore, this
    Court could find that Section 230 does not violate the First Amendment Petition but only if it
    finds that the Stop Social Media Censorship Act, if enacted, would fall in the state-law
    exemption and not be preempted by the doctrine of preemption like SB7072 was.
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     Corinthians 3: 15. 28 Despite having hundreds of thousands of users who have been defrauded and

     brutalized, social media websites to date have not been held liable a single time that the Plaintiffs

     are aware of as the result of unconstitutional Congressional action.

        FACTS ABOUT THE STATE LAW EXEMPTION AND FACTUAL DIFFERENCES
           BETWEEN THE STOP SOCIAL MEDIA CENSORSHIP ACT AND SB7077

            31. The evidence shows that lawyers know just enough to be dangerous on any topic

     unless they have litigated the issue. (See the staff lawyers who work for Defendant Governor

     Desantis, who wrote SB7072). The Plaintiffs have litigated Section 230 issues and social media

     censorship before a host of Federal Courts, and more importantly, they have litigated the matter

     before countless legislative committees in the face of robust opposition:

               (1) See the video of the hearing on the Social Media Censorship Act before the public
     laws committee in Missouri, which included arguments from De Facto Attorneys General,
     Google, and the Heartland Institute:
               https://www.youtube.com/watch?v=e40UKo THKZs
               (2) See the video of the hearing before the Commerce Committee in the Louisana
     Senate with testimony by Senator Morris, De Facto Attorneys General, Netchoice, and
     (https ://www.youtube.com/watch ?v=c-N gZhBgkBs&t=8s)
               (3) See the video of the hearing before the Judiciary Committee in the State of Maine
     with testimony by Rep. Sampson and De Facto Attorneys General.
            (https:Uwww.youtube.com/watch?v=jjZ ljnx-dE)
            32. While the Plaintiffs appreciate Florida's initiative to solve this problem, the Plaintiffs

     are concerned that the Florida state government and Federal Court could get this complex issue

     wrong at the expense of the entire country. The Plaintiffs seek a perfect result from a

     constitutional perspective and have filed this action before this Article III Court for good cause

     in view of their personal injuries.


            28
               In rendering such decisions, the courts have been hinting that if the state legislature was
     to enact a statute that was (1) narrowly tailored, (2) consistent with the spirit of Section 230, and
     (3) intentionally designed to fall in the state-law exemption, then such a cause of action would
     successfully pierce through a Section 230 immunity defense. The Court could declare that the
     Stop Social Media Censorship Act - a state statute - is the answer that everyone is looking for
     whether they realize it or not.
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            33. The "state-law exemption" is the only provision of Section 230 that speaks directly

    to the relationship between this federal statute and state law expressly preserves the states'

     authority to "enforc[e] any State law that is consistent with this section." 47 U.S.C. § 230(e)(3).

            34. In the wake of the decision in Netchoice, LLC et al., v. Moody et. al.

     4:21cv220-RH-MAF (N.D.F.L 202l)(DE 113) regarding SB7072, it is unclear whether the courts

     are suggesting that no state statute could fall in the state-law exemption that would allow the

     Plaintiffs to acquire relief against the deceptive bad faith trade practice routinely perpetrated by

     social media websites. 29 On the one hand, the Plaintiffs in this case have sensibly concluded that

     Section 230 does create total and perpetual immunity as a result of Congressional action for

     social media websites who engage in fraudulent and bad faith consumer protection violations,

     and therefore, the statute violates the First Amendment's Petition and Access Clause. On the

     other hand, the Plaintiffs believe that perhaps Governor DeSantis and the Florida general

     assembly errored in enacting SB7072 over the amended version of the Stop Social Media

     Censorship Act and that if the Stop Social Media Censorship Act was enacted, then and only

     then could the Plaintiffs and other similarly situated victims legitimately seek redress from the

     government regarding the deceptive trade practices perpetrated social media websites.

             35. The language of the Stop Social Media Censorship Act was carefully and

     intentionally written by the Plaintiffs for all 50 states so that it would fall squarely in the

            29
                Because it is possible that the Stop Social Media Censorship could be construed to be
     unconstitutional or preempted by Section 230, as was seeming the case with SB7072, then the
     Plaintiffs First Amendment claim to strike down Section 230 must prevail under Cf Agency for
     Int'! Dev. v. All.for Open Soc'y Int'!, Inc., 570 U.S. 205,214 (2013) (discussing when
     conditions on federal funding "result in an unconstitutional burden on First Amendment rights").
     Accordingly, the courts should not lightly conclude that Congress made a law that not only
     allows unbridled censorship, but also prevents states from doing anything about it. The states
     have an ongoing compelling interest to protect their citizens in step with their police powers
     under the Tenth Amendment of the United States Constitution from fraud, deceptive trade
     practices, breach, bad faith, etc - none of which is protected speech for purposes of the First
     Amendment. It is up to this Court to decide the fate of the state-law exemption and Section 230.
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                                                                                                      28


    state-law exemption under Section 230(e)(3). For the Court's and Defendants' convenience, here

    is the Stop Social Media Censorship Act in its entirety.

             WHEREAS, the Communications Decency Act was created to protect decent speech,
    notdeceptive trade practices, and
             WHEREAS, repealing section 230 of the Communications Decency Act at the federal
    level is unnecessary because it already includes a state-law exemption and the Stop Social Media
    Censorship Act was crafted to fa]) squarely in the state-Jaw exemption of section 230 to cure
    abuses of section 230 to protect the consumers of this state, and
             WHEREAS, contract law is a state-law issue, and when a citizen of this state signs up to
    use certain social media websites. they are entering into a contract. and
             WHEREAS, this state has a compelling interest in holding certain social media websites
    to hiiher standards for havin" substantiaUy created a di"ital public square throu~ fraud, false
    advertisin", and deceptive trade practices, and
             WHEREAS, major social media websites have engaged in the greatest bait and switch of
    all times by marketing themselves as free, fair. and open to all ideas to induce subscribers only to
    then prove otherwise at great expense to consumers and election integrity. and
             WHEREAS, breach of contract, false advertisin", bad faith, unfair dealjn". fraudulent
    inducement, and deceptive trade practices are not protected forms of speech for purpose of the
    first amendment of the United States Constitution or the Constitution of this state, and
             WHEREAS, the major social media websites have already reached critical mass. and they
    did it through fraud, false advertising. and deceptive trade practices at great expense to the
    health, safety, and welfare of consumers of this state, while makin" it difficult for others to
    compete with them, and
             WHEREAS, the state has an interest in helping its citizens enjoy their free exercise rights
    in certain semi-public forums commonly used for religious and political speech. regardless of
    which political party or religious organization they ascribe to, and
             WHEREAS. this state is "eneral)y opposed to onljne censorship unless the content is
    injurious to children or promotes human traffickin"; only then does this state accept limited
    censorship. and
             WHEREAS, this act is not intended to apply to a website that merely deletes comments
    posted by members of the general public in response to material published by the website's
    owner. NOW THEREFORE,

           Be It Enacted by the Legislature of the State of Florida:

            Section 1. This act may be cited as the "Stop Social Media Censorship Act."
            Section 2, This section is intended to create a statute that paraUeJs the spirit of 47 u,s,c,
    § 230 that falls within the state law exemption under 47 u,s,c, § 230<e}(3} and create a civil
    right of action that will deter the following:
            (1) Deceptive trade practices:
            {2) False advertising:
            (3) Breach of contract;
            <4) Bad faith:
            (5) Unfair dealing:
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                                                                                                     29

            (6) Fraudulent inducement: and
            (7) The stifling of political and religious speech in the modem-day digital public square
    cultivated by social media websites that have achieved critical mass through fraud.
            Section 3, Social media website speech: cause of action: penalties,-
            ()} As used in this section, the tenn;
            (a) "Algorithm" means a set of instructions designed to perform a specific task.
            (b) "Hate speech" means a phrase concerning content that an individual finds offensive
    based on his or her personal moral code.
            (c} "Obscene" means that an average person, applying contemporary community
    standards, would find that, taken as a whole, the dominant theme of the material appeals to
    prurient interests.
            (d) "Political speech" means speech relating to the state, government, body politic, or
    public administration as it relates to governmental policymaking. The term includes speech by
    the government or a candidate for office and any discussion of social issues, The tenn does not
    include speech concerning the administration, law, or civil aspects of government,
            (e) "Religious speech" means a set of unproven answers, truth claims. faith-based
    assumptions. and naked assertions that attempt to explain such greater questions created, what
    constitutes right and wrong what happens after death.
            (0 "Social media website";
              1, Means an Internet website or application that enables users to communicate with each
    other by posting information. comments. messages, or images and that meets all of the following
    requirements:
            i. Is open to the public.
            ii, Has more than 75 miilion subscribers with personal user profiles,
            iii, From its inception, has not been specifically affiliated with any one religion or
    political party.
            iv. Provides a means for the website's users to report obscene materials and has in place
    procedures for evaluating those reports and removing obscene material: and
            v, Allows for subscribers to sign up for a personal user
    profile page or account where beliefs and preferences can be e:i.pressed by the uset
            2, The term does not include a website that merely permits members of the general public
    to post comments on content published by the owner of the website.
            (g) "User profile" means a collection of settings and information associated with a user
    or subscriber who signs up for an account made available by a social media website, Such
    accounts often include the explicit digital representation of the identity of the user or subscriber
    with respect to the operating environment of a social media website, Such accounts often
    associate characteristics with a user or subscriber, which may help in ascertaining the interactive
    behavior of the user along with their personal preferences and beliefs.
            (2}(a) Ibe owner or operator of a social media website who contracts with a social media
    website user in this state is subject to a private right of action by such user if the social media
    website purposely:
             1. Deletes or censors the user's religious speech or political speech: or
            2. Uses an algorithm to disfavor or censure the user's religious speech or political speech.
            (h) A social media website user may be awarded all of the following damages under this
    section;
             1. Up to $75,000 in statutory damages.
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               2. Actual damages.
                                                                                                              ,,,.....,j
               3. If aggravating factors are present. punitive damages.
               4. Other forms of equitable relief.
           (c) The prevai)inii party in a cause of action under this section may be awarded costs and
    reasonable attorney fees,
            (d) A social media website that restores from deletion or removes the censoring of a
    social media website user's speech in a reasonable amount of time may use that fact to mitigate
    any damages.
            (3) A social media website may not use the social media website user's alleiied hate
     speech as a basis for justification or defense of the social media website's actions at trial,
            (4) The Attorney General may also bring a civil cause of action under this section on
    behalf of a social media website user who resides in this state and whose religious speech or
    political speech has been censored by a social media website.
               (5) Ibis section does not apply to any of the followin1i:
               (a) A social media website that deletes or censors a social media website user's speech or
    that uses an algorithm to disfavor or censure speech that:
            1. Calls for immediate acts of violence:
            2. Is obscene. lewd, lascivious, filthy or pornographic in nature:
               3, Is the result of operational error;
               4.   Is the result of a court order:
               5.   Comes from an inauthentic source or involves false personation:
               6.   Entices criminal conduct;
               7.   Involves minors bullying minors:
               8, Constitutes trademark or copyriiiht infriniiement;
               9. Is excessively violent: and
               10. Constitutes harassing spam of the commercial. not religious or political. nature.
               (b) A social media website user's censoring of another social media website user's
     speech.
             (6) Only users who are 18 years of aiie or older have
     standinii to seek enforcement ofthjs section,
             Section 4. The Secretary of State may:
             (1) Issue a fine in one of the following amounts if the Secretary of State finds that the
     social media website has engaged in deplatforming or shadowbanning a political candidate
     seekinti office in Florida in violation of this act;
            (a) If the candidate is seekinii Statewide office, up to $100,000 per day of the violation:
            (b) For all other candidates, up to $10,000 per day of the violation: and
            (2) Disclose a social media company's algorithmic bias for or against a political candidate
     seeking Statewide office under subsection (1) of this section as a campaign contribution.
               Section 5, If any section in this act or any part of any section is declared invalid or
     unconstitutional. the declaration shall not affect the validity or constitutionality of the remain in"
     portions.
            Section 6. This act shall take effect July 1, 2021.
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           36. There are several factual differences between SB7072 and the Stop Social Media

                                                                                30
    Censorship Act that are appropriate to identify for this Honorable Court.

           37. E,im, SB7072 is vague and the Stop Social Media Censorship Act is not. 31

           38. The Stop Social Media Censorship Act is not vague whatsoever in view of its ten

    legislative findings and purpose section and the straightforward structure of the language. The

    legislative findings of the Stop Social Media Censorship Act spell out the legislative intent in a

    common sense manner.

           39. Furthermore, the purpose and legal framework of the Stop Social Media Censorship

    Act is crystal clear, whereas the purpose of SB7072 is not. The purpose section of the Stop

    Social Media Censorship Act states:


           30
                Never since the inception of American jurisprudence has a plaintiff brought a lawsuit
    under a state statute and argued that the Section 230 immunity defense could not be successfully
    invoked because the lawsuit was filed under a statute that fell within the state-law exemption,
    piercing through the Section 230 immunity defense. Yet, when comparing the Stop Social Media
    Censorship Act to SB7072, the Amici somewhat agree with Judge Hinkle's sentiment that the
    "statutes [created by SB7072] are not narrowly tailored" and might constitute an "instance of
    burning the house to roast a pig." See Netchoice, LLC et al., v. Moody et. al.
    4:21cv220-RH-MAF (N.D.F.L 2021) (page 27 of DE 113). See also, e.g., Reno v. American
    Civil Liberties Union, 521 U.S. 844,882 (1997); Sable Commc'n of Cal., Inc. v. FCC, 492 U.S.
    l15, 131 (1989). It would be more accurate to say that striking down Section 230 of the CDA
    completely would be an "instance of burning the house to roast a pig" when the Stop Social
    Media Censorship Act is obviously the cure-all from the perspective of any reasonable observer
    to this ongoing dilemma because it falls squarely in the state-law exemption.
             31
                "A fundamental principle in our legal system is that laws which regulate persons or
    entities must give fair notice of conduct that is forbidden or required." FCC v. Fox TV Stations,
    Inc., 567 U.S. 239, 253 (2012). "[A]n enactment is void for vagueness if its prohibitions are not
    clearly defined." Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). To pass muster, laws
    must "give the person of ordinary intelligence a reasonable opportunity to know what is
    prohibited" and prevent "arbitrary and discriminatory enforcement" by "provid[ing] explicit
    standards for those who apply them." Id.; accord Wol/schlaeger v. Governor, 848 F.3d 1293,
    1320 (11th Cir. 2017). Although greater clarity is necessary when a statute regulates expression,
    "perfect clarity and precise guidance have never been required even of regulations that restrict
    expressive activity," Wardv. RockAgainst Racism, 491 U.S. 781, 794 (1989); see also Grayned,
    408 U.S. at 110 ("Condemned to the use of words, we can never expect mathematical certainty
    from our language."). Furthermore, "the mere fact that close cases can be envisioned" does not
    "render[] a statute vague." United States v. Williams, 553 U.S. 285, 305 (2008).
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                                                                                                              32


            This section is intended to create a statute that parallels the spirit of 47 U.S.C. § 230 that
            falls within the state law exemption under 47 U.S.C. § 230(e)(3) and create a civil right
            of action that will deter the following: (1) Deceptive trade practices; (2) False
            advertising; (3) Breach of contract; (4) Bad faith; (5) Unfair dealing; (6) Fraudulent
            inducement; and(7) The stifling of political and religious speech in the modem-day
            digital public square cultivated by social media websites that have achieved critical mass
            through fraud.

     The purpose of the Stop Social Media Censorship Act is to parallel the goals and spirit of Section

    230 so that the proposed statute "threads the needle," unquestionably falling within the state-law

     exemption of Section 230(e)(3) to piece through a Section 230 immunity defense. The Stop

     Social Media Censorship Act mirrors the objectives of Section 230 and Congress but also allows

                                                                                               32
    the state of Florida to protect consumers, like the Plaintiffs and the Trump plaintiffs,        in step

     with the state's police powers, afforded under the Tenth Amendment of the United States

     Constitution to the state of Florida, without offending the doctrine of preemption or the First

     Amendment.

            40. Second, unlike with SB7072, the language of the Stop Social Media Censorship Act

     and Section 230 are parallel and verbatim in some respects on purpose. For example, 47 U.S.C.

     § 230(c)(2)(A) states that an interactive computer service, like the Defendants, cannot be "held

     liable" on account of "any action voluntarily taken in good faith to restrict access to or

     availability of material that the provider or user considers to be obscene, lewd, lascivious, filthy,

     excessively violent, harassing, or otherwise objectionable, whether or not such material is

     constitutionally protected." Similarly, the Stop Social Media Censorship Act states that social

     media websites that are subject to the act cannot be held liable if they censor content that:

            1. Calls for immediate acts of violence; 2. Is obscene, lewd, lascivious, filthy or
            pornographic in nature; 3. Is the result of operational error; 4. Is the result of a court
            order; 5. Comes from an inauthentic source or involves false personation; 6. Entices
            criminal conduct; 7. Involves minors bullying minors; 8. Constitutes trademark or

     32
       See Trump v. Twitter, 1:2 l-cv-22441 (S.D.F.L. 2021 ); Trump v. Facebook, 1:2 l-cv-22440
     (S.D.F.L. 2021); and Trump et al v. YouTube, LLC, 1:21-cv-22445-KMM (S.D.F.L. 2021).
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                                                                                                            33


            copyright infringement; 9. Is excessively violent; and 10. Constitutes harassing spam of
            the commercial, not religious or political, nature. 33

     These parallel exemptions and exceptions are all based on common sense. The government has a

     narrowly tailored compelling interest to uphold community standards of decency.

            41. Third, by framing the issues as breach of contract, bad faith, false advertising, unfair

     dealing, unjust enrichment, deceptive trade practices, and consumer protection violations, the

     Stop Social Media Censorship Act fulfills a litany of compelling government interests in ways

     that SB7072 fails to do so. 34

             42. Fourth. by framing the issue as arising under breach of contract, bad faith, fraudulent

     inducement, false advertising, unjust enrichment principles, a social media website sued under

     the Stop Social Media Censorship Act could not assert "good faith" protections under Section

     230(c)(2)(A). 35 Judge Hinkle failed to pick up on this critical factor in Netchoice, LLC et al., v.

             33
                Because the Stop Social Media Censorship Act neatly parallels the spirit and intent of
     Section 230, it "threads the needle" in a way that SB7072 does not. From every angle, it is clear
     that the Stop Social Media Censorship Act has been crafted for all 50 states in a manner that
     respects federal law, while allowing consumers to be protected from deceptive trade practices.
     The Stop Social Media Censorship Act respects the doctrine of preemption and the First
     Amendment rights of social media websites, while protecting consumers from deceptive trade
     practices.
             34
                The Stop Social Media Censorship Act "promote[s] the widespread dissemination of
     information from a multiplicity of sources," an interest that the Supreme Court in Turner had "no
     difficulty concluding" was "an important governmental interest." Turner Broad. Sys., Inc. v. FCC
     ("Turner''), 512 U.S. 622, 662-63 (1994). Ensuring that the public "has access to a multiplicity
     of information sources," the Supreme Court explained, "is a governmental purpose of the highest
     order, for it promotes values central to the First Amendment." Id. at 663. Furthermore, Florida
     has a substantial interest in protecting its residents from unfair or deceptive acts or practices in
     commerce. See FLA. STAT.§ 501.204; Ohralik v. Ohio State Bar Ass'n, 436 U.S. 447,460
     (1978); Crellin Techs., Inc. v. Equipment/ease Corp., 18 F.3d 1, 12 (1st Cir. 1994). Additionally,
     Florida also has a compelling interest in preserving the democratic process and ensuring fair
     elections. Burroughs v. United States, 290 U.S. 534 (1934); Curry v. Baker, 802 F.2d 1302, 1317
     (11th Cir. 1986).
             35
                Section 230(c)(2)(A) does not provide blanket immunity. It only applies when an
     interactive computer service acts in "good faith." While the parameters of "good faith" immunity
     under Section 230(c)(2)(A) are not necessarily well-defined in the case law, courts might
     ultimately conclude that a social media platform's acting differently than how it marked itself
     and shifting its standards is determinative as to whether the platform acted in "good faith." See
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    Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021) in granting a preliminary injunction that sent
                                                                                                             ,,,_1



    SB7072 down the path of nullification.

            43.   Ei.fih, where SB7072 construes social media websites as common carriers, 36 the Stop
    Social Media Censorship Act focuses more on consumer protection violations, existing torts, and

    existing breach of contract principles. 37

            44. Sixth, because the Stop Social Media Censorship Act is framed on breach of

    contract, tort, and consumer protection principles, jurisdiction for enactment and enforcement is

    not Constitutionally problematic in view of the Ten Amendment of the United States

    Constitution, unlike with SB7072. 38

    Smith v. Trusted Universal Standards in Elec. Transactions, Inc., 2010 WL 1799456, at *7
    (D.N.J. May 4, 2020).
            36
               In Section 1 of SB7072, the Florida Legislature found that"[ s]ocial media platforms
    have become as important for conveying public opinion as public utilities are for supporting
    modem society," and they "hold a unique place in preserving first amendment protections for all
    Floridians and should be treated similarly to common carriers." SB7072 § 1(5), 1(6). In fact, as
    Justice Thomas recently explained, "[i]n many ways, digital platforms that hold themselves out
    to the public resemble traditional common carriers." Eiden v. Knight First Amend. Inst., 141 S.
    Ct. 1220, 1224 (2021) (Thomas, J., concurring)
            37
               The Stop Social Media Censorship treats social media websites like any entity doing
    business in the state, and prevents the business from harming consumers for engaging in fraud,
    breach, deceptive practices, false advertising, etc. While the Florida Legislature permissibly
    determined that the "old rules" applicable to common carriers should be applied to the "new
    circumstances" of social media in SB7072, the Stop Social Media Censorship Act merely gets
    existing consumer protection laws and contract law principles to apply to the "new
    circumstances" of social media, while invoking the state-law exemption. See Parks v. Alta Cal.
    Tel. Co., 13 Cal. 422, 422 (1859). Put simply, the Stop Social Media Censorship Act does not ask
    the judicial branch to reinvent the wheel; it merely asks that existing law be permitted to catch up
    to modem-day technology to safeguard consumers and election integrity.
            38
               The state of Florida has the legal authority to enact the Stop Social Media Censorship
    and injured parties, like the Plaintiffs, have the right to enforce it under the long-arm statute. See
    Fla. Stat. § 48.193. When the Plaintiffs signed up to use Facebook and Twitter, they entered into
    a contract in Florida. One of the oldest jurisprudence is that "contract law" is a "state-law issue."
    States have paramount jurisdiction to enact statutes that place certain restrictions on contracts to
    protect consumers from harm. Otherwise, all consumer protection laws and all products liability
    laws could be declared to violate the First Amendment. Twitter and Facebook reached into the
    state of Florida and induced the Plaintiffs to sign up to use their services by a contract, which
    gives the state of Florida jurisdiction to regulate those contracts and put parameters around them.
    While a contract does exist between social media websites and the Plaintiffs, the contract is only
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           45. Seventh, perhaps the biggest distinction between the Stop Social Media Censorship

    Act and SB7072 is that the Stop Social Media Censorship only applies to social media websites

    that have more than 75 million profile users that were never affiliated with any particular

    religious or political party from their inception. 39 A social media website that was affiliated with

    a religious or political party can, therefore, continue to censor users at will, since they do not

    suffer from the same false marketing problem. 40 If from their inception Facebook, Twitter,

    Youtube, or Tictok had openly marked themselves as being aligned with the Democrat Party or

    with the licentious religion of secular humanism, then they would have a defense for the removal

    of political and religious speech that does not happen to conform to their favored religious and

    political worldviews. But those social media websites that have brutalized the Plaintiffs and

    relevant for the purpose of the state having jurisdiction to regulate those contracts because the
    contract at issue is undoubtedly a contract of adhesion. Twitter and Facebook have billions of
    subscribers, they never had a realistic expectation that the Plaintiffs would employ lawyers to
    review their contract. Therefore, the contract is a contract of adhesion. Accordingly, the
    specific terms of the adhesion contract do not matter. Schnabel v. Trilegiant Corp., 697 F.3d 110,
    119, 126-27 (2d Cir. 2012). However, what does matter is the fact that Twitter, Facebook, and
    Youtube have conspired to falsely market themselves as being "free, fair, open to the public, and
    open to all religious and political ideas" to induce reliance only to then break their promise and
    censor certain users in bad faith. This is a problem of broken promises flowing out of egoism.
              39
                 The reason why the Stop Social Media Censorship Act only applies to social media
    websites that have more than 75 million users is not to treat different potential speakers
    differently. The reason for this threshold is because the purpose of Section 230 was to allow
    websites on the internet to grow without the fear of certain liability. The evidence shows from
    the reasonable observer perspective that a social media website that has over 75 million profile
    users has "sufficiently grown." Therefore, a statute, such as the Stop Social Media Censorship
    Act, that allows victims of the deceptive, fraudulent, and dishonest honest trade practices of
    social media websites to acquire relief against a social media provider with more than 75 million
    subscribers is consistent with the spirit and "growth goals" of Section 230, which further causes
    it to fall squarely in the state-law exemption. The 75 million threshold is not imposed to treat
    smaller and larger social media websites differently. The threshold is included out of respect for
    the doctrine of preemption so that the Stop Social Media Censorship Act will squarely fall in the
    state-law exemption.
              40
                 A Black Lives Matter social media website, a Christian social media website, a Muslim
    social media website, an LGBTQ social media website could censor any profile user who
    opposed their fundamental doctrine and not be subjected to liability under the Stop Social Media
    Censorship Act, if they made their affiliation and preference of a certain world view known
    upfront.
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     others, like the Trump plaintiffs, due to a hidden religious and political agenda that they sprang

     on the whole of society to its extreme detriment. 41 This "gotcha game" tactic makes social media

     websites the poster child of bad faith, and the idea that they can continue to have total immunity

     because Congress made a bad law action combined with a bad judicial interpretation of that bad

     law is self-evidently unconscionable and repugnant to the vast majority of Americans. The

     arbitrary shifting of undefined standards conducted in the normal course of business by social

     media websites constitutes classic bad faith and breach of contract that has led to the injury of

     millions of profile users - to include the Plaintiffs. This controversy presents an opportunity for

     this Honorable Court and Governor DeSantis to alleviate real suffering that is crushing

     Floridians and the citizens of the other 49 states, by framing these issues correctly for once.

            46. In terms of breach of warranty, the Plaintiffs have been harmed by social media

     websites censoring others in bad faith. For example, Pastor Franklin Graham of the Billy

            41
                 The Stop Social Media Censorship Act is calculated to stop businesses from harming
     consumers through broken promises, false advertisement, and fraud. The so-called "standards"              ,,,,
     floated by Facebook, Twitter, and Youtube have always been unclear, vague, and shifting. The              .~
     changing of those standards constitutes bad faith. While it is true that social media websites
     might be able "to establish standards of decency without risking liability for doing so," what they
     cannot do is to change those standards arbitrarily after they induced billions of people to
     subscribe and invest in user profiles, having relied on the fact that the social media websites
     marketed themselves as free, fair, open to the public, and open to neutral political and religious
     speech. See Domen v. Vimeo, Inc., 991 F.3d 66, 73 (2d Cir. 2021 ). The court in Netchoice, LLC
     et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021) failed to pick up on the critical factor
     that Facebook, Twitter, and Youtube arbitrarily changed their standards in bad faith all the time,
     after fraudulently inducing billions of people to subscribe and invest in their service at great
     personal expense to themselves, their families, and their communities. That court ignored the
     shifiting standards completely, shrugging it off in callous disregard for reality, because it is out of
     touch with just how serious of a problem this has become for consumers and the Nation.
               In sum, this controversy is just about making the mega social media websites keep their
     promises to consumers. The goal of the Stop Social Media Censorship Act is not to punish
     disfavored, out-of-state businesses and to stop or deter them from exercising their First
     Amendment rights in ways the Plaintiffs dislikes. The goal is to force certain social media
     websites to honor their promises and to live up to the way that they marketed themselves from
     their inception in order to induce reliance. Social media websites like Twitter marked themselves
     as being neutral on religion and politics, and they should be legally forced to remain so despite
     the unwarranted inflated view that the employees who work there.
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                                                                                                        37


     Graham Foundation had over a million followers on his facebook profile page. The Plaintiffs

    were followers of his page and benefitted greatly from his life-giving posts that were rife with

     Bible verses. One day, Facebook's employees decided to delete Pastor Graham's Facebook page

     without warning, simply because the employees felt entitled to metaphorically crusify Pastor

     Graham and punish his followers for seeking the truth of the Gospel. Deleting Pastor Graham's

     profile had transferable injury on the Plaintiffs who were not only inconvenienced but stifled by

     the threat of deletion themselves.

                                      JURISDICTION AND VENUE
             47. This case arises under the United States Constitution and the laws of the United

     States and presents a federal question within this Court's jurisdiction under Article III of the

     federal Constitution and 28 U.S.C. §§ 1331 and 1361.

             48. The Court has the authority to grant declaratory relief pursuant to the Declaratory

     Judgment Act, 28 U.S.C. § 2201 et seq.

             49. The Court has the authority to award costs and attorneys' fees under 28 U.S.C. §

     2412.

             50. Venue is proper in this district under 28 U.S.C. § 1391(e)

                                               THE PARTIES

             51. John Gunter Jr. is the executive director of Special Forces Of Liberty. Christopher

     Sevier Esq. is the executive director of De Facto Attorneys General. Pastor Rich Penkoski is the

     executive director of Warriors For Christ. Deb Maxwell is a Florida chapter leader of Special

     Forces Of Liberty and Warriors For Christ. De Facto Attorneys General, Special Forces Of

     Liberty, and Warriors For Christ are partners, who have served as administrators on social media

     websites through Facebook, Twitter, Youtube, and Tictok. Plaintiff Gunter lives in Miami, and
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                                                                                                        38


    Deb Maxwell lives in Tampa. Plaintiff Sevier lives in Florida for part of the year. The Plaintiffs

    have a headquarters in Miami Florida. The Plaintiffs entered into agreements with Facebook,

    Twitter, and Youtube at different times in Florida, Tennessee, Louisiana, West Virginia, and in

    the District Of Columbia, and were subsequently censored by the social media websites after the

    social media websites had acted in concert to falsely marketed themselves as being free, fair,

    open to the public, and neutral on matters of politics and religion. The Plaintiffs felt the injury in

                42
    Florida.


           42
               The social media websites shifted their standards in bad faith and censored the
    Plaintiffs because their Constitutionally protected religious and political speech offended the
    delicate sensibilities of the employees who happened to work for the social media websites at the
    time. At the time of each censorship, the Plaintiffs had previously invested a ton of time and
    money in their user profile accounts. Every time the Plaintiffs have threatened Facebook,
    Twitter, and Youtube with legal action, the social media websites promise to immunize their
    deceptive and destructive trade practices by invoking Section 230 of the Communications
    Decency Act. This assumption based on the public record that social media websites might have
    total immunity under Section 230 has given rise to the Plaintiffs cause of action here in which
    the Constitutional or the parameters of Section 230 are in question.
            The Plaintiffs collectively consists primarily of Christ-followers, who served in the
    United States Military in foreign theaters of war, namely on the rule oflaw mission, which is
    purposed to better ensure a government's compliance with their highest Constitutional authority.
    The Plaintiffs have continued that mission state-side in America even though they no longer
    officially operating under Title 10 jurisdiction on behalf of the Armed Forces. The Plaintiffs
    routinely file comprehensive lawsuits across the United States on different controversial and
    complex issues that typically concern the "culture wars" and First Amendment issues that are too
    "politically hot" for the government-funded Attorneys General to pursue. In bringing such
    lawsuits, the Plaintiffs - without apology - often end up converting Article III Courts into their
    own private legislative research commission. Out of the overflow of the litigation pursued by the
    Plaintiffs, the Plaintiffs subsequently draft legislation for all 50 states and for the federal
    government, which is then routinely introduced by a bi-partisan network of sponsors that
    stretches across the Country before the Article I branch. The legislation authored by the Plaintiffs
    that gets presented to the members of legislative branch is legally vetted ad nausem and is
    calculated to survive judicial review, if subsequently challenged once enacted.
            One of the fights that the Amici have undertaken in multitudes of Federal District Courts
    concerns Big Tech censorship, since this fight has created a freedom crisis that is eroding the
    quality of life for millions of Americans. Subsequently, the Plaintiffs authored a proposed bill
    called the "Stop Social Media Censorship Act" that is customized for all 50 states and is
    narrowly tailored to parallel the spirit of Section 230 of the CDA so that it falls squarely in the
    state-law exemption under subsection (e) subparagraph (3) of the Section 230 - thereby getting
    around the problem of preemption. Here is a website for the bill:
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             52.    The Plaintiffs authored the Stop Social Media Censorship Act for all 50 states, not

     for personal glory or donations but because it is the right thing to do and because as Christian

     missionaries, the Plaintiffs have set out to advance human flourishing as far as they are able.

             53. Defendant Attorney General Garland is the chief legal officer of the United States

     and heads the United States Department of Justice, which is the agency of the United States

     government responsible for enforcement of federal civil laws, including the statute at issue in

     this case.43

             54. Governor DeSantis is the Governor of Florida. He resides in Florida and is sued in

     his official capacity. His staff members were the architects of SB7072 which has been set on the

     path of nullification in Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L

     2021)(DE 113). Defendant Governor DeSantis has the authority under Article III, Section 3 of

     the Florida Constitution to convene a special session so that the Stop Social Media Censorship

     Act can be enacted in a manner that will allow the Plaintiffs here and the Trump Plaintiffs in

     Trump v. Twitter, 1:21-cv-22441 (S.D.F.L. 2021) to get relief from the government for their

     injuries inflicted by social media websites that engage in breach of contract, bad faith, unfair

     https://www.specialforcesofliberty.com/. Here is a short video that the Plaintiffs provide to state
     legislatures who prime sponsor, co-sponsor, or support the bill so that they can easily understand
     the bill and the issues involved: (https://youtu.be/CCcOALXNteM).
              Over 25 states moved on two primary bills written to stop the on-going problem of social
     media censorship that were drafted by either De Facto Attorneys General or Professor
     Hamburger of Columbia Lawschool. Countless Republicans and Democrats prime sponsored,
     co-sponsored, or supported these legislative measures. For a breakdown by state and by prime
     sponsor for the 2021 legislative session and the 2022 legislative session of the proposed language
     of the bills see Appendix A.
     43
        Attorney General Garland is unfit for the job because his paramount agenda is to excessively
     entangle the government with the religion of Secular Humanism in direct violation of the
     Establishment Clause. Attorney General Garland lacks the character and fitness to serve on the
     courts or as Attorney General because he does not understand the differences between "right and
     wrong," "real and fake," and "secular and non-secular." This individual has checked his brain at
     the door of secular humanism to the point that he does not even operate in objective reality or see
     that most of the Democrat party platform is cultish and unconstitutional under the Establishment
     Clause.
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    dealing, fraudulent inducement, deceptive trade practices, false advertising, and other forms of

    consumer protection violations. The Plaintiffs are asking Governor DeSantis to sua sponte

    convene a special session or, alternatively, that this Court order and direct the Governor to do so,

    which will actually give the Plaintiffs a valid pathway to acquiring redress through the courts

    against social media websites that have injured them and millions of others due to fraud.

          NOT ALLOWING CONSUMERS TO REDRESS INJURIES AGAINST SOCIAL
     MEDIA WEBSITES THAT MARKETED THEMSELVES FROM THEIR INCEPTION
    AS BEING NEUTRAL ON POLITICAL AND RELIGIOUS SPEECH IS HARMING THE
                                                 PUBLIC
           55. Issuing an injunction that strikes down Section 230 or finding that Florida could pass

    Stop Social Media Censorship Act and cure the constitutional defects of the Section 230 in view

    of the state-law exemption, serves the public's best interest. The public record is replete with

    examples evincing social media companies' sustained campaign of inconsistently and unfairly

    censoring, shadow banning, deplatforming, and deprioritizing Floridians, including journalistic

    enterprises and candidates for public office. 44 Senator Hughes of Texas, the prime sponsor of
           44
               For example, state of Florida has admitted the following in the public record regarding
    how bad social media censorship is for the general public: The Babylon Bee, a conservative
    Christian news satire website headquartered in Jupiter, Florida that publishes satirical articles on
    religion, politics, and current events has repeatedly been the target of social media platforms'
    inconsistent and unfair behavior. In 2018, The Babylon Bee :S- Facebook page was threatened with
    removal and demonetization after one of its satirical articles titled "'CNN Purchases
    Industrial-Sized Washing Machine to Spin News Before Publication' was 'fact-checked."'
    Facebook later apologized and explained that it had made a "mistake." In 2020, the Babylon Bee
    posted a story titled "Senator Hirono Demands ACB Be Weighed Against a Duck to See If She Is
    a Witch," referencing the comedy Monty Python and the Holy Grail. Facebook demonetized The
    Babylon Bee's Facebook page and stuck to its determination that the article "incited violence"
    due to its reference to burning witches, reversing its decision only after numerous media outlets
    lambasted Facebook for its censorship. Also in 2020, Twitter briefly suspended The Babylon
    Bee's page for being "spam," reversing the suspension shortly thereafter and explaining that The
    Babylon Bee had "mistakenly" been caught in a spam filter.
            The New York Post has received a similar treatment for some of its stories. Twitter locked
    the New York Post's account and demanded that it delete six tweets that linked to the Post's
    expose on Hunter Biden in the fall of 2020. Facebook reduced the distribution of the story on its
    site. Twitter CEO Jack Dorsey later called the move a "total mistake," describing it as the result
    of a "process error." In April 2021, Facebook disallowed its users from sharing the New York
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    SB12, paid Facebook large amounts to promote his campaign posts on his user profile. Facebook

    pocketed the money and did not allow the campaign advertisements to be viewed by the public.

    Then Facebook began shadow banning Senator Hughe's posts and shutting down his profile page


    Post's story about a Black Lives Matter co-founder's expensive real estate purchases, citing the
    story as against its "community standards."
            Individuals and journalistic enterprises alike have had to grapple with social media
    platforms' inconsistent and unfair practices regarding COVID-19. In February 2021, Facebook
    announced that it would expand its content moderation on COVID-19 to include "false" and
    "debunked" claims such as that "COVID-19 is man-made or manufactured." It blocked the New
    York Post's article written that month suggesting that the virus could have leaked from a Chinese
    virology lab .. But now, given "ongoing investigations into the origin of COVID-19 and in
    consultation with public health experts," Facebook has decided that it will no longer "remove the
    claim that COVID-19 is man-made or manufactured."
            The social media platforms' behavior has also affected politicians. YouTube removed a
    video of Governor Ron DeSantis holding a panel with pandemic health experts for allegedly
    violating community standards regarding COVID-19 medical information. YouTube stated that
    the video included information on mask-wearing that "contradicts the consensus of local and
    global health authorities." In April 2020, Twitter terminated the account of Howie Hawkins, a
    Green Party candidate for President, for allegedly violating its rule on "impersonation." And in
    early 2021, Facebook, Twitter, Instagram, and YouTube banned President Trump in the wake of
    the January 6 Capitol riot out of concerns that he would encourage violence on their platforms,
    while taking no action against Representative Maxine Waters for her statements to protestors
    during Derek Chauvin's trial for the murder of George Floyd.
            Social media platform users are not always notified that they have been deplatformed or
    given an explanation for how they violated the platforms' content guidelines. When a social
    media platform shadow bans a user, that user is still able to access the platform, post content, and
    comment on others' posts, but their actions are invisible to all other normal users. The user is not
    notified of the shadow ban. In one instance, a user was shadow banned from Reddit but
    continued to spend four to five hours a day posting content for weeks before realizing that the
    content was invisible to all other normal users.
            These examples of social media platforms' inconsistent and unfair practices are further
    evidenced by systematic examinations of how the platforms implement their own content
    guidelines. Social media platforms apply their content guidelines differently to posts with similar
    content,, and some suspend the accounts of right-leaning individuals at a higher rate than
    left-leaning individuals,. Officials of the platforms themselves have admitted that employees in
    charge of content moderation "could be biased and pursuing their own political agendas."
            The social media platforms' inconsistent treatment of user content would be bad enough
    if they were transparent about how they make moderation decisions. But some of the most
    important platforms are notoriously secretive about such matters, even while publicly
    claiming-contrary to the public record-that they apply their policies "in a way that is fair and
    consistent to all," (quoting prior version of Facebook report on enforcement of community
    standards). Perhaps most notoriously, senior Google executives have publicly claimed that the
    company does not manually alter search results despite public reporting to the contrary.
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    to give his opponent an advantage in the campaign against him. In response to the mistreatment

    of Senator Hughes, Facebook promised to hide behind Section 230 if the Senator sought redress

    from the government for its deceptive trade practices. What happened to Senator Hughes has

    happened to hundreds of law makers across the country. (The censorship of Senator Showers of

    Alaska was also incredibly egregious). In primaries involving Democrat candidates, social

    media websites have been censoring and shadow banning the candidate they disfavor, putting a

    thumb on the scale of such elections. This practice has provoked Democrat legislators to sign on

    as prime sponsor and co-sponsor of the Stop Social Media Censorship Act in a variety of states.

    For example, Senator Gabbard of Hawaii, a Democrat, who is former Presidential contender

    Tulsi Gabbard's father, prime sponsored the Stop Social Media Censorship Act because of the

    onslaught of censorship that his daughter experienced in running to become the Commander In

    Chief. Social media websites that marked themselves as being neutral on politics in order to

    create a digital public square censored Congresswoman Gabbard's speech ad nausem throughout

    her campaign for President simply because their employees favored other candidates, whose

    policies make them feel less convicted about their personal immorality. To pretend that social

    media websites are not threatening election integrity is asinine, and not a position that the

    judicial branch should take. For the judicial branch to continue to interpret Section 230 in a

    manner that allows for social media websites to meddle in election in bad faith with absolute

     immunity is unminding the trustworthiness and legitimacy of the courts writ large.

            FACTS REGARDING DIRECT INJURY TO THE PLAINTIFFS PERPETRATED
        BY FACEBOOK, TWITTER, AND YOUTUBE THAT HAVE GONE WITHOUT
     GOVERNMENT REDRESS BECAUSE OF THE THREAT OF SECTION 230 AND THE
     ABSENCE OF NARROWLY TAILORED STATE STATUTE LIKE THE STOP SOCIAL
                          MEDIA CENSORSHIP ACT
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                                                                                                         43


          56. While residing in West Virginia (4th Circuit), Tennessee (6th Circuit), Florida (11th

   Circuit), Louisiana (5th Circuit), the District Of Columbia (DC Circuit) and elsewhere, the

   Plaintiffs were induced and enticed to contract witih Facebook, Twitter, Youtube, and Tictok,

   creating and investing substantially in user profiles on the promise that the platforms were (1)

   free, (2) fair, (3) open to the public, (4) a place where the free exchange of ideas by the user was

   permitted and encouraged, and (6) neutral on issues of religion and politics.

          57. At the time the Plaintiffs created their user profiles just about everyone they knew had

   a user profile to include people who shared the same religious and political beliefs as themselves.

   The Plaintiffs, like virtually all of the other billions of users of social media websites, did not

   retain lawyers who are subject matter experts in digital contracts to review the terms of services

   of what was apparently an adhesion contract. Instead, the Plaintiffs predominately consider how

   social media websites marketed themselves as being neutral on political and religious speech in

   deciding to create and invest substantially in their user profiles. The social media websites gave

   the Plaintiffs and millions of others the reasonable expectation that religious and political views

   could be expressed at will without the fear of punishment and reprisal by the social media

   website employees.

           58. The Plaintiffs are Christ-Followers who believe that the Bible is the Divine word of

   God and that Jesus Christ was exactly who He said He was. See John 14:6. The Plaintiffs are

   advocates for the radically transformative gospel narrative and feel compelled to attempt to

   gracefully fulfill the great commision in response to the love they believe that God has for them.

   See John 3:16; see Matthew 28:16-20. The gospel can in-part be summarized as, "humans are

   far worse than we ever dared to imagine, but we are far more loved by God than we could have

   ever dreamed." It is a faith-based worldview that humbles them and uplifts believes at the same
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                                                                                                          44


     time. The Plaintiffs are not legalists,45 and they were delighted to join social media platforms

     with other users who are critical of Christian doctrine and practices. The Plaintiffs welcome such

     critiques by non-believers and skeptics, while maintaining that the Plaintiffs' religious and

     political speech warrants equal protection, respect, and treatment. In creating several social

     media user profiles, the Plaintiffs believed based on how the social media websites marketed

     themselves that they could express and advocate for Christian principles, ideology, and beliefs

     without fear of censorship, persecution, or reprisal carried out by the social media website's

     employees themselves, who harbor animus towards Christians and Republicans and Democrats

     who represent "friends of the founding" of our Nation.

               59. The Plaintiffs take no issue with third parties with user profiles censoring the

     Plaintiffs' speech or blocking the Plaintiffs' profiles. The Plaintiffs were personally injured by

     the employees of the social media website, who themselves censored, banned, and blocked the

     Plaintiffs' speech based on vague and arbitrary shifting standards that were abused out of the

     overflow of the moral superiority complexes harbored by the employees of the social media

     websites. This imperialistic elitism should be staunchly condemned by the judicial branch.

                60. The employees at the social media websites censored, deleted, shadow-banned, and

      froze countless user profiles created by the Plaintiffs because the Plaintiffs took positions like (1)

      "men cannot be women;" (2) "Secular Humanism is a religion for the purpose of the First

     Amendment as the Supreme Court recognized" (3) "woke leftism dogma is inseparably linked to

      the religion of Secular Humanism religion for purposes of the Establishment Clause of the First

      Amendment;" (4) "a public library's decision to host Drag Queen Story Time at the taxpayer's

      expense violated the Establishment Clause of the First Amendment;" (5) "the government's

      decision to get in bed with the LGBTQ cult has proven to be a disaster for everyone;" (5) "life
      45
           Ephesians 2:8-9
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                                                                                                          45


     beings at conception and convience abortions are self-evidently immoral and subversive to

     human florishing;" (6) "the First Amendment Establishment Clause is the underlying legal basis

     for the Hyde Amendment and for the government to award public funds to convenience abortion

     providers is unconstitutional under the Establishment Clause for failing the prongs of the Lemon

     Test;" (7) "Black Lives Matter thinks that only the lives fthat matter are the one's who agree

     with their communist ideology - see Candice Owens;" (8) "the reason it is called the 'gay pride

     movement' is because everyone knows that there is nothing to be 'proud' about;" (9) "when a

     person says 'love is love' what they really mean is that they are perfectly ok with government

     assets being used to crush anyone who dares to suggest that homosexuality is entirely immoral,

     which is a position that is unloving;" (10) critical race theory is racists; (11) "Jesus is Lord;"

     (12) "what non-theistic leftist don't seem to understand is that love without truth is just shallow

     sentimentality."

            61. In a trial against social media webistes, the Plaintiffs could show that the social media

     websites decision to delete, shadow-ban, and censor the Plaintiffs' profiles costs the Plaintiffs

     hundreds of thousands of dollars. This is especially true in the case of Warriors For Christ, which

     had accumulated over 226,000 followers on Facebook, 575,000 followers on Youtube, and

     335,000 followers on Twitter. Warriors For Christ followers tuned in to watch weekly sermons

     provided by Pastor Rich and made donations to the ministry through its social media profiles. In

     a coordinated effort, social media websites deleted, banned, or froze Warriors For Christ user

     profiles just because the messages offered by Pastor Rich offended the delicate sensibilities of

     the brainwashed employees who work for the social media website in response to their refusal to

     think logically. After building entire business platforms on social media websites with the

     promise that the social media websites were neutral on politics and religion, the Plaintiffs have
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   had their accounts arbitrarily deleted, censored, blocked, marginalized, banned, and

   shadow-banned literally hundreds of times. The evidence shows that social media websites

   employees get off on haranguing, marginalizing, and oppressing users who do not share the same

   worldview, only to then cower behind 230 immunity that was passed by Congress.46

           62. Just because some of the employees at social media websites do not like feeling

   convicted and harbor an emotional problem with the truth about the way things are and the way

    we are as humans does not mean that Congress can pass a law that shields social media websites

    from being held to account for their injurious malicious conduct. Accordingly, this Court is

    tasked with carving out the path for victims to be able to seek redress from the government in the

    wake of harmful business practices used by social media websites. Hundreds of religious

    institutions and political commentators have been deplatformed in a manner that is injurious to

    everyone, all because the social media website feel entitled to not live up to how they marketed

    themselves because of Section 230.


                        FIRST AMENDMENT VIOLATION - GENERALLY


           63. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

    paragraphs. The First Amendment of the United States Constitution states: "Congress shall make

    no law respecting an establishment of religion, or prohibiting the free exercise thereof; or

    abridging the freedom of speech, or of the press; or the right of the people peaceably to

    assemble, and to petition the Government for a redress of grievances."

           64. "Congress ... ma[d]e" Section 230, a "law," and this "law" has been interpreted and

    construed by government actors to create blanket immunity to the extent that the law "abridges

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      Social media websites have proven that people who are intolerant of intolerant people are
    intolerant; people who are judgmental against judgmental people are judgmental; and people
    who are dogmatic about not being dogmatic are the most dogmatic of all.
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                                                                                                      47


   [the Plaintiffs] freedom of speech" and "the [Plaintiffs] right to petition the government for

   redress of grievances" in the wake of bad faith acts of social media websites that have engaged in

   self-evidently immoral consumer protection violations to include indecent deceptive trade

   practices, fraudulent inducement, unjust enrichment, bad faith, unfair dealing, breach of contract,

   and false advertising.

             65. The First Amendment right to petition the government for redress of grievances

   encompasses both the right to attempt to persuade the legislative and executive branches and the

   right to access the courts. California Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508,510

   (1972).

             66. While at the United States Capitol in D.C. in the halls of the Senate Russell building,

   in a heated exchange with Mark Zuckerberg, Plaintiff Sevier did the Christian thing and

   threatened to sue Mark Zuckerberg's "as@#$$ into powder," if his entity did not "stop its

   political and religious censoring of theists for being theists. In response, Mr. Zuckerberg,

   authorized agents, retorted that Facebook would invoke a Section 230 immunity blanket defense

   in the litigation threatened by De Facto Attorneys General, stating that Facebook could do

   "whatever the hell it wanted." 47 The posturing of Facebook's CEO combined with judicial

   interpretation of Section 230 has given the Plaintiffs the reasonable apprehension that the making

   of Section 230 by Congress constituted a legal blockade that has stopped the Plaintiffs from

   being able to seek redress from the government for the bad faith injurious actions of social media

   websites, like Facebook, that has harmed the Plaintiffs personally.

             67. Pursuant to Section 230, the government's creation or enforcement or lack of

   responsiveness to Section 230 has encouraged social media websites to censor the


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     This interaction is included pursuant to the state of mind exception of the hearsay rule, and not
   to prove the truth of the matter asserted.
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     constitutionally protected speech of the Plaintiffs, after the social media websites falsely

     marketed themselves as being neutral towards protected religious and political speech.

             68. The interpretation of Section 230 has created total blanket immunity in a manner that

     has thwarted the Plaintiffs from being able to seek redress for their grievances.

             69. Using its authority under Section 230 together and acting in concert, major social

     media websites regulate the content of speech over a vast swath of the Internet in bad faith, after

     having falsely marketed themselves as being free, fair, open to the public, and neutral towards

     religious and political speech that is considered to be protected speech.

                                  RIGHT TO PETITION - COUNT ONE
                                  U.S. Const., amend. 1 (Petition Clause)

             70. Plaintiffs re-allege and incorporate by reference all allegations set forth above.

             71. The Petition Clause of the First Amendment of the U.S. Constitution provides that

     "Congress shall make no law ... abridging ... the right of the people ...to petition the

     Government for a redress of grievances." U.S. Const., amend. I.

             72. The Challenged Provision prohibits the Plaintiffs from seeking redress from the

      government against social media websites that have injured them through fraud, breach of

      contract, false advertising, unjust enrichment, bad faith, unfair dealing, and deceptive trade

      practices.

              73. The Challenged Provision is overly broad and not justified by a legitimate,

      compelling, or overriding government interest.

              74. The Challenged Provision is not narrowly tailored to achieve any such legitimate,

      compelling, or overriding government interest.

              75. The Challenged Provision violates the Petition Clause of the First Amendment.
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            76. The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

     Plaintiffs as victims of bad faith social media censorship violates the Petition Clause of the First

     Amendment to the U.S. Constitution.

            77. Based on prior interpretations of Section 230 by the judicial branch, the Plaintiffs are

     under the apprehension that Section 230 serves as a total immunity blanket for social media

     websites that falsely market themselves and censor consumers after inducing them to invest.

                                     FREE SPEECH - COUNT TWO
                               [U.S. Const., amend. 1 (Freedom of Speech)]

            78. Plaintiffs re-allege and incorporate by reference all allegations set forth above.

            79. The Free Speech Clause of the First Amendment to the U.S. Constitution provide:

     "Congress shall make no law ... abridging the freedom of speech."

            80. The Challenged Provision prevents speech and expressive activity by allowing social

     media websites to act in bad faith while engaging in fraud, false advertising, theft-by-trick,

     breach of contract, unfair dealing, and deceptive trade practices with immunity.

            81. The Challenged Provision is unconstitutionally overbroad on its face because its

     unconstitutional applications are substantial in relation to its legitimate applications.

            82. As applied to the Plaintiffs, the Challenged Provision unconstitutionally restricts their

     protected speech.

            83. The Challenged Provision is not narrowly tailored to any legitimate, compelling, or

     overriding government interest.

            84. The Challenged Provision violates the Free Speech of the First Amendment in its

     making by Congress and its enforcement.
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           85. The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

   Plaintiffs as victims of bad faith social media censorship violates the Free Speech Clause of the

   First Amendment to the U.S. Constitution.

                            FREE EXERCISE CLAUSE - COUNT THREE
                               [U.S. Const., amend. 1 (Free Exercise)]

           86. Plaintiffs re-allege and incorporate by reference all allegations set forth above.

           87. The Free Exercise Clause of the First Amendment to the U.S. Constitution protects

   plaintiffs' religious activities.

           88. As the result of Congressional action, the Plaintiffs religious expressions are being

    disfavored, stifled, and censored. The Congressional action that led to the censorship of the

   Plaintiffs religious speech has relegated the Plaintiffs to second-class citizen status. The Plaintiffs

   do not feel welcomed in their own country , even though they consider themselve to be "friends

    of the founding fathers," just as this Court is required to be.

           89. The Plaintiffs have no adequate remedy at law other than to have Section 230 voided.

           90.    The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

    Plaintiffs as victims of bad faith social media censorship violates the Free Exercise Clause of the

    First Amendment to the U.S. Constitution because it stifles religious expressions that are

    otherwise protected.

                     ESTABLISHMENT CLAUSE VIOLATION - COUNT FOUR
                          [U.S. Const., amend. 1 (Establishment Clause)]

            91. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

    paragraphs.

            92. The Establishment Clause of the First Amendment to the United States Constitution

    provides that "Congress shall make no law respecting an establishment of religion."
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           93. The Establishment Clause of the First Amendment forbids the enactment of any law,

    program, or practice "respecting an establishment of religion." Congress is required to pursue a

    course of neutrality with respect to religion.

           94. From the reasonable person perspective, Congress's enactment of Section 230 fails

    all three prongs of the Lemon Test and violates the First Amendment Establishment Clause for

    constituting a non-secular sham that lacks a primary secular purpose that has cultivated an

    indefensible legal weapon against non-observers of the religion of Secular Humanism, and for

    serving to excessively entangle the government with the religion of Secular Humanism. 48

           95. The Supreme Court and nearly all of the Federal Court of appeals have recognized

    that Secular Humanism is a religion for the purpose of the First Amendment's Free Speech, Free



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               To pass muster under the Establishment Clause, a practice must satisfy the Lemon test,
    pursuant to which it must: (1) have a valid secular purpose; (2) not have the effect of advancing,
    endorsing, or inhibiting religion; and (3) not foster excessive entanglement with religion. Id. at
    592 (citing Lemon v. Kurtzman, 403 U.S. 602 (1971)). It is important to understand that
    government action "violates the Establishment Clause if it fails to satisfy any of these prongs."
    Edwards v. Aguillard, 482 U.S. 578,583 (1987); Agostini v. Felton, 521 U.S. 203,218 (1997).
    The evidence will show that Congress's make Section 230 fails all three prongs of the Lemon
    Test. At the core of the "Establishment Clause is the requirement that a government justify in
    secular terms its purpose for engaging in activities which may appear to endorse the beliefs of a
    particular religion." ACLUv. Rabun Cnty. ChamberofCommerce, Inc.,698 F. 2d 1098, 1111 (11th
    Cir.1983).T his secular purpose must be the "pre-eminent" and "primary" force driving the
    government's action, and "has to be genuine, not a sham, and not merely secondary to a religious
    objective." McCreary Cnty, Ky. v. ACLU of Ky., 545 U.S. 844 (2005). Under this second prong
    of the Lemon test, courts ask, "irrespective of the ... stated purpose, whether [the state action] ..
    has the primary effect of conveying a message that the [government] is advancing or inhibiting
    religion." Indiana Civil Liberties Union v. O'Bannon, 259 F.3d 766, 771 (7th Cir. 2001). The
    "effect prong asks whether, irrespective of government's actual purpose," Wallace v. Jaffree, 4 72
    U.S. 38, 56 n.42 (1985), the "symbolic union of church and state .. .is sufficiently likely to be
    perceived by adherents of the controlling denominations as an endorsement, and by the
    nonadherents as a disapproval, of their individual religious choices." School Dist. v. Ball, 473
    U.S. 373, 390 (1985);see also Larkin v. Grendel's Den, 459 U.S. 116, 126-27 (1982)(even the
    "mere appearance" ofreligious endorsement is prohibited). Congress's enactment of Section 230
    has constituted a "legal weapon that no [Christian or non-observer of Secular Humanism] can
    obtain." City of Boerne v. Flores, 521 U.S. 507 (1997). Social media websites have wielded a
    legal weapon in direct violation of prong II of Lemon.
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    Exercise, and Establishment Clauses. 49 The high priest and poet, Justice Kennedy, enshrined the

    core fundamental truth claim of Secular Humanism into law in Planned Planned Parenthood v.


           49
              The United States Supreme Court already found that Secular Humanism is a religion
    for the purposes of the First Amendment Establishment Clause inTorcaso v. Watkins, 367
    U.S.488, n. 11 (1961), stating "among religions in this country which do not teach what would
    generally be considered a belief in the existence of God are Buddhism, Taoism, Ethical Culture,
    Secular Humanism, and others. See Washington Ethical Society v. District of Columbia, 2 49
    F.2d 127, 101 U.S.App. D.C. 371 (D.C. Cir 1957); FellowshipofHumanityv. County of
    Alameda, 153 Cal.App.2d 673, 315 P.2d 394 (1957); II Encyclopaedia of the Social Sciences
    293; 4 Encyclopaedia Britannica (1957 ed.) 325-327; 21 id., at 797; Archer, Faiths Men Live By
    (2d ed. revised by Purinton), 120-138, 254-313; 1961 World Almanac 695, 712; Year Book of
    American Churches for 1961, at 29, 47."
            See also - School District ofA Bington Township, Pa. v. Schempp, 374 U.S. 203, 225
    (l 963)("[T]he State may not establish a "religion of secularism" in the sense of affirmatively
    opposing or showing hostility to religion, thus "preferring those who believe in no religion over
    those who do believe.")
            See also - the decision in United States v. Seeger, 3 80 US 163, 166 (1965) defined
    religion as all sincere beliefs "based upon a power or being, or upon a faith, to which all else is
    subordinate or upon which all else is ultimately dependent." Thus, according to Seeger,
    "religion" includes atheists and agnostics, as well as adherents to traditional theism. The logical
    conclusion from the Seeger decision is that "[a]bsolute vertical disbelief in the traditional sense -
    disbelief in God - is irrelevant" to First Amendment considerations. Id. See generally Bowser,
    Delimiting Religion in the Constitution: A Classification Problem, 11 VAL. U.L. REV. 163
    (1977); Boyan, Defining Religion in Operational and Institutional Terms, 1 16 U. PA. L. REv.
    4 79 (1968); Clancy and Weiss, The Conscientious Objector Exemption: Problems in Conceptual
    Clarity and Constitutional Considerations, 17 ME.L. REV. 479 (1968); Clark, Guidelines for the
    Free Exercise Clause, 8 3 HARV. L. REV. 327 (1969); Killilea, Standards for Expanding
    Freedom of Conscience, 34 U. Prrr. L. REv. 531 (1973); Rabin, When is a Religious Belief
    Religious: United States v. Seeger and the Scope ofFree Exercise, 51 CORNELL L.Q. 231
    (1966); Comment, Defining Religion: Of God, the Constitution and the D.A.R., 32 U. CHI. L.
    REv. 533 (1965).
            See also - in Welsh v. United States, 398 U.S. 333 (1970), the Supreme Court extended
    the Seeger rationale and held "that purely ethical and moral considerations were religious." The
    Supreme Court further blurred the distinction between religion and morality by holding that a
    sincere person may be denied an exemption only if his belief or belief system does "not rest upon
    and invade ethical or religious principles, but instead rests solely upon considerations of policy,
    pragmatism or expediency." Id. at 342-43. Most of the Federal Court of appeals have also
    already found that Secular Humanism is a religion for the purpose of the First Amendment
    Establishment Clause in cases such as Malnakv. Yogi, 592 F.2d 197, 200-15 (3d Cir.1979);
     Theriault v. Silber, 547 F.2d 1279, 1281 (5th Cir. 1977); Thomas v. ReviewBd., 450 U.S. 707,
    714, 101 S.Ct. 1425, 67 L.Ed.2d 624 (1981); Lindell v. McCallum, 352 F.3d 1107, 1110 (7th Cir.
    2003); Real Alternatives, Inc. v.Se y Dep't of Health & Human Ser, 150 F. Supp. 3d 419, 2017
    WL3324690 (3d Cir. Aug. 4, 2017); and Wells v. City and County of Denver, 257 F.3d 1132,
     1148 (10th Cir. 2001); United States v. Kauten, 133 F.2d 703, 708 (2d Cir. 1943).
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   Casey, 505 U.S. 833, 846-47 (1992), when he stated that "at the heart of liberty is the right to

   define one's own concept of existence, of meaning, of the universe." Hitler believed this as well

   and hung the same condescending message over the front gate of Buchenwald concentration

   camp. The largest religion in the United States is Secular Humanism, also referred to by

   theologians as anti-theism, postmodern individualistic western moral relativism and expressive

                    50
   individualism.

          96. The Plaintiffs have standing as taxpayers under Flast v. Cohen, 392 U.S. 83 (1968)51

   and other cases to pursue this cause of action. The Plaintiffs have a logical nexus as taxpayers
                                                                                            52
   to pursue this cause of action as the authors of the Stop Social Media Censorship Act.

          50
               Critical race theory, Black Lives Matter's ideology, Planned Parenthood's dogma, and
   the LGBTQ orthodoxy are doctrines that are inseparably linked to the religion of Secular
   Humanism. While Facebook, Twitter, and Youtube marketed themselves as being neutral on
   matters of religion, they have used Section 230 to excessively entangle the Nation with the
   irrational and licentious religion of Secular Humanism. What the Democrat party fails to
   understand is that Secular Humanism promotes licentiousness and is an attempt to justify
   practices that are inconsistent with the peace and safety of the state. The government has the
   right to regulate the fire out of Secular Humanism practices because the Free Exercise Clause is
   not absolute.
           51
               The general rules regarding standing to challenge governmental actions are designed to
   ensure that courts are addressing actual cases that can be resolved by the judicial system.
   However, in some circumstances, individuals may seek to challenge governmental actions for
   which neither those individuals nor any other individuals could meet standing requirements.
   Indeed, the Supreme Court has noted that in some instances "it can be argued that if [someone
   with a generalized grievance] is not permitted to litigate this issue, no one can do so." United
   States v. Richardson, 418 U.S. 166 (1974). Generally, the Supreme Court has noted, "lack of
   standing within the narrow confines of Art.III jurisdiction does not impair the right to assert
   [one's] views in the political forum or at the polls." However, the ability of individuals to affect
   change through political and democratic means does not eliminate all cases where a large group
   of individuals would be affected by the challenged governmental action. In particular, the Court
   has specifically allowed taxpayer standing for claims arising under the Establishment Clause.
   Under the Flast exception to the general prohibition on taxpayer standing, taxpayers may raise
   challenges of actions exceeding specific constitutional limitations (such as the Establishment
   Clause) taken by Congress under Article I's Taxing and Spending Clause which is applicable to
   the states under the Fourteenth Amendment. Flast v. Cohen, 392 U.S. 83 (1968). As Justice
   Ginsburg shrewdly pointed out, "the underlying premise of Flast v. Cohen [is] that the
   Establishment Clause will be unenforceable unless we recognize taxpayer standing." Id. At 8
            52
               The Plaintiffs pay every form of conceivable state and federal tax in Florida. The
   federal taxes that the Plaintiffs pay in Florida go to the United States' general fund. The salaries
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            97. Congress may have had an emotional reason for passing Section 230 into law

     because it wanted to see the Internet "grow" but that consideration is an emotional appeal, and it

     is a long-standing jurisprudence that emotional appeals, even really good ones, cannot be used to

     usurp the Establishment Clause of the First Amendment. See Holloman v. Harland, 370 F.3 1252

     (11th Cir. 2004).

            98. The enactment of Section 230 by Congress has represented an endorsement of the

     religion of Secular Humanism in how it has been used by social media websites to entangle the

     government with the religion of Secular Humanism , constituting excessive endorsement of the

     Secular Humanist religion due to Congress making a bad law that was not thoughtout.

            99.    The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

     Plaintiffs as victims of bad faith social media censorship violates the Establishment Clause of the

     First Amendment to the U.S. Constitution for failing the prongs of the Lemon Test.


          DECLARATION OF FIRST AMENDMENT VIOLATIONS OF SECTION 230's
                             MAKING - COUNT FIVE

             100. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

     paragraphs.

             101. In censoring (flagging, shadow-banning, etc.) the Plaintiffs, social media websites

     relied upon and acted pursuant to Section 230 of the Communications Decency Act. Congress's

     action constitutes the superseding cause that is preventing Plaintiffs from acquiring relief from

     social media websites.


     of the members of Congress are paid out of the general fund. Congress made Section 230 in the
     normal course of business, and that statute has served as government action that establishes the
     secular humanism as favored by social media websites as the official and favored religion of the
     United States. As non-observers of the secular humanism religion, the Plaintiffs have been
     relegated to second-class citizen status.
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            102. The social media websites would not have deplatformed the Plaintiffs or similarly

    situated profile users but for the immunity purportedly offered by Section 230.

            103. Section 230(c)(2) purports to immunize social media companies from liability for

    action taken by them to block, restrict, or refuse to carry "objectionable" speech even if that

    speech is "constitutionally protected" under the Free Speech Clause and Free Exercise Clause of

    the First Amendment. 47 U.S.C. § 230(c)(2).

            104. In addition, Section 230(c)(l) also has been interpreted as furnishing an additional

     immunity to social media companies for action taken by them to block, restrict, or refuse to carry

     constitutionally protected speech.

            105. Section 230(c)(l) and 230(c)(2) were deliberately enacted by Congress to induce,

     encourage, and promote social medial companies to accomplish an objective--the censorship of

     supposedly "objectionable" but constitutionally protected speech on the Internet-that Congress

     could not constitutionally accomplish itself.

            106. Congress cannot lawfully induce, encourage, or promote private persons to

     accomplish what it is constitutionally forbidden to accomplish." Norwood v. Harrison, 413 US

     455, 465 (1973).

            107. Section 230(c)(2) is therefore unconstitutional on its face, and Section 230(c)(l) is

     likewise unconstitutional insofar as it has been interpreted to immunize social media companies

     for action they take to censor constitutionally protected speech.

            106. Section 230(c)(2) on its face, as well as Section 230(c)(l) when interpreted as

     described above, are also subject to heightened First Amendment scrutiny as content- and

     viewpoint-based regulations authorizing and encouraging large social media companies to censor

     constitutionally protected speech on the basis of its supposedly objectionable content and
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    viewpoint. See Denver Area Educational Telecommunications Consortium, Inc. v. FCC, 518 U.S.

    727 (1996).

            108. Such heightened scrutiny cannot be satisfied here because Section 230 is not

    narrowly tailored, but rather a blank check issued to private companies holding unprecedented

    power over the content of public discourse to censor constitutionally protected speech with

    impunity, resulting in a grave threat to the freedom of expression, to religious exercise, and to

    democracy itself; because the word "objectionable" in Section 230 is so ill-defined, vague and

    capacious that it results in systematic viewpoint-based censorship of political speech, rather than

    merely the protection of children from obscene or sexually explicit speech as was its original

    intent; because Section 230 purports to immunize social media companies for censoring speech

    on the basis of viewpoint, not merely content; because Section 230 has turned a handful of

    private behemoth companies into "ministries of truth" and into the arbiters of what information

    and viewpoints can and cannot be uttered or heard by hundreds of millions of Americans; and

    because the legitimate interests behind Section 230 could have been served through far less

    speech-restrictive measures. 53

            109. Accordingly, the Plaintiffs seek an injunction and a declaration that Section

    230(c)(l) and (c)(2) are unconstitutional insofar as they purport to immunize from liability social

    media companies and other Internet platforms for actions they take to censor constitutionally

    protected free speech and constitutionally protected free exercise of religion.

                                  ALTERNATIVE COUNT
              DECLARATORY JUDGEMENT OF UNCONSTITUTIONALITY OF SECTION
         230 AND THE COMMUNICATIONS DECENCY ACT, THE STOP SOCIAL MEDIA
                      CENSORSHIP ACT, AND § 501.204 - COUNT SIX

    53
      The "ministries of truth" favor the religion of Secular Humanism over non-religion and over
    other religions, causing any reasonable observer to see that the Congress's immunity has had the
    effect of establishing Secular Humanism as the supreme religion of the Nation in violation of the
    prongs of the Lemon Test and the First Amendment's Establishment Clause.
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     ___ 110. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

     paragraphs. This claim for declaratory relief is pleaded in the alternative. 47 U.S.C. § 230(3)(c)

     states "Nothing in this section shall be construed to prevent any State from enforcing any State

     law that is consistent with this section. No cause of action may be brought and no liability may

     be imposed under any State or local law that is inconsistent with this section.

            111. The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

     Plaintiffs does not violate the First Amendment only if Florida or any other state were to enact a

     statute, like the Stop Social Media Censorship Act, that is narrowly tailored to fall in the state

     law exemption under subsection (e) subparagraph (3) of Section 230 because a lawsuit brought

     under such a statute would allow litigants to seek redress against social media websites that act in

     bad faith and commit fraud.

             112. Issuing a declaration that clarifies the state-law exemption is not enough. Therefore,

     the Plaintiffs ask this Court to direct Governor DeSantis to call a special session pursuant to

     Article III, Section 3 of the Florida Constitution in step with his oath of office under Clause 3 of

     Article VI of the United States Constitution to enact the Stop Social Media Censorship Act to

     cure constitutional defects of SB7072 in view of the decision in Netchoice, LLC et al., v. Moody

     et. al. 4:21cv220-RH-MAF (N.D.F.L 202l)(DE 113) so that the Plaintiffs can finally have the

     actual ability to properly petition the courts of competent jurisdiction for redress against

     deceptive social media websites that defrauded and dehumanized them.

             113. The Plaintiffs seek declaration and clarification from the Court on whether the

     Plaintiffs and other injured Floridians could bring a lawsuit under§ 501.2041 against social

     media websites that have victimized them in view of the preliminary injunction entered in
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   Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) or whether

    § 501.2041 would be automatically preempted by Section 230.


                                   DEMAND FOR A BENCH TRIAL

            114. The Plaintiffs request a bench trial on all issues so triable.

                                          PRAYER FOR RELIEF

    115. WHEREFORE, the Plaintiffs respectfully requests that the Court either enter an Order:

            A. Declaring that the challenged provision, 47 U.S.C. § 230, et. seq. on its face and as

    applied to Plaintiffs, violates the Petition Clause of the First Amendment to the U.S. Constitution

    and the Free Speech, Free Exercise, and Establishment Clauses of the First Amendment to the

    U.S. Constitution and is enjoined from enforcement;

            B. Alternatively, declaring that 47 U.S.C. § 230(c)(l) and (c)(2)

    on its face and as applied to Plaintiffs, violates the Petition Clause of the First Amendment to the

    U.S. Constitution and the Free Speech, Free Exercise, and Establishment Clauses of the First

    Amendment to the U.S. Constitution and is, thereby, enjoined from enforcement;

            C. Alternatively, declaring that the State of Florida should have enacted the amended

    version of HB 33 by Sen. Gruters and Rep. Sabatin (referred interchangeably as the Stop Social

    Media Censorship Act), and not SB7072 that suffers from the Constitutional concerns described

    by the court in Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE

    113);

            D. Alternatively, declaring that if Florida or any other state were to enact the Stop Social

    Media Censorship Act that the statute would not be preempted under Section 230 and because it

    falls squarely within the state-law exemption under subsection (e) subparagraph (3) of Section

    230 and that the Plaintiffs and others who were similarly situated could pursue a cause of action
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                                                                                                         59

   under the state statute without the lawsuit being automatically preempted by the Supremacy

   Clause in view of Section 230;

             E. Alternatively, requiring Defendant Governor DeSantis to call a special session

   pursuant to Article III, Section 3 of the Florida Constitution in step with his oath of office under

   Clause 3 of Article VI of the United States Constitution to deliberate enacting the Stop Social

   Media Censorship Act to cure Constitutional defects of SB7072 54 in view of the decision in

   Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) so that the

   Plaintiffs and other Floridians who have been injured by social media websites can finally and

   properly petition the government for redress in a legally proper manner so that they could have

   the chance to be made whole again;

             F. Alternatively, declaring that the Plaintiffs could bring a lawsuit under§ 501.2041

   against social media websites that have victimized them and that§ 501.204 would not be

   automatically preempted by Section 230 because § 501.2041 within the state-law exemption

   subsection (e) subparagraph (3).

             G. Permitting an award of attorneys' fees and costs to Plaintiffs in an amount to be

   determined at trial.

             H. Permitting an award of such other and further relief as the Court may deem just and

   proper.

             I. Granting Plaintiff Sevier ECF filing access;

             J. Granting the Plaintiffs leave to file two separate motions for preliminary injunction,

   permanent injunction, and/or summary judgment and that they be given leave to file excessive

   pages for the same reasons the plaintiffs in Netchoice, LLC et al., v. Moody et. al.

   4:2lcv220-RH-MAF (N.D.F.L 2021) were given.
             54
                  SB7072 the bill which created §106.072, § 287.137, and§ 501.204
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                                                                                                      60


             K. Liberally granting leave to third parties that seek leave to submit amicus briefs, even

     if the briefs are critical of the Plaintiffs' watertight positions.

             ls/Christopher Sevier Esg,/
             DEFACTOATTORNEYSGENERAL
             Mailing: 118 16th Ave S #24 7 - Music Row
             Nashville, TN 37203
             (615) 500-4411
             BCN: 026577
             909 Santa RosaBlvd,
             Fort Walton Beach, FL 32548
             4301 50th St, Suite 300, #2009,
             Washington, DC 20816
             ~bostwarsmusic@~ail.com
             www.specialforcesofliberty.com
             www.chrissevier.com
             1LT27AJAG
             Bravo Two Zero

             ls/John Gunter Jr./
             SPECIAL FORCES OF LIBERTY
              195 NW 103rd Strreet
             Miami, FL 33150
             (801) 654-5973
             johnjr@tel-electronics.com
             www.specialforcesofliberty.com
             www.stopsocialmediacensorshipact.com
             SGM27D
             Gator Six Zulu
             (TO BE REPRESENTED PRO HAC)

             /s/Deb Maxwell/
             SPECIAL FORCES OF LIBERTY
             4415 Spring Lake CT
             New Port Richey, FL 34652
             (727) 400-2182
             1debmaxwell@gmail.com
             www.specialforcesofliberty.com
             (TO BE REPRESENTED PRO HAC)

             ls/Pastor Rich Penkoski/
             WARRIORS FOR CHRIST
             195 NW 103rd Strreet
             Miami, FL 33150
             4301 50th St, Suite 300, #2009,
Case 1:21-cv-22577-DPG Document 1 Entered on FLSD Docket 07/20/2021 Page 61 of 145


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           Washington, DC 20816
           (801) 654-5973
           pastor@wfcchurch.org
           https;//www.wfcchurch,oc~
           (TO BE REPRESENTED PRO HAC)

           ls/Greg' Degeyter Esq./
           DE FACTO ATTORNEYS GENERAL
           BCN: 24062695
           degeyterlaw@gmail.com
           9898 Bissonnet St Ste 626
           Houston , Texas 77036
           (713) 505-0524
           Attorney On Behalf Of Special Forces Of Liberty &
           Warriors For Christ
           (PRO HAC APPLICIATION FORTHCOMING)
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                                                                                                          1


                      IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                              DISTRICT OF FLORIDA MIAMI DIVISION

   i Chris Sevier, DE FACTO ATTORNEYS
   . GENERAL, John Gunter, SPECIAL
     FORCES OF LIBERTY, Richard
   . Penkoski, WARRIORS FOR CHRIST
                                                           1
                                                           l
                                                               COMPLAINT FOR DECLARATORY
                                                               RELIEF AND INJUNCTIVE RELIEF
       Plaintiffs,

                 V.

   · Merrick Garland, IN HIS OFFICIAL
     CAPACITY OF THE UNITED STATES,
     Ron DeSantis, IN HIS OFFICIAL
     CAPACITY AS THE GOVERNOR OF
     FLORIDA

                 Defendants.


                                          ORIGINAL COMPLAINT
       What the ACLU started in Reno American Civil Liberties Union, 521 US. 844 (1997), we intend
                           to finish and perfect. - De Facto Attorneys General

                               Understanding the Stop Social Media Censorship Act
                               https:llwww.voutube,comlwatch?v=CCcOALXNteM
                                     http://www.specialforcesofliberty.com/

              1. This is an action for declaratory and injunctive relief that challenges the sole surviving

   provisions of the "Communications Decency Act of 1996", 47 U.S.C. § 230 et. seq., 1 (hereinafter

   referred to as "Section 230") for namely violating the Petition and Access Clause of the First

   Amendment of the United States Constitution, as well as the Free Speech, Free Exercise and

   Establishment Clauses. The Plaintiffs attack this issue from a different angle than the Trump


             1
              In 1996, Congress passed the Communications Decency Act of 1996, which amended
   the Telecommunications Act of 1934 with Section 230(c}, intending to promote the growth and
   development of Internet platforms, as well as to protect against the transmission of obscene
   materials over the Internet to children. Section 230 is vague and not the least restrictive means to
   fulfill any interests asserted by the government.
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                                                                                                              2


     Plaintiffs. 2 Congress, not Twitter, Facebook, or Youtube, made Section 230. If a litigant wants to

     have a court strike down one of Congress's laws, the proper party to sue in most cases is the

     chief enforcer of Congress's laws, the United States Attorney General. That is what the ACLU

     did in getting all of the other sections of the Communications Decency Act struck down in Reno

     American Civil Liberties Union, 521 U.S. 844 (1997). That is what the Plaintiffs have done here.

             2. In view of a recent decision in Netchoice, LLC et al., v. Moody et. al.

     4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) and in other cases, there are only two

     intellectually honest outcomes that this Court can render.    Option one: this Court could find that
     "Congress ... ma[d]e [a] law... abridging .. .the right [of the Plaintiffs] to petition the Government

     for a redress of grievances" in violation of the First Amendment of the United States

     Constitution, when it made Section 230. Option two, this Court could declare that Florida can,

     should, or must enact a narrowly tailored law, like the amended version HB 33 (referred to

     hereinafter as the Stop Social Media Censorship Act) by Sen. Gruters and Rep. Sabatini that was

     painstakingly crafted to fall squarely within the state-law exemption, so that the Plaintiffs and

     other Floridians, for the first time, can legitimately seek redress for their grievances against

     social media websites 3 that acted in bad faith in inflicting personal injury on profile users
     2
        See Trump v. Twitter, 1:21-cv-22441 (S.D.F.L. 2021 ), Trump v. Facebook, 1:2 l-cv-22440
     (S.D.F.L. 2021), and Trump et al v. YouTube, LLC, 1:21-cv-22445-KMM (S.D.F.L. 2021)
     3
        For purposes of this complaint "social media websites" refer to Facebook, Twitter, Youtube."
     The amended version of HB 33 defines social media websites as follows:
       "Social media website";
               1, Means an Internet website or application that enables users to communicate with each
     other by posting information, comments, messages, or images and that meets all of the following
     requirements:
              i. Is open to the pub)jc.
              ii, Has more than 75 miHion subscribers with personal user profiles,
              iii. From its inception, has not been specifically affiliated with any one religion or
     political party.
              iv. Provides a means for the website's users to report obscene materials and has in place
     procedures for eva)uatine those reports and removine obscene material; and
              v, Allows for subscribers to sien up for a personal user profile paee or account where
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                                                                                                         3


    through fraud, breach, and other deceptive trade practices. Social media websites injured the

    Plaintiffs by falsely marketing themselves as a place where the Plaintiffs were free to exchange

    their political and religious views. After inducing the Plaintiffs to create and invest heavily in

    their user profiles on social media webistes that marketed themselves as glorified digital bulletin

    boards that were neutral on religious and political expression, the social media websites

    arbitrarily shifted their standards and were no longer neutral towards religious and political

    speech, engaging in self-help reprisal actions. The social media websites changed the deal terms

    in bad faith after having reached critical mass and having successfully created a monopoly on the

    digital public square to the shock and awe of users like the Plaintiffs. The bad faith censorship in

    the wake of arbitrary shifting standards that were designed to elevate the religion of Secular

    Humanism over non-religion and other religions has economically and emotionally injured the

    Plaintiffs. 4 Social media websites have been permitted to get away with these consumer

    protection violations because of a Congressional action in making Section 230.

           3. In determining the trajectory of the First Amendment of the United States

    Constitution, the public's interest would likely best be served if the Court goes with the second

    option presented. Accordingly, the Plaintiffs plead in the alternatively under FRCP 8(e)(2) and

    demand that if the Court finds that Section 230 does not violate the First Amendment because

    Congress included an escape hatch under subsection (e) subparagraph (3) (referred to as the

    state-law exemption), that the Court should:

    beliefs and preferences can be expressed by the user.
             2. The term does not include a website that merely permits members of the general public
    to post comments on content published by the owner of the website.
             4
               In this case, the Plaintiffs seek a legal path so that social media websites that were never
    affiliated with a religious institution or political party from their inception will be forced to keep
    their promises to consumers to remain neutral on political and religious speech. Social media
    websites that have less than 75,000,000 subscribers or that made it clear upfront to consumers
    that they were affiliated with a specific religious organization or political party are not of concern
    to the Plaintiffs in this action.
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                                                                                                          4


            (a) declare that the State of Florida should have enacted the amended version of HB 33

     and not the comparatively disastrous SB7072 5 that suffers from the Constitutional concerns

     described by the court in Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L

     2021)(DE 113);

            (b) declare that if Florida or any other state were to enact the Stop Social Media

     Censorship Act that the statute would not be preempted under Section 230 and because it

     narrowly falls squarely within the state-law exemption under subsection (e) subparagraph (3) of

     Section 230;

            (c) affirmatively order and direct Governor De Santis to call a special session pursuant to

     Article Ill, Section 3 of the Florida Constitution in step with his oath of office under Clause 3 of

     Article VI of the United States Constitution to enact the Stop Social Media Censorship Act to

     cure constitutional defects of SB7072 in view of the decision in Netchoice, LLC et al., v. Moody

     et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) so that the Plaintiffs can finally have the

     actual ability to properly petition the courts of competent jurisdiction for redress against

     deceptive social media websites that defrauded and dehumanized them.

            (d) declare that the Plaintiffs could bring a lawsuit under § 501.2041 against social media

     websites that have victimized them and that§ 501.2041 would not be automatically preempted

     by Section 230, even though§ 501.2041 is poorly written in comparison to the Stop Social

     Media Cenosrship Act.

                                         NATURE OF THE CASE
            4. This case creates a binary that asks for a logically consistent outcome by the Judicial

     branch, who is tasked with the obligation to interpret Section 230, the Stop Social Media


     5
       SB7072 is the bill enacted on May 24, 2021 by Governor DeSantis, which created §106.072, §
     287.137, and§ 501.204.
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                                                                                                     5


    Censorship Act, and SB7072 in view of the doctrine of preemption created by the Supremacy

    Clause and the First Amendment of the United States Constitution. The Plaintiffs need

    responsiveness from the Court and the Governor because they are concerned about the statute of

    limitations for the kinds of censorship they have experienced that have been detailed by some

    media outlets in articles such as:

            (a) "Facebook Continues Censorship Of Warriors For Chris Page Pastor Says" -
    Christian Post
            https://www.christianpost.com/news/facebook-continues-censorship-of-warriors-for-chris
    t-page-pastor-says.html
            (b) Facebook Removes Christian Page 'Warriors for Christ' - Christian Headlines
            https ;//www,christianheadlines,com/hloe/facehook-removes-christian-paee-warriors-for-c
    heist.html
           (c) "Facebook shuts down Warriors for Christ page" - Geller Report
           https://gellerreport.com/2018/01/facebook-warriors-christ.html/
           (d) "Gay Activists Shut Down Christian Facebook Page" - Church Militant
           https://www.churchmilitant.com/news/article/gay-activists-succeed-in-getting-christian-fa
    cebook-page-shut-down
           (e) "Facebook Yanks Warriors For Christ After Ignoring Death Threats To Pastor, Says
    Angel In Armor Pie Violates Standards" - Conservative Firing Line
           https ://conservativefirineline ,com/facehook-yanks-warriors-chri st-ienorine-death-threats-
    pastor-says-angel-armor-pic-violates-standards/
            (f) "Facebook Censorship of Christians MUST STOP! Lawsuit underway!" - Counter
    Culture Mom
            https://counterculturemom.com/facebook-censorship-of-christians-must-stop-lawsuit-und
    erway/
            (h) "Youtube Censorship: 'Warriors for Christ'Channel Demonetized" -National File
           https://nationalfile,com/youtube-censorship-warriors-for-christ-channel-demonetized/
            (i) "LGBT Activists Target Pastor with Death Threats and Feces over a Facebook Emoji"
    - CBNNews
            https://www l .cbn.com/cbnnews/us/2017/july/pastor-sent-death-threats-feces-in-mail-for-
    opposing-this-emoj i-on-facebook
            G) "Pastor who banned rainbow flag emoji from his Face book page is forced to flee after
    receiving death threats" - Christian Today
          https://www,christiantoday,com/article/pastotwho,banned,rainbow.fla,e,emQji,from,his,fa
    cebook,paee,is,forced,to.flee,afteueceivine,death.threats/111157,htm
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                                                                                                              6


            5. The ultimate question raised by this action is what is the best solution to the ongoing

     bi-partisan problem of social media censorship? Is it (a) "an executive order by the President?"

     or (b) "to have the judicial branch decree that social media websites are quasi-state actors for

     purposes of the First Amendment?" or (c) "the striking down Section 230 by judcial action

     under the petition and access clause or the total repeal of Section 230 by Congressional action?"

     or (d) "to do nothing, allowing the status quo of bad faith abuse to continue?", or (e) "to allow

     censored litigants to successfully bring a cause of action pursuant to a narrowly tailored state

     statute, like the Social Media Censorship Act, that will allow injured consumers to hold social

     media websites accountable for having engaged in self-evident unprotected harmful forms of

     speech to include: (1) breach of contract, (2) false advertising, (3) deceptive trade practices, (4)

     bad faith, (5) unfair dealing, (6) unjust enrichment, and (7) fraudulent inducement?" The

     Plaintiffs believe that it would be in the best interest of everyone if the Court resolved that the

     optimal solution to this problem is the fifth option - option (e). This is because already built into

     section 230 is the "state-law exemption" under subsection (e) subparagraph (3). 6 The following

     coalition of bi-partisan state legislatures agreed that the fifth option is the best and served as the

     prime sponsnor of the Stop Social Media Censorship Act7 at the 2021 legislative session and

     have promised to introduce the bill at the 2022 legislative session. Here is the breakdown state

     by state of the bill language, bill numbers, and the name of the prime sponsors:


             6
               When Congress passed section 230 they included exception provisions for when a
     section 230 immunity defense could not be successfully invoked by an internet intermediary
     under subsection (3). The state of Florida has the authority to enact the Stop Social Media
     Censorship Act under the Tenth Amendment of the United States Constitution so that Florida
     citizens are protected.
     7
       All of these bills were assembled by either De Facto Attorneys General or Professor Hamburger
     of Columbia law school.
     bttps://www,law,columbia,edu/sites/defauitlfi)es/2020-02/hamburl'er- resume 5,30, 19,pdf
     The measures are championed by the Heartland institute of policy. https://www.heartland,orl'.
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                                                                                                  7



     1. Alabama - Drafted as follows for the 2022 legislative session:
     https://www,dropbox.corn/s/rnh0kprni8s9hkisp/2022%20AJ,ABAMA%20STOP%20SOCJAL%2
     0MEDJA %20CENSORSHIP%20AMENDED%2QFINAL,pdf?dl=0
     2. Alaska. Drafted by Senator Showers (R) for introduction at the 2022 legislative session:
     https://www.dropbox.com/s/ci7c8x9rlOjb55z/2022%20Alaska%20StQp%20Social%20Media%2
     0Censorship%20Act%20AMENDED%20FINAL.pdf?dl=0
     3. Arizona. SB1428 sponsored by Sen. Townsend (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https://legiscan.com/AZ/text/SB 1428/2021
     -Amended for 2022 legislative session to be introduced by Sen. Townsend:
     https;/lwww,drophox,com/s/7i0iakb3z4tole~2022%20Arizona%20Stop%20Social%20Media%
     2QCensorship%2Qfinal,pdf?dl=0
     4. Arkansas. Drafted by Chairman Sen. Clark (R) to be introduced at the 2023 legislative
     session:
     https://www.dropbox.com/s/o98fkpfblyzgkmy/2023%20Arkansas%20Stop%20Social%20Media
     %20Censorship%20Act%20AMENDED%20%281 %29 .pdf?dl=0
     5. California. In review by Sen. Grove (R) to be introduced at the 2022 legislative session as
     follows:
     https;//www,dropbox.com/s/b7n96geifhkisw3/2022%20California%20Sto.p%20Social%20Medi
     a%20Censorship%20Act.pdf?dl=0
     6. Colorado. To be introduced by Rep. Williams (R) at the 2022 legislative session as follows:
     https://www.dropbox.com/s/tcc7uxddogwgs6f/2022%20Colorado%20Stop%20Social%20Media
     %20Censorship%20Act%20Final.pdf?dl=0
     7. Connecticut. To be introduced as follows at the 2022 legislative session:
     https;//www,dropbox,corn/s/dh4xv70hcu5j4jp/2022%20Connecticut%20Stop%20Social%20Med
     ia%20Censorship%20Act%20FINAL%2QAMENDED,pdf?dl=0
     8. Delaware. To be introduced by Sen. Richardson (R) at the 2022 legislative session:
     https;//www.dropbox.com/s/Ox3ayrs6964xy9n/2022%20Delaware%20Stop%20Social%20Media
     %20Censorship%20Act.pdf?dl=0
     9. Florida. HB 33 sponsored by Rep. Sabatini (R) - provided by De Facto Attorneys General -
     at the 2021 legislative session :
     https;//leiiscan,corn/FI,/bj) J/H003 3/202 I
     To be introduced at the 2022 legislative session as follows:
     https;//www,drophox,com/s/b65uffiXs2ntj48t/2Q22%20Florida%20Stop%20Social%20Medja%
     20Censorship%20Act%20AMENDED,pdf?dl=0
     10. Georgia. To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/391sacz7gg3oekj/2022%20New%20Georgia%20Stop%20Social%2
     0Media%20Censorship%20Act%20FINAL %20%281 %29.pdf?dl=0
     11. Hawaii. SB357 sponsored by Sen. Gabbard (D) - provided by De Facto Attorneys General
     - at the 2021 legislative session:
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                                                                                               8


   https ://legiscan.com/HI/text/SB3 5 7/2021
   To be introduced at the 2022 legislative session by Sen. Gabbard as follows:
   https ://www.dropbox.com/s/4drp0d 1wrkp4gah/2022%20Hawaii%20Stop%20Social%20Media%
   20Censorship%20Act%20%281 %29 .pdf?dl=0
   12. Idaho. H0323 sponsored by Rep. Nichols (R) - provided by De Facto Attorneys General -
   at the 2021 legislative session:
    https ://legiscan,comao1text/H0323/2021
    To be introduced at the 2022 legislative session by Rep. Nichols as follows:
    https ://www.dropbox.com/s/5m97v 1mpdrs36cg/2022%20Idaho%20Stop%20Social%20Media%
    20Censorship%20Act.pdf?dl=0
    13. Illinois. Drafted as follows for the 2022 legislative session:
    https://www.dropbox.com/s/tun4sxpl4r4h2ka/2022%20Illinois%20Stop%20Social%20Media%2
    0Censorshjp pdf?dl=0
    14. Indiana: To be introduced at the 2022 legislative session by Rep. Jacobs (R) as follows:
    https;//www.dropbox,com/s/laea6ssvk03j5lj/2022%20Indiana%20Stop%20Social%20Media%20
    Censorship%20Act%20.pdf?dl=0
    15. Iowa. HFl 71 sponsored by Rep. Salmon (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session:
    https ://legiscan.com/IA/text/HF 171 /2021
    To be introduced at the 2022 legislative session by Rep. Salmon as follows:
    https·//www,dropbox,com/s/66e8he2cd0zxsj4/2022%20Iowa%20Stop%20SociaJ%20Medja%20
    Censorshjp%20Act%20AMENDED,pdf?dl=0
    16. Kansas. HB2322 sponsored by Rep. Gaber (R) - provided by De Facto Attorneys General.
    To be introduced by Rep. Garber at the 2022 legislative session as follows:
    https://www.dropbox.com/s/6dxnzcfpzlr67qd/2022%20Kansas%20Stop%20Social%20Media%2
    0Censorship%20Act.pdf?dl=0
    17. Kentucky. SBlll sponsored by Sen. Mills (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session:
    https://Iegiscan,com/KY/text/SB 11112021
    To be introduced at the 2022 legislative session by Sen. Mills as follows:
    https://www.dropbox.com/s/tlr4kcqakr1elyc/2022%20Kentucky%20Stop%20Social%20Media%
    20Censorship%20Act%20%281 %29.pdf?dl=0
    18. Louisiana. SB196 sponsored by Sen. Morris (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https://legiscan.com/LA/text/SB 196/2021
    To be introduced at the 2022 legislative session by Sen. Morris as follows:
    https;//www,dropbox,com/s/o0qju7nout6np6h/Louisiaoa-2021-SB196-Engrossed%20%283%29,
    pdf?dl=0
    19. Maine. LD1609 sponsored by Rep. Sampson (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
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     https ://legiscan.com/ME/text/LD 1609/2021
     To be introduced at the 2022 legislative session by Rep. Sampson as follows:
     https://www.dropbox.com/s/xji2kpbtktkkrsf/2022%20Maine%20Stop%20Social%20Media%20
     Censorship%20Act.pdf?dl=0
     20. Maryland. HB1314 sponsored by Del. Adams (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https;//leiiscan,com/MD/text/HB 1314/2021
     To be introduced at the 2022 legislative session by Del. Adams as follows:
     https://www.dropbox.com/s/nshl9js3df3vyn5/2022%20Mar_yland%20Stqp%20Social%20Media
     %20Censorship%20Act.pdf?dl=0
     21. Massachusetts. To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/yy2ubrgeo5eft6k/2022%20Massachusetts%20Stop%20Social%20M
     edja%20Censorshjp%20Act,pdf?dJ=0
     22. Michigan. To be introduced as follows at the 2022 legislative session:
     https;//www.dropbox.com/s/n3lgn0uw23re37z/2022%20Michiiao%20Stop%20Social%20Media
     %20Censorship%20Act°/420Final%20amendment,pdf?dl=0
     23. Minnesota. To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/7zrv9qy8jzv48gi/2022%20Minnesota%20Stop%20Social%20Media
     %20Censorship%20Act%20Amended%20final.pdf?dl=0
     24. Mississippi: SB2617 sponsored by Sen. Hill (R) - provided by De Facto Attorneys General
     - at the 2021 legislative session:
     https ;//leiiscan,com/MS/text/SB26 l 7/2021
     To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/wyjg7ean5b37ogw/Mississippi%20Stop%20Social%20Media%20C
     ensorship%20Act.pdf?dl=0
     25. Missouri. HB482 sponsored by Rep. Coleman (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ·//Jeiiscan,com/MO/bj l)/HB482/202 J
     To be introduced as follows at the 2022 legislative session:
     https;//www.dropbox.com/s/2hj5e2vlyro8m39/2022%20Missouri%20Stop%20Social%20Media
     %20Censorship%20Act.pdf?dl=0
     26. Montana. To be introduced as follows at the 2023 legislative session:
     https://www.dropbox.com/s/gtwz360f2dik04u/2023%20MONTANA%20STOP%20SOCIAL%2
     0MEDIA %20CENSORSHIP%20ACT%20AMENDED%20FINAL.pdf?dl=0
     27. Nebraska. LB621 sponsored by Sen. Curt Friesen (R)- provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https;//Jeiiscan,com/NE/text/LB621/2021
     To be introduced as follows at the 2023 legislative session:
     https://www.dropbox.com/s/4s6wsko5dw9suj4/2022%20Nebraska%20%20Stop%20Social%20
     Media%20Censorship%20Act%20FINAL.pdf?dl=0
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   28. Nevada: To be introduced as follows at the 2023 legislative session:
   29. New Hampshire. HB133 sponsored by Rep. Plett (R) - provided by De Facto Attorneys
   General - at the 2021 legislative session:
   https ://legiscan.com/NH/text/HB 133/2021
   To be introduced as follows at the 2022 legislative session:
   https;llwww.dropbox,com/s/bjlwhnhjf4cfxuj/2022%20New%20Hampshjre%20Stop%20Socja1
   %20Medja%20Censorshjp%20Act,pdf?d!=0
   30. New Jersey. A578 sponsored by Asm. Auth (R) - provided by De Facto Attorneys General
   - at the 2021 legislative session:
   https ://legiscan.com/NJ/text/A578/2020
   To be introduced as follows at the 2022 legislative session:
   https://www.dropbox.com/s/pkt2wgtqx8mwpjb/New°/o20Jersey%20Stop%20Social%20Media%
   20Censorshjp%20Act,pdf?d!=O
   31. New Mexico. To be introduced as follows at the 2022 legislative session:
   https;//www.dropbox.com/s/3rjkno4547telvr/2022%20New%20Mexico%20Stop%20Social%20
   Media%20Censorship%20Act%20AMENDED.pdf?dl=0
   32. New York. To be introduced as follows at the 2022 legislative session:
   https://www.dropbox.com/s/fretoaagwy7108z/2022%20New%20York%20Stop%20Social%20M
   edia%20Censorship%20Act%20FINAL%20AMENDED%20.pdf?dl=0
    33. North Carolina. S497 sponsored by Sen. Alexander (R) - provided by De Facto
   Attorneys General - at the 2021 legislative session:
   https ;//Iegiscan,com/NC/text/S497/2021
   34. North Dakota. HB1144 sponsored by Rep. Kading (R) - provided by Professor
   Hamburger- at the 2021 legislative session:
   https ://legiscan.com/ND/text/1144/2021
   To be introduced as follows at the 2022 legislative session by Rep. Jones:
   https ://www.dropbox.com/s/iwf5b 1eyyj 82wsi/2022%20North%20Dakota%20Stop%20Social%2
   0Medja%20Censorshjp%20Act pdf?dl=0
   35. Ohio. To be introduced as follows at the 2022 legislative session:
   https;llwww.dropbox.com/s/yziri2z6g80eer4/2022%20New%200hio%20Stop%20Socja1%20Me
   dia%20Censorship%20Act%20Final.pdf?dl=0
   36. Oklahoma. SB383 sponsored by Sen. Standridge (R) - provided by De Facto Attorneys
   General - at the 2021 legislative session:
   https://legiscan.corn/OK/text/SB383/2021
   To be introduced as follows at the 2022 legislative session:
   https;//www drophox,com/s/J50j8fe4z7QWUXh/2022%20OkJahoma%20Stop%20SocjaJ%20Medj
   a%20Censorship%20Act%2QFINAL%20AMENDED,pdf?dl=0
   37. Oregon. To be introduced as follows at the 2022 legislative session by Rep. Leif:
   https://www.dropbox.com/s/4k0sm4j5o0iub68/2022%200regon%20Stop%20Social%20Media%
   20Censorship%20Act%20FINAL %20AMENDED.pdf?dl=0
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     38. Pennsylvania. SB604 sponsored by Sen. Mastriano (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https://legiscan.com/PA/text/S8604/2021
      39. Rhode Island. HSS64 sponsored by Vella-Wilkinson (D) - provided by De Facto
     Attorneys General - at the 2021 legislative session:
     https :/lwww.dropbox.com/s/hnk JJybifb0bQk8/2022%20Rhode%20Island%20Stup%20Social%2
     0Media%20Censorship,pdf?dl=0
     40. South Carolina. H3450 sponsored by Rep. Burns (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https://legiscan.com/SC/text/H3450/2021
     To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/73d6fwl1hwr204t/2022%20South%20Carolina%20Stop%20Social
     %20Media%20Censorship%20Act%20Consolidated%20%282%29 pdf?dl=0
     41. South Dakota. HB1223 sponsored by Rep. Jensen (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ://legiscan.com/SD/bill/HB 1223/2021
     To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/7bnc8jvt50hhzbu/2022%20South%20Dakota%20Stop%20Social%2
     0Media%20Censorship%20Act.pdf?dl=0
     42. Tennessee. To be introduced as follows at the 2022 legislative session:
     https;//www.dropbox.com/s/yJ rJ biujf5awlep/2022%20Tennessee%20Stop%20Social%20Media
     %20Censorship%20bill%200859%20amended%20FINAL%20,pdf?dJ=0
     43. Texas. ,SBll sponsored by Sen. Hughes - provided by De Facto Attorneys General - at the
     2021 legislative session:
     https://www.dropbox.com/s/upeh2w5u5pn6zfc/2022%20Texas%20Stop%20Social%20Media%2
     0Censorship%20Act.pdf?dl=0
     44. Utah. SB228 sponsored by Sen. McKell (R)- provided by De Facto Attorneys General - at
     the 2021 legislative session:
     https;//Ieiiscan,com/UT/text/SB0228/202 J
     To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/6zv60b2igd5xpun/2022%20Utah%20Stop%20Social%20Media%20
     Censorship%20Act%20AMENDED%20FINAL.pdf?dl=0
     45. Vermont. To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/kyx6ok5u8o 1fhwu/2021 %20Vermont%20S top%20Social%20Media
     %20Censorship%20Act%20FINAL %20.pdf?dl=0
     46. Virginia. To be introduced as follows at the 2022 legislative session by Delegate Byron:
     https;//www.dropbox.com/s/fmbibi2Pe2r6st3/2022%20ViriiPia%20Stop%20SociaI%20Media%
     20Censorship%20Act%20%28 l %29,pdf?dl=0
     47. Washington. To be introduced as follows at the 2022 legislative session:
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   https://www.dropbox.com/s/x3tig83nsjdhr0p/2022%20Washington%20Stop%20Social%20Medi
   a%20Censorship%20Act%20FINAL.pdf?dl=0
   48. West Virginia. To be introduced as follows at the 2022 legislative session by Sen Azinger:
   https://www.dropbox.com/s/6tfkmxloznw5igj/West%20Virginia%20Stop%20Social%20Media%
    20Censorshjp%20Act.pdf?dt=0
    49. Wisconsin. To be introduced as follows at the 2022 legislative session:
    https ://www.dropbox,com/s/pt8v99suwbjrje I/2022%20Wjsconsin%20Stop%20Socjal %20Media
    %20Censorship%20Act.pdf?dl=0
    50. Wyoming. SF0lO0 sponsored by Sen. Steinmetz (R) - provided by Professor Hamburger-
    at the 2021 legislative session:
    https://legiscan.com/WY/text/SF0 1OO/id/2339364/Wyoming-2021-SFO100-Engrossed.pdf
    To be introduced as follows at the 2022 legislative session:
    https ·llwww dropbox com/s/mdr58wy4wsuvh9 t /2022%20Wyomioi:%20Stop%20Socja1%20Me
    dja%20Censorshjp%20Act.pdf?dt=0

           6. The Plaintiff, along with hundreds of legislatures, have spent an enormous amount of

    time, money, and resources working on this issue because it is vital to the strength of our

    democracy and the welfare of our citizens. The Court could hold that the "cure-all" to the

    problems presented by this case is the state legislature must be responsive in enacting the Stop

    Social Media Censorship Act, if they want their constituents to be protected from the deceptive

    trade practices perpetrated by social media websites.

         DEMAND FOR SUA SPONTE RESPONSIVENESS OF THE GOVERNOR AND
          SETTLEMENT OFFER TO THE GOVERNOR IN THE SPIRIT OF FRCP 68

           7. In keeping with the spirit of FRCP 68, if Governor DeSantis, also a former Judge

    Advocate General, like several members of De Facto Attorneys General and Special Forces Of

    Liberty, will sua sponte call a special session pursuant to Article III, Section 3 of the Florida

    Constitution to attempt to enact the Stop Social Media Censorship Act as set forth in Appendix B

    and in the body of this complaint, then the Plaintiffs will voluntarily non-suit their case against

    the Governor pursuant to FRCP 41(a) without prejudice. 8 In view of the decision in Netchoice,


           8
              The Plaintiffs do not care who is the prime sponsor in the Florida House and Senate,
    but note that Sen. Gruters and Rep. Sabatini carried the bill in the past.
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     LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 202l)(DE 113), Governor DeSantis

     has a duty pursuant to his oath of office under clause 3 of Article VI of the United States

     Constitution to call a special session regarding the Stop Social Media Censorship Act in view of

     the constitutional issues embodied in SB7027 as identified by the court in Netchoice, LLC et al.,

     v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113). The demand asserted by the

     Plaintiffs on the Governor mirrors what he is already Constitutionally obligated to do and reflects

     the goals he was attempting to accomplish in enacting SB7072.

           RELEVANT PROCEDURAL AND LEGISLATIVE HISTORY OF THE CASE
            8. In 1996 Congress enacted the Communications Decency Act (CDA) to promote

     "decent" speech, not the deceptive trade practices that social media websites have been engaging

     in with a sense of absolute impunity because of Congress's action. Congress enacted the CDA to

     make it easier for consumers to avoid being exposed to ubiquitous obscene pornographic

     material on Internet-enabled devices that is injurious to minors and the public's health. (Most of

     the states have resolved that pornography online is creating a public health crisis that is harming

     children and families). Section 230 was included in part of the CDA to encourage the free flow

     exchange of ideas and to help the Internet grow, by either somewhat limiting or by totally

     limiting the liability of certain Internet providers - like social media websites. The

     Constitutionality of the CDA was challenged by the ALCU for good cause, and the Supreme

     Court struck down all relevant parts of the CDA in Reno American Civil Liberties Union, 521

     U.S. 844 (1997), except for Section 230, which was not challenged. 9 So what started out as an


            9
              The Plaintiffs, who are ardent anti-pornography activists, agree with the ACLU's
     positions and the Reno court's decision. The Plaintiffs do believe that Congress should take up
     JJustice Rehnquist's suggestion oflnternet zoning and zoning pornographic websites in the same
     way and for the same reason that adult establishments are zoned by ordinances. After Congress
     enacted the Human Trafficking And Child Exploitation Prevention Act or SOCA, the Plaintiffs
     intend to aggressively take up the matter with Congress for good cause.
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                                                                                                        14


    attempt to marginalize indecent content morphed into an immunization sword of indecent

    deceptive trade practices and perversion.

           9. In 1998, Congress attempted to cure the failures of the CDA and deal with the

    problem of unavoidable pornography online by enacting the Child Online Privacy Protection Act

    (COPPA). 10 The ACLU successfully had COPPA struck down in Ashcroft v. Am. Civil Liberties

    Union, 542 U.S. 656 (2004). COPPA suffered from fewer Constitutional problems than the

    CDA, and in striking down COPPA, the Supreme Court provided a road map for the legislative

    branch so that it could successfully deal with the problem of online pornography websites

    distributed by Internet-enabled devices without running afoul of the First Amendment, stating

    "Congress may undoubtedly act to encourage the use of filters .... .lt could also take steps to

    promote their development by industry, and their use by parents," which was the Supreme

    Court's way of signaling to the legislative branch that it could pass filter legislation, such as the

    Human Trafficking And Child Exploitation Prevention Act or Save Our Children Act (SOCA)

    authored by the Plaintiffs, and that such a legislative instrument would survive judicial review

    under heightened scrutiny, since as the ACLU put it, "filters are the least restrictive means" for

    purposes of the First Amendment of the United States Constitution.

            10. After engaging in operations in Iraq and Afghanistan, some of the members of De

    Facto Attorneys General and Special Forces Of Liberty joined groups of former Special Forces

    and FBI to do extractions in the area of sex trafficking overseas. While doing the training for

    such field operations, the evidence became overwhelmingly clear that human trafficking and

    rampant prostitution was not just a problem overseas, but was a serious growing problem in our

    own backyard here in America thanks to the concerted efforts of manufacturers and retailers of
    10
      The Plaintiffs' friend, Senator Markey, a Democrat, from Massachusetts was the prime sponsor
    of COPPA. He still serves in the United States Senate and could prime sponsor the Federal
    version of the Human Trafficking And Child Exploitation Prevention Act.
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    Internet-enabled devices to distribute prostitution websites and pornographic websites in flagrant

    disregard of obscenity codes and products liability statutes. 11 While the manufacturers and

    retailers of Internet-enabled devices are not creating pornography content or offering sex

    trafficking themselves directly, their distribution of pornographic websites and prostitution hubs

    make them the head of the causal chain of harm. To kill a snake, you have to cut off its head.

            11. In response to this realization, the founder of De Facto Attorneys General, acting on

    behalf of 35 different entities, filed lawsuits against the Tech Enterprise for racketeering in

    violation of products liability law and obscenity codes, asserting that the current condition that

    Internet-enabled devices were sold in were dangerous and defective because they exposed

    consumers to prostitution websites and pornography websites, after the products were falsely

    marketed as "family-friendly." Sevier v. Google, 15-5345 (6th Cir. 2014). The plaintiff asked the

    court in Sevier v. Google, 15-5345 (6th Cir. 2014) 12 and Sevier v. Apple Inc., 3:2013-cv-00607

    (M.D.T.N. 2013) to issue an injunction that required the manufacturers and retailers of

    Internet-enabled devices to sell their products in a manner that opted-out consumers by default

    from having immediate access to websites that displayed obscenity, child pornography, and

    revenge pornography and websites that were known to facilitate human trafficking and


           11
                The evidence shows that the pornography pandemic hurting the public's health and the
    explosion in sex trafficking across the globe is the direct result of concerted effort by the Tech
    Enterprise to disregard obscenity laws and products liability codes, knowingly selling their
    products in a dangerous and defective manner that has unleashed a litany of secondary harmful
    effects.
             12
                Appellant brief.
    https ://www.dropbox.com/s/43 hvt217 s2p2a63/Appellant%20B rief0/o20in%20Sevier%20v. %20G
    oogle.pdf?dl=0
             Appellee Google response
           https;//www.dropbox,com/s/y7yOQuQslr6c851/AppeJJee%20Response%20Brief%20in%2
    QSevier%2Qv, %20Goo~Ie,pdf?dl=Q
            Appellant reply
    https://www.dropbox.com/s/3jnzmi62adsovpg/Reply%20Brief0/o20official.pdf?dl=O
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                     13
     prostitution.        In the litigation, one of the defendants, Verizon, raised a Section 230 immunity

     defense, but the defense did not work because the plaintiffs' cause of action concerned the

     safeness of physical Internet-enabled products, not the Internet itself. This was the first time that

     some of De Facto Attorneys General and Special Forces Of Liberty team members encountered

     an attempt by the Tech Enterprise to use Section 230 to justify immoral business practices. 14

             12. The ultimate goal of the De Facto Attorneys General litigation against the Tech

     Enterprise in Sevier v. Google, 15-5345 (6th Cir. 2014) and Sevier v. Apple Inc.,

     3:2013-cv-00607 (M.D.T.N. 2013) was to cure the problems with COPPA. In the wake of the

     litigation, the Plaintiffs custom authored a bill called Human Trafficking And Child Exploitation

     Prevention Act or, alternatively, the Save Our Children Act (SOCA) for all 50 states. See

     www.humantraffickingpreventionact.com. 15 This legislative instrument was fashioned directly

     off the findings of the Supreme Court in Ashcroft v. Am. Civil Liberties Union, 542 U.S. 656

     (2004) and Ginsberg v. New York, 390 U.S. 629 (1968), two cases that none of the Tech

     enterprise's lawyers could get around in their destructive crusade to keep big tech from being

                               16
     regulated at all cost.



             13
              The case was covered extensively by the press extensively, and the International
     Business Times reported that the litigation carved a path in a manner that prompted Britsh Prime
     Minister Cameron to bring about some of policy demands in the United
     Kingdom.https://www.ibtimes.com/war-pom-uk-does-david-camerons-plan-battle-child-pornoir
     aphy-io-too-far-video-1355279
     14
             Instead of pursuing the litigation to its final conclusion, the Plaintiffs took to the
     legislative branch to solve the problem so as to not ask too much from the judicial branch.
     15
        Here is a link to the proposed bill language for the SOCA bill for all 50 states:
     https://www.dropbox,com/sh/o59we5kqkbu1 Q_pr/AABrDTwd l 2yrWkUu l GhNqoSMa?dJ=O
             16
                The United States Supreme Court found in Ginsberg v. New York, 390 U.S. 629 (1968)
     that a physical display state statute that required physical brick and mortar stores to put physical
     obscene material behind a physical blinder rack was Constitutional under first amendment
     heightened scrutiny, which means that a digital blinder rack statute, such as the Save Our
     Children Act, that requires digital retailers to put digital obscene material behind a digital blinder
     rack is also constitutional on the same legal basis.
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                                                                                                         17


            13. In working with 3 7 state legislative bodies on the Human Trafficking And Child

     Exploitation Prevention Act/SOCA, many of the legislatures in both parties asked the Plaintiffs

     to draft an additional piece of legislation so that their party would not be construed as "the party

     of censorship" and so that the code under a new area of law called "indecent deceptive trade

     practices" would be balanced out. In response, the Plaintiffs custom-designed the language for

     the Stop Social Media Censorship for all 50 states for the benefit of their legislative drafting

     commissions - also referred to commonly as Legislative Research Commission (LRC) or the

     Office of Legal Services (OLS). The Stop Social Media Censorship At is based on well-settled

     existing contract and tort principles. By introducing the Stop Social Media Censorship Act and

     the Human Trafficking And Child Exploitation Prevention Act contemporaneously, several state

     created a seamless narrative that their statehouse is not for censorship (see the Stop Social Media

     Censorship Act) unless the content is injurious to children or facilitates human trafficking (See

     the Human Trafficking And Child Exploitation Prevention Act-SOCA), and even then, their

     statehouse was not for total censorship.

             14. The goals of the Human Trafficking And Child Exploitation Prevention Act/SOCA

     and the Stop Social Media Censorship Act was not to reinvent the wheel but to merely get

     existing law to catch up to modem-day technology to protect the general public from objective

     harm. Internet-enabled devices makers and social media websites have been operating in direct

     violation of the law under a double standard without consequence in a manner that is devastating

     our democracy and undermining National unity.

             15. In 2017, before being elected to Congress, Florida state Rep. Spano introduced the

     Human Trafficking And Child Exploitation Prevention Act at the Plaintiffs' request. 17

            17
                 See the current modified version for the 2022 legislative session
     https;//www.dropbox.com/s/b65u~s2n(i48t/2Q22%2QFlorida%2QStop%2QSocial%2QMedia%
     2QCensorship%2QAct%2QAMENDED,pdf?dl=Q
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            16. In 2019, Sen. Gruters introduced the Stop Social Media Censorship Act at the

    Plaintiffs' request, constituting the first state legislator to introduce the measure in the Country.

            17. In 2020, Sen. Gruters and Rep. Sabatini 18 reintroduced the Stop Social Media

                                                 19
    Censorship Act at the Plaintiffs' request.

            18. In 2021, Rep. Sabatini introduced the Stop Social Media Censorship Act (HB33),

    and subsequently, for unknown reasons, Rep. Sabatini got into some kind of squabble with

    Speaker Sprowls, as passions do tend to run high in the legislative branch and there are a lot of

    opportunities for conflict in the legislative branch. This dust-up caused the members of the

    Florida House to oppose Rep. Sabatini's bills simply because of "who he was" and not because

    of "the meritorious substance of his bills." In the wake of the Sabatini/Sprowls spat, Governor

    De Santis got his staff to use the Stop Social Media Censorship Act as a preliminary foundation

    to draft the monstrosity that became SB7072.

            19. At the risk of sounding snarky, SB7072 - although well-intended - was distorted by

    ambitions and legal ignorance. Upon information and belief, personal glory might have been
                                                       20
    prioritized over substance and the rule of law.         The judicial branch can help the legislative

    branch get things right.

            20. On May 24, 2021, SB7072 was enacted and set to go into effect in early July.

            21. In early June, Netchoice (a hyper dishonest lobbying firm that does Big Tech's dirty

    work) 21 filed a lawsuit to stop the state from enforcing SB7072. See Netchoice, LLC et al., v.
            18
                 Rep. Sabatini is running for Congress, and the Plaintiffs support his efforts to do so.
            19
                 See the press conference with Laura Loomer:
    https·//www,facebook.com/watch/Jjye/?v=907548599640066&ref=watch_Qerma)jnk)
            20
              The Plaintiffs do not give two shakes of a lamb's tail about credit, but they do want to
    see themselves and other consumers protected. The Plaintiffs would remind the Governor of the
    Reagan priniciple in asking him to sua sponte call a special session"there is no limit to the
    amount of good you can do if you don't care who gets the credit."
    21
       The Plaintiffs deal with Netchoice's agents all the time at different state houses around the
    country. Their lobbiests are some of the greasiest and the most intellectually dishonest people
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   Moody et. al. 4:21-cv-00220-RH-MAF (N.D.F.L 2021). Countless lawmakers around the

   country implored the Plaintiffs to intervene in that case, and the Plaintiffs refused to be

   responsive knowing from personal experience - with all due respect - that if you give Judge

   Hinkle of the Northern District of Florida enough rope, he will metaphorically hang himself. 22

           22. On June 30, 2021, Judge Hinkle in Netchoice granted the plaintiffs' motion for

   preliminary injunction to enjoin Florida state officials from enforcing parts of SB7072. Id. at

   (DE 113). This decision, taken with others, gave the Plaintiffs the apprehension that there is no

   way for the Plaintiffs to seek redress from the harmful acts of social media websites because of

   the unconstitutional actions of Congress in making Section 230.

           23. On July 7, 2021, President Trump and others filed a lawsuit against Twitter,

   Facebook, and Youtube but did not include a cause of action under state statute written to fall

   within the state-law exemption of Section 230. See Trump v. Twitter, l:21-cv-22441 (S.D.F.L.

   2021); Trump v. Facebook, 1:21-cv-22440 (S.D.F.L. 2021); Trump et al v. YouTube, LLC,

    1:2 l-cv-22445-KMM (S.D.F.L. 2021 ). On July 16, 2021, the Plaintiffs, in this case, filed an




   imaginable. They routinely distort the law unethically and ultimately are driven by greed. Their
   entire position can be boiled down to "big tech should be permitted to do whatever it wants
   because it is big tech." Widgets and the Internet are special. Fundamental rights are, like the
   freedom to practice one's religion.
           22
            bttps;//www,lifesitenews,com/news/former-jae-officer-biebliebts-ahsurdity-of-eay-marr
   iaee-lzy-suioe-to-marry-b
   The courts should have dismissed the same-sex marriage cases for lack of subject matter
   jurisdiction. The Establishment Clause of the First Amendment of the United States Constitution
   prohibits the states and federal government from legally recognizing or promoting any form of
   non-secular parody marriage. Also, the states can limit marriage to one man and one woman
   because all other forms of marriage policies promote licentiousness and undermine the state's
   compelling interest to uphold community standards of decency. In the wake of the judiciaries
   unconstitutional endorsement of the LGBTQ secular humanist religion, the Plaintiffs have
   authored the Establishment Act for all 50 states. See Florida's version:
   https;llwww.drophox,com/s/iwam8J7t7madp4r/202 J%20FJorida%20EstahJishment%20Act,pdf?
   dl=0
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     amicus brief in partial support of the Trump plaintiffs' cause of action and in Trump v. Twitter,
                                                                                                              ......111



                                                                                       23
     1:21-cv-22441 (S.D.F.L. 2021) in partial opposition before filing this lawsuit.

                                                SECTION23Q

             24. The Plaintiffs challenge every section and every subsection of Section 230,

     collectively and individually, for having been misconstrued or written to prevent citizens from

     acquiring relief from the government for the bad faith act of social media websites in violation of

     the petition and access clause of the First Amendment of the United States Constitution.

             25. For the Court and Defendants' convenience, here is Section 230 in its entirely:

             (a) Findings
             The Congress finds the following:
             (1 )The rapidly deveiopjn" array oflntemet and other interactive computer services
     available to individual Americans re.present an extraordinazy advance in the availability of
     educational and informational resources to our citizens.
             (2) These services offer users a great degree of control over the information that they
     receive. as well as the potential for even greater control in the future as technology develops.
             (3)The Internet and other interactive computer services offer a forum for a true diversity
     of political discourse, unjqye opportunities for cultural cieveiopment, and myriad avenues for
     intellectual activity.
             (4) The Internet and other interactive computer services have flourished, to the benefit of
     all Americans. with a minimum of government regulation.
               (5) Increasjn"Iy Americans are reJyin" on interactive media for a variety of poijtjcaJ
     educational, cultural, and entertainment services.
     lb} Policy
        It is the policy of the United States-
             (!) to promote the continued development of the Internet and other interactive computer
      services and other interactive media:
              (2) to preserve the vibrant and competitive free market that presently exists for the
      Internet and other interactive computer services, unfettered by Federal or State regulation:
      23
        The amicus brief filed by the Plaintiffs in the Trump v. Twitter case raises similar questions of
      law asserted in this complaint. There are several Federal courts that have concurrent jurisdiction
      over the claims here - including this one - and the Plaintiffs are giving the Florida District Court
      the first crack at resolving this controversy in a manner that honors common sense, the rule of
      law, the United States Constitution, while protecting the interest of social media websites and the
      general public. Other groups that the Plaintiffs work with may be immediately filing a similar
      lawsuit to encourage judicial accountability.
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             (3) to encourage the development of technologies which maximize user control over what
     information is received by individuals, families, and schools who use the Internet and other
     interactive computer services:
             (4) to remove disincentives for the development and utiiization of blocking and filtering
     technologies that empower parents to restrict their children's access to objectionable or
     inappropriate online material: and
             (5) to ensure vigorous enforcement of Federal criminal laws to deter and punish
     trafficking in obscenity, stalking, and h3:rassment by means of computer.
     (I:) Protection for "Good Samaritan" blocking and screening of offensive material
             (1) Treatment of publisher or speaker
             No provider or user of an interactive computer service shall be treated as the publisher or
     speaker of any information provided by another information content provider.
             (2) Civil liability
             No provider or user of an interactive computer service shall be held liable on account

             (A) any action voluntarily taken in good faith to restrict access to or availability of
     material that the provider or user considers to be obscene, lewd, lascivious. filthy, excessively
     violent. harassing, or otherwise objectionable, whether or not such material is constitutionally
     protected; or
            au    any action taken to enable or make available to information content providers or
     others the technical means to restrict access to material described in paragraph (1). [11
     (d) Obligations of interactive computer service
             A provider of interactive computer service shall, at the time of entering an agreement
     with a customer for the provision of interactive computer service and in a manner deemed
     appropriate by the provider, notify such customer that parental control protections (such as
     computer hardware, software, or filterine services) are commercially available that may assist the
     customer in limiting access to material that is harmful to minors. Such notice shall identify, or
     provide the customer with access to information identifying, current providers of such
     protections,
     (e) Effect on other laws
        (1) No effect on criminal law
              Nothing in this section shall be construed to impair the enforcement of section 223 or 231
     of this title, chapter 71 (relating to obscenity) or 110 (relating to sexual exploitation of children)
     of tide J8. or any other Federal criminal statute,
              (2) No effect on intellectual property law
              Nothing in this section shall be construed to limit or expand any law pertaining to
     intellectual property.
              (3) State law
              Nothine in this section shall be construed to prevent any State from enforcing any State
     law that is consistent with this section, No cause of action may be brought and no liability may
     be imposed under any State or local law that is inconsistent with this section.
              (4) No effect on communications privacy law
              Nothing in this section shall be construed to limit the application of the Electronic
     Communications Privacy Act of ) 986 or any of the amendments made by such Act, or any
     simj]ar State law,
              (5) No effect on sex trafficking law
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             Nothing in this section (other than subsection (c)(2)(A)) shall be construed to impair or
    limit-
            {A) any claim in a civil action brought under section 1595 of title 18, if the conduct
   underlyine the claim constitutes a violation of section t 59 t of that title:
            (B} any chacee in a criminal prosecution bmueht undec State law if the conduct
   underlying the charge would constitute a violation of section 1591 of title 18: or
            {C) any charge in a criminal prosecution brought under State law if the conduct
   underlying the charge would constitute a violation of section 2421 A of title 18, and promotion or
   facj]jtation of pmstitution is j]JeeaJ in the jucisdiction whece the defendant's pmmotion oc
   facilitation of prostitution was tareeted,
   (Q Definitions
            As used in this section:
            {1) Internet
            The teem "Internet" means the international computer network of both Federal and
   non-Federal interoperable packet switched data networks,
            (2) Interactive computer service
            The term "interactive computer service" means any information service, system, or
   access software provider that provides or enables computer access by multiple users to a
   computer se[Yec, includine specifically a seCYice oc system that provides access to the Internet
   and such systems operated or services offered by libraries or educational institutions,
            (3) Information content provider
            The term " information content provider" means any person or entity that is responsible,
   in whole or in part, for the creation or development of information provided through the Internet
   oc any othec interactive computer seCYice,
            (4} Access software provider
            The term "access software provider" means a provider of software (including client or
   server software), or enabling tools that do any one or more of the following:
            {A) filter, screen, allow, or disallow content:
            (B) pick, choose. analyze, oc dieest content: oc
            (C) transmit, receive, display. forward. cache, seacch, subset, oceanize, reoreanize, oc
   translate content.

             26. The purpose of Section 230 was to allow for the free exchange of competing ideas

    and to allow the Internet to "grow," by putting some limit on liability for certain providers in

    certain circumstances. But social media websites, that haveinduced billions of subscribers to

    sign up for user profiles, have "grown," and that extreme "growth" occurred because social

    media websites falsely marketed themselves as being neutral on religious and political speech to

    induce everyone to sign up despite their religious and political affiliations. Just because

    Congress wanted to see the Internet businesses grow does not mean that it gets to ignore the
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                                                                                                             23


     Petition and Access Clause of the First Amendment and subject the Plaintiffs to harmful fraud

     without remedy. Former Attorney General Bill Barr described this scenario as "the greatest bait

     and switch in history" stating that social media websites created the modem-day public square

     "by saying that they were open to all views" until they reached critical mass only to prove

     otherwise after the fact. (See interview with Michael Knowles of the Daily Wire on Verdict with

     Ted Cruz: https://youtu.be/_ HVqRE-6bkc)

            27. Section 230(b)(l) asserts that "it is the policy of the United States to promote the

     continued development of the Internet and other interactive computer services and other

     interactive media" but that policy must fail if completely blocks aggrieved parties, like the

     Plaintiffs and the Trump plaintiffs, from having the opportunity to petition the government for

     redress against social media websites that have engaged in harmful consumer protection

     violations in view of the FirstAmendment. 24

            28. Section 230(c)(2)(A) does not apply for blanket immunity for social media websites

                                 25
     that censor in bad faith.        Yet, so far, this has been misconstrued by the courts to allow for a

            24
                As discussed in the Harvard Journal of Law & Public Policy, Leary, Mary Graw,
     The Indecency and Injustice ofSection 230 of the Communications Decency Act, Vol. 41, No. 2,
     pg. 564, 565 (2018): Congress expressly stated that th[is] is the policy of the United States 'to
     ensure vigorous enforcement of Federal criminal laws to deter and punish trafficking in
     obscenity, stalking, and harassment by means of computer.' That said, Congress appeared to
     recognize that unlimited tort-based lawsuits would threaten the then-fragile Internet and the
     'freedom of speech in the new and burgeoning Internet medium.' Although these two goals
     required some balancing, it was clear from the text and legislative history of§ 230 that it was
     never intended to provide a form of absolute immunity for any and all actions taken by
     interactive computer services. Section 230 is not 'a general prohibition of civil liability for
     web-site operators and other content hosts.' Rather, Congress sought to provide limited
     protections for limited actions.
             25
                Section 230(c)(2)(A) does not provide blanket immunity. It only applies when an
     interactive computer service acts in "good faith." While the parameters of "good faith" immunity
     under Section 230(c)(2)(A) are not necessarily well-defined in the caselaw, courts might
     ultimately conclude that a social media platform's acting differently than how it marked itself
     and shifting its standards is determinative as to whether the platform acted in "good faith." See
     Smith v. Trusted Universal Standards in Elec. Transactions, Inc., 2010 WL 1799456, at *7
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    range of injurious action to go without redress in a manner that causes Section 230 to violate the

    Petition and Access Clause of the First Amendment, as well as the Free Speech, Free Exercise,

    and Establishment Clauses of the First Amendment. The Plaintiffs are under the apprehension

    that they have no lawful recourse, unless this Court clarifies the importance of the state-law in

    exemption and the need for state legislatures to pass good laws, like the Stop Social Media

    Censorship Act that will cut through an immunity defense.

        FACTS ABOUT THE CURRENT LANDSCAPE OF CENSORSHIP GENERALLY

            29. The evidence shows that the decision in Stratton Oakmont, Inc. v. Prodigy Services

    Co., 1995 WL 323710, at *3--4 (N.Y. Sup. Ct. May 24, 1995) in part led to the creation of

    Section 230. 26




    (D.N.J. May 4, 2020). In Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L
    2021 ), the court stated in its order granting a preliminary injunction that "the legislation compels
    providers to host speech that violates their standards-speech they otherwise would not
    host-and forbids providers from speaking as they otherwise would." But that court failed to
    realize that the social media website providers shift those standards in bad faith in an arbitrary
    and dishonest manner in total breach of how they marked themselves to the public to induce
    reliance. That court also failed to realize that the providers invited, enticed, and induced
    members of the public to speak out openly and freely on different religious and political
    doctrines without any threat of emotional or economic reprisal, ony to then tum around and
    deploy a "gotcha game" with the expectation of total immunity.
             26
                In Stratton Oakmont, Inc. v. Prodigy Services Co., 1995 WL 323710, at *3--4 (N.Y. Sup.
    Ct. May 24, 1995), an anonymous user posted allegedly defamatory content on an electronic
    bulletin board-an earlier version of what today might be called social media. The court said that
    if the provider of such a bulletin board did not undertake to review posted content-much as a
    librarian does not undertake to review all the books in a library-the provider would not be
    deemed the publisher of a defamatory post, absent sufficient actual knowledge of the defamatory
    nature of the content at issue. On the facts of that case, though, the provider undertook to screen
    the posted content-to maintain a "family-oriented" site. The court held this subjected the
    provider to liability as a publisher of the content. At least partly in response to that decision,
    which was deemed a threat to the development of the internet, Congress enacted 47 U.S.C. §
    230. The Stop Social Media Censorship Act does not subject computer services to tort liability
    for passively hosting content posted by others but seeks to empower users by limiting how
    content may be censored. See 47 U.S.C. § 230(b)(2) (describing congressional purpose to ensure
    that users retain "a great degree of control over the information that they receive")
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                                                                                                       25

           30. The Plaintiffs in this case, unlike the Trump Plaintiffs in their cases, contend that

    there are valid uses of Section 230 that should remain in place, if and only if this Court clarifies

    that the state-law exemption can be used by states to provide consumers with the means for

    recourse, as was perhaps intended by Congress.27 However, what has been happening to the

    Plaintiffs, the Trump plaintiffs, and millions of profile users, who are both registered Democrat

    and Republican, is that social media websites have been arbitrarily censoring users speech in bad

    faith when it just so happens to offend the delicate sensibilities of the employees who happen to

    work at the social media website at the time of the censorship. When censored individuals file a

    lawsuit against the social media website for such injurious wrongdoing, the social media

    defendants invariably float the same questionable argument that they were "merely engaging in

    'editorializing' and should, therefore, not be held liable in view of the Section 230 absolute

    immunity shield." So far in these kinds of cases, the courts have reluctantly allowed the social

    media defendants to barely escape liability, like a man jumping through flames. See 1

           27
              Preliminarily, Section 230 should be explained so that a fifth-grader can understand it.
    Basically, Section 230 was a federal statute created by Congress that was part of the
    Communications Decency Act (CDA). The Communications "Decency" Act was designed to
    promote "decent" speech, not the "deceptive trade practices" that social media websites have
    engage in to the direct injury of the Plaintiffs. Section 230 allows for certain internet
    intermediaries to invoke an immunity defense for the harmful acts of third parties, if and only if,
    the internet intermediary was not acting as a publisher/speaker/common carrier to a certain
    arbitrary and hard to determine degree. So, since that explanation is still confusing and since
    trying to determine whether a platform provider was a speaker, publisher, or common carrier
    tends to be a linguistic nightmare, the best way for anyone to understand a valid Section 230
    immunity defense is through the following example: if a Floridian maliciously posts a
    defamatory comment on Twitter against a person from New York, the New Yorker who was
    defamed could legitimately sue the Floridian for defamation. However, if the New Yorker named
    Twitter as a co-defendant in the lawsuit, then Youtube could successfully file a motion to dismiss
    under FRCP 12 et. seq. invoking Section 230 immunity defense as the legal basis, and
    legitimately have the lawsuit dismissed with prejudice against it.
            That example involves a good use of Section 230 - showing that Section 230 is good law
    - because Youtube was merely acting as an innocent platform in that scenario. Therefore, this
    Court could find that Section 230 does not violate the First Amendment Petition but only if it
    finds that the Stop Social Media Censorship Act, if enacted, would fall in the state-law
    exemption and not be preempted by the doctrine of preemption like SB7072 was.
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                                                                                                          26


    Corinthians 3: 15. 28 Despite having hundreds of thousands of users who have been defrauded and

    brutalized, social media websites to date have not been held liable a single time that the Plaintiffs

    are aware of as the result of unconstitutional Congressional action.

        FACTS ABOUT THE STATE LAW EXEMPTION AND FACTUAL DIFFERENCES
           BETWEEN THE STOP SOCIAL MEDIA CENSORSHIP ACT AND SB7077

            31. The evidence shows that lawyers know just enough to be dangerous on any topic

    unless they have litigated the issue. (See the staff lawyers who work for Defendant Governor

    Desantis, who wrote SB7072). The Plaintiffs have litigated Section 230 issues and social media

    censorship before a host of Federal Courts, and more importantly, they have litigated the matter

    before countless legislative committees in the face of robust opposition:

              (1) See the video of the hearing on the Social Media Censorship Act before the public
    laws committee in Missouri, which included arguments from De Facto Attorneys General,
    Google, and the Heartland Institute:
              https://www.youtube.com/watch?v=e40UKoTHKZs
              (2) See the video of the hearing before the Commerce Committee in the Louisana
    Senate with testimony by Senator Morris, De Facto Attorneys General, Netchoice, and
    (https ://www.youtube.com/watch ?v=c-NgZhBgkBs&t=8s)
              (3) See the video of the hearing before the Judiciary Committee in the State of Maine
    with testimony by Rep. Sampson and De Facto Attorneys General.
            (https ;/lwww.youtuhe,com/watch ?v=ijZ Ljnx-dE)
            32. While the Plaintiffs appreciate Florida's initiative to solve this problem, the Plaintiffs

     are concerned that the Florida state government and Federal Court could get this complex issue

     wrong at the expense of the entire country. The Plaintiffs seek a perfect result from a

     constitutional perspective and have filed this action before this Article III Court for good cause

     in view of their personal injuries.


            28
               In rendering such decisions, the courts have been hinting that if the state legislature was
     to enact a statute that was (1) narrowly tailored, (2) consistent with the spirit of Section 230, and
     (3) intentionally designed to fall in the state-law exemption, then such a cause of action would
     successfully pierce through a Section 230 immunity defense. The Court could declare that the
     Stop Social Media Censorship Act - a state statute - is the answer that everyone is looking for
     whether they realize it or not.
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                                                                                                        27

           33. The "state-law exemption" is the only provision of Section 230 that speaks directly

   to the relationship between this federal statute and state law expressly preserves the states'

    authority to "enforc[e] any State law that is consistent with this section." 47 U.S.C. § 230(e)(3).

           34. In the wake of the decision in Netchoice, LLC et al., v. Moody et. al.

    4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) regarding SB7072, it is unclear whether the courts

    are suggesting that no state statute could fall in the state-law exemption that would allow the

    Plaintiffs to acquire relief against the deceptive bad faith trade practice routinely perpetrated by

    social media websites. 29 On the one hand, the Plaintiffs in this case have sensibly concluded that

    Section 230 does create total and perpetual immunity as a result of Congressional action for

    social media websites who engage in fraudulent and bad faith consumer protection violations,

    and therefore, the statute violates the First Amendment's Petition and Access Clause. On the

    other hand, the Plaintiffs believe that perhaps Governor DeSantis and the Florida general

    assembly errored in enacting SB7072 over the amended version of the Stop Social Media

    Censorship Act and that if the Stop Social Media Censorship Act was enacted, then and only

    then could the Plaintiffs and other similarly situated victims legitimately seek redress from the

    government regarding the deceptive trade practices perpetrated social media websites.

            35. The language of the Stop Social Media Censorship Act was carefully and

    intentionally written by the Plaintiffs for all 50 states so that it would fall squarely in the
           29
               Because it is possible that the Stop Social Media Censorship could be construed to be
    unconstitutional or preempted by Section 230, as was seeming the case with SB7072, then the
    Plaintiffs First Amendment claim to strike down Section 230 must prevail under Cf Agency for
    Int'/ Dev. v. All.for Open Soc'y Int'/, Inc., 570 U.S. 205,214 (2013) (discussing when
    conditions on federal funding "result in an unconstitutional burden on First Amendment rights").
    Accordingly, the courts should not lightly conclude that Congress made a law that not only
    allows unbridled censorship, but also prevents states from doing anything about it. The states
    have an ongoing compelling interest to protect their citizens in step with their police powers
    under the Tenth Amendment of the United States Constitution from fraud, deceptive trade
    practices, breach, bad faith, etc - none of which is protected speech for purposes of the First
    Amendment. It is up to this Court to decide the fate of the state-law exemption and Section 230.
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                                                                                                       28


     state-law exemption under Section 230(e)(3). For the Court's and Defendants' convenience, here
                                                                                                             ··--
     is the Stop Social Media Censorship Act in its entirety.

              WHEREAS, the Communications Decency Act was created to protect decent speech,
     notdeceptive trade practices, and
              WHEREAS. repealing section 230 of the Communications Decency Act at the federal
     level is unnecessary because it already includes a state-law exemption and the Stop Social Media
     Censorship Act was crafted to fa11 squarely in the state-law exemption of section 230 to cure
     abuses of section 230 to protect the consumers of this state, and
              WHEREAS. contract law is a state-law issue, and when a citizen of this state signs up to
     use certain social media websites. they are entering into a contract. and
              WHEREAS. this state has a compelling interest in holding certain social media websites
     to biiber standards for havini substantially created a diiital public sQYare throu~h fraud. false
     advertisini, and dece.ptive trade practices, and
              WHEREAS, major social media websites have engaged in the greatest bait and switch of
     all times by marketing themselves as free. fair. and open to all ideas to induce subscribers only to
     then prove otherwise at great expense to consumers and election integrity, and
              WHEREAS, breach of contract, false advertisini, bad faith, unfair dealini, fraudulent
     inducement, and deceptive trade practices are not protected forms of speech for purpose of the
     first amendment of the United States Constitution or the Constitution of this state. and
              WHEREAS. the major social media websites have already reached critical mass. and they
     did it through fraud. false advertising. and deceptive trade practices at great expense to the
     health, safety, and welfare of consumers of this state, while makini it difficult for others to
     compete with them, and
              WHEREAS. the state has an interest in helping its citizens enjoy their free exercise rights
     in certain semi-public forums commonly used for religious and political speech, regardless of
     which political party or religious organization they ascribe to. and
              WHEREAS. this state is ieneraHy opposed to online censorship unless the content is
     injurious to children or promotes human traffickin~; only then does this state accept limited
     censorship. and
              WHEREAS. this act is not intended to apply to a website that merely deletes comments
     posted by members of the general public in response to material published by the website's
     owner, NOW THEREFORE.

            Be It Enacted by the Legislature of the State of Florida:

            Section 1. This act may be cited as the "Stop Social Media Censorship Act."
            Section 2, Ibis section is intended to create a statute that parallels the spirit of 47 u.s,c,
     § 230 that falls within the state law exemption under 47 u,s,c, § 230(e)(3) and create a civil
     right of action that will deter the following:
             (1) Deceptive trade practices:
             (2) False advertising;
             (3) Breach of contract:
             (4) Bad faith:
             (5) Unfair dealing:
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                                                                                                      29

             (6) Fraudulent inducement: and
             (7) The stifling of political and religious speech in the modem-day digital public square
     cultivated by social media websites that have achieved critical mass through fraud.
             Section 3, Social media website speech; cause of action; penalties,-
             Ol As used in this section, the term;
             Cal "Algorithm" means a set of instructions designed to perform a specific task.
             (b) "Hate speech" means a phrase concerning content that an individual finds offensive
     based on his or her personal moral code.
             (c) "Obscene" means that an average person, applying contemporary community
     standards, would find that, taken as a whole. the dominant theme of the material appeals to
     prurient interests.
             (d) "Political speech" means speech relating to the state, government, body politic, or
     public administration as it relates to governmental policymaking. The term includes speech by
     the government or a candidate for office and any discussion of social issues, The term does not
     jnc)ude speech concerning the administration, law. or civil aspects of government,
             (e) "Religious speech" means a set of llllProyen answers, truth claims. faith-based
     assumptions, and naked assertions that attempt to explain such greater questions created, what
     constitutes right and wrong what happens after death.
             (0 "Social media website":
               I, Means an Internet website or application that enables users to communicate with each
     other by posting information, comments, messages, or images and that meets all of the following
     requirements:
             i. Is open to the public.
             ii. Has more than 75 million subscribers with personal user profiles,
             iii, From its inception, has not been specifically affiliated with an.v one religion or
     political party,
             iv. Provides a means for the website's users to report obscene materials and has in place
     procedures for evaluating those reports and removing obscene material; and
             v, Allows for subscribers to sign up for a personal user
     profile page or account where beliefs and preferences can be exgressed by the user,
             2. The term does not include a website that merely permits members of the general public
     to post comments on content published by the owner of the website.
             (g) "User profile" means a collection of settings and information associated with a user
     or subscriber who signs up for an account made available by a social media website, Such
     accounts often include the explicit digital representation of the identity of the user or subscriber
     with respect to the operating environment of a social media website. Such accounts often
     associate characteristics with a user or subscriber. which may help in ascertaining the interactive
     behavior of the user along with their personal preferences and beliefs.
             (2)(a) The owner or operator of a social media website who contracts with a social media
     website user in this state is subject to a private right of action by such user if the social media
     website purposely:
             1. Deletes or censors the user's religious speech or political speech: or
             2. Uses an algorithm to disfavor or censure the user's religious speech or political speech.
             (h) A social media website user may he awarded an of the following damages under this
     section:
              1. Up to $75,000 in statutory damages.
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                                                                                                      30


            2. Actual damages.
            3. If aggravating factors are present. punitive damages.
            4. Other forms of equitable relief.
            (c) The prevaUimi party in a cause of action under this section may he awarded costs and
    reasonable attorney fees,
            (d) A social media website that restores from deletion or removes the censoring of a
    social media website user's speech in a reasonable amount of time may use that fact to mitigate
    any damages.
            (3) A social media website may not use the social medja website user's alleged hate
    speech as a basis for justification or defense of the social media website's actions at trial,
            (4) The Attorney General may also bring a civil cause of action under this section on
    behalf of a social media website user who resides in this state and whose religious speech or
    political speech has been censored by a social media website.
            (5) Ibis section does not apply to any of the following;
            (a) A social media website that deletes or censors a social media website user's speech or
    that uses an algorithm to disfavor or censure speech that:
            1. Calls for immediate acts of violence:
            2. Is obscene. lewd. lascivious. filthy or pornographic in nature:
            3, Is the result of operational error:
            4, Is the result of a court order:
            5. Comes from an inauthentic source or involves false personation:
            6. Entices criminal conduct:
            7. Involves minors bullying minors:
            8, Constitutes trademark or copyright infringement;
            9. Is excessively violent: and
            10. Constitutes harassing spam of the commercial, not religious or political, nature.
            (b) A social media website user's censoring of another social media website user's
    speech.
            (6) Only users who are 18 years of age or older have
    standing to seek enforcement of this section,
            Section 4. The Secretazy of State may:
            (1) Issue a fine in one of the following amounts if the Secretazy of State finds that the
    social media website has engaged in deplatforming or shadowbanning a political candidate
    seeking office in Florida in violation of this act;
            (a) If the candidate is seeking Statewide office, up to $100,000 per day of the violation:
            (b) For all other candidates. up to $10,000 per day of the violation: and
            (2) Disclose a social media company's algorithmic bias for or against a political candidate
    seeking Statewide office under subsection (1) of this section as a campaign contribution.
            Section 5, If any section in this act or any part of any section is declared invalid or
    unconstitutional. the declaration shall not affect the validity or constitutionality of the remaining
    portions.
            Section 6. This act shall take effect July 1. 202 l.
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                                                                                                       31


            36. There are several factual differences between SB7072 and the Stop Social Media
                                                                                 30
     Censorship Act that are appropriate to identify for this Honorable Court.

            37. E.iru, SB7072 is vague and the Stop Social Media Censorship Act is not. 31

            38. The Stop Social Media Censorship Act is not vague whatsoever in view of its ten

     legislative findings and purpose section and the straightforward structure of the language. The

     legislative findings of the Stop Social Media Censorship Act spell out the legislative intent in a

     common sense manner.

            39. Furthermore, the purpose and legal framework of the Stop Social Media Censorship

     Act is crystal clear, whereas the purpose of SB7072 is not. The purpose section of the Stop

     Social Media Censorship Act states:


            30
                 Never since the inception of American jurisprudence has a plaintiff brought a lawsuit
     under a state statute and argued that the Section 230 immunity defense could not be successfully
     invoked because the lawsuit was filed under a statute that fell within the state-law exemption,
     piercing through the Section 230 immunity defense. Yet, when comparing the Stop Social Media
     Censorship Act to SB7072, the Amici somewhat agree with Judge Hinkle's sentiment that the
     "statutes [created by SB7072] are not narrowly tailored" and might constitute an "instance of
     burning the house to roast a pig." See Netchoice, LLC et al., v. Moody et. al.
     4:21cv220-RH-MAF (N.D.F.L 2021) (page 27 of DE 113). See also, e.g., Reno v. American
     Civil Liberties Union, 521 U.S. 844, 882 (1997); Sable Commc'n of Cal., Inc. v. FCC, 492 U.S.
     115, 131 (1989). It would be more accurate to say that striking down Section 230 of the CDA
     completely would be an "instance of burning the house to roast a pig" when the Stop Social
     Media Censorship Act is obviously the cure-all from the perspective of any reasonable observer
     to this ongoing dilemma because it falls squarely in the state-law exemption.
              31
                 "A fundamental principle in our legal system is that laws which regulate persons or
     entities must give fair notice of conduct that is forbidden or required." FCC v. Fox TV Stations,
     Inc., 567 U.S. 239,253 (2012). "[A]n enactment is void for vagueness if its prohibitions are not
     clearly defined." Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). To pass muster, laws
     must "give the person of ordinary intelligence a reasonable opportunity to know what is
     prohibited" and prevent "arbitrary and discriminatory enforcement" by "provid[ing] explicit
     standards for those who apply them." Id.; accord Wollschlaeger v. Governor, 848 F.3d 1293,
     1320 (11th Cir. 2017). Although greater clarity is necessary when a statute regulates expression,
     "perfect clarity and precise guidance have never been required even of regulations that restrict
     expressive activity," Wardv. RockAgainst Racism, 491 U.S. 781, 794 (1989); see also Grayned,
     408 U.S. at 110 ("Condemned to the use of words, we can never expect mathematical certainty
     from our language."). Furthermore, ''the mere fact that close cases can be envisioned" does not
     "render[] a statute vague." United States v. Williams, 553 U.S. 285, 305 (2008).
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                                                                                                              32


           This section is intended to create a statute that parallels the spirit of 47 U.S.C. § 230 that
           falls within the state law exemption under 47 U.S.C. § 230(e)(3) and create a civil right
           of action that will deter the following: (1) Deceptive trade practices; (2) False
           advertising; (3) Breach of contract; (4) Bad faith; (5) Unfair dealing; (6) Fraudulent
           inducement; and(7) The stifling of political and religious speech in the modem-day
           digital public square cultivated by social media websites that have achieved critical mass
           through fraud.

    The purpose of the Stop Social Media Censorship Act is to parallel the goals and spirit of Section

    230 so that the proposed statute "threads the needle," unquestionably falling within the state-law

    exemption of Section 230(e)(3) to piece through a Section 230 immunity defense. The Stop

    Social Media Censorship Act mirrors the objectives of Section 230 and Congress but also allows

                                                                                               32
    the state of Florida to protect consumers, like the Plaintiffs and the Trump plaintiffs,        in step

    with the state's police powers, afforded under the Tenth Amendment of the United States

    Constitution to the state of Florida, without offending the doctrine of preemption or the First

    Amendment.

           40.   Second. unlike with SB7072, the language of the Stop Social Media Censorship Act
    and Section 230 are parallel and verbatim in some respects on purpose. For example, 47 U.S.C.

    § 230(c)(2)(A) states that an interactive computer service, like the Defendants, cannot be "held

    liable" on account of "any action voluntarily taken in good faith to restrict access to or

    availability of material that the provider or user considers to be obscene, lewd, lascivious, filthy,

    excessively violent, harassing, or otherwise objectionable, whether or not such material is

    constitutionally protected." Similarly, the Stop Social Media Censorship Act states that social

    media websites that are subject to the act cannot be held liable if they censor content that:

           1. Calls for immediate acts of violence; 2. Is obscene, lewd, lascivious, filthy or
           pornographic in nature; 3. Is the result of operational error; 4. Is the result of a court
           order; 5. Comes from an inauthentic source or involves false personation; 6. Entices
           criminal conduct; 7. Involves minors bullying minors; 8. Constitutes trademark or
    32
      See Trump v. Twitter, 1:21-cv-22441 (S.D.F.L. 2021); Trump v. Facebook, 1:21-cv-22440
    (S.D.F.L. 2021 ); and Trump et al v. YouTube, LLC, 1:2 l-cv-22445-KMM (S.D.F.L. 2021 ).
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                                                                                                          33

          copyright infringement; 9. Is excessively violent; and 10. Constitutes harassing spam of
          the commercial, not religious or political, nature. 33

   These parallel exemptions and exceptions are all based on common sense. The government has a

   narrowly tailored compelling interest to uphold community standards of decency.

           41. Third. by framing the issues as breach of contract, bad faith, false advertising, unfair

   dealing, unjust enrichment, deceptive trade practices, and consumer protection violations, the

   Stop Social Media Censorship Act fulfills a litany of compelling government interests in ways

   that SB7072 fails to do so. 34

           42. Fourth, by framing the issue as arising under breach of contract, bad faith, fraudulent

   inducement, false advertising, unjust enrichment principles, a social media website sued under

   the Stop Social Media Censorship Act could not assert "good faith" protections under Section

   230(c)(2)(A). 35 Judge Hinkle failed to pick up on this critical factor in Netchoice, LLC et al., v.

           33
              Because the Stop Social Media Censorship Act neatly parallels the spirit and intent of
   Section 230, it "threads the needle" in a way that SB7072 does not. From every angle, it is clear
   that the Stop Social Media Censorship Act has been crafted for all 50 states in a manner that
   respects federal law, while allowing consumers to be protected from deceptive trade practices.
   The Stop Social Media Censorship Act respects the doctrine of preemption and the First
   Amendment rights of social media websites, while protecting consumers from deceptive trade
   practices.
           34
              The Stop Social Media Censorship Act "promote[s] the widespread dissemination of
   information from a multiplicity of sources," an interest that the Supreme Court in Turner had "no
   difficulty concluding" was "an important governmental interest." Turner Broad. Sys., Inc. v. FCC
   ("Turner"), 512 U.S. 622, 662-63 (1994). Ensuring that the public "has access to a multiplicity
   of information sources," the Supreme Court explained, "is a governmental purpose of the highest
   order, for it promotes values central to the First Amendment." Id. at 663. Furthermore, Florida
   has a substantial interest in protecting its residents from unfair or deceptive acts or practices in
   commerce. See FLA. STAT.§ 501.204; Ohralikv. Ohio State Bar Ass'n, 436 U.S. 447,460
   (1978); Crellin Techs., Inc. v. Equipmentlease Corp., 18 F.3d 1, 12 (1st Cir. 1994). Additionally,
   Florida also has a compelling interest in preserving the democratic process and ensuring fair
   elections. Burroughs v. United States, 290 U.S. 534 (1934); Curry v. Baker, 802 F.2d 1302, 1317
   (11th Cir. 1986).
           35
              Section 230(c)(2)(A) does not provide blanket immunity. It only applies when an
   interactive computer service acts in "good faith." While the parameters of "good faith" immunity
   under Section 230(c)(2)(A) are not necessarily well-defined in the case law, courts might
   ultimately conclude that a social media platform's acting differently than how it marked itself
   and shifting its standards is determinative as to whether the platform acted in "good faith." See
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                                                                                                        34


     Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021) in granting a preliminary injunction that sent

     SB7072 down the path of nullification.

            43. E.ifih, where SB7072 construes social media websites as common carriers,36 the Stop

     Social Media Censorship Act focuses more on consumer protection violations, existing torts, and

     existing breach of contract principles. 37

             44. Sixth. because the Stop Social Media Censorship Act is framed on breach of

     contract, tort, and consumer protection principles, jurisdiction for enactment and enforcement is

     not Constitutionally problematic in view of the Ten Amendment of the United States

     Constitution, unlike with SB7072. 38

     Smith v. Trusted Universal Standards in Elec. Transactions, Inc., 2010 WL 1799456, at *7
     (D.N.J. May 4, 2020).
             36
                In Section 1 of SB7072, the Florida Legislature found that "[s]ocial media platforms
     have become as important for conveying public opinion as public utilities are for supporting
     modern society," and they "hold a unique place in preserving first amendment protections for all
     Floridians and should be treated similarly to common carriers." SB7072 § 1(5), 1(6). In fact, as
     Justice Thomas recently explained, "[i]n many ways, digital platforms that hold themselves out
     to the public resemble traditional common carriers." Eiden v. Knight First Amend Inst., 141 S.
     Ct. 1220, 1224 (2021) (Thomas, J., concurring)
             37
                The Stop Social Media Censorship treats social media websites like any entity doing
     business in the state, and prevents the business from harming consumers for engaging in fraud,
     breach, deceptive practices, false advertising, etc. While the Florida Legislature permissibly
     determined that the "old rules" applicable to common carriers should be applied to the "new
     circumstances" of social media in SB7072, the Stop Social Media Censorship Act merely gets
     existing consumer protection laws and contract law principles to apply to the "new
     circumstances" of social media, while invoking the state-law exemption. See Parks v. Alta Cal.
     Tel. Co., 13 Cal. 422, 422 (1859). Put simply, the Stop Social Media Censorship Act does not ask
     the judicial branch to reinvent the wheel; it merely asks that existing law be permitted to catch up
     to modern-day technology to safeguard consumers and election integrity.
             38
                The state of Florida has the legal authority to enact the Stop Social Media Censorship
     and injured parties, like the Plaintiffs, have the right to enforce it under the long-arm statute. See
     Fla. Stat.§ 48.193. When the Plaintiffs signed up to use Facebook and Twitter, they entered into
     a contract in Florida. One of the oldest jurisprudence is that "contract law" is a "state-law issue."
     States have paramount jurisdiction to enact statutes that place certain restrictions on contracts to
     protect consumers from harm. Otherwise, all consumer protection laws and all products liability
     laws could be declared to violate the First Amendment. Twitter and Facebook reached into the
     state of Florida and induced the Plaintiffs to sign up to use their services by a contract, which
     gives the state of Florida jurisdiction to regulate those contracts and put parameters around them.
     While a contract does exist between social media websites and the Plaintiffs, the contract is only
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                                                                                                          35


            45. Seventh, perhaps the biggest distinction between the Stop Social Media Censorship

     Act and SB7072 is that the Stop Social Media Censorship only applies to social media websites

     that have more than 75 million profile users that were never affiliated with any particular

     religious or political party from their inception. 39 A social media website that was affiliated with

     a religious or political party can, therefore, continue to censor users at will, since they do not

     suffer from the same false marketing problem. 40 If from their inception Facebook, Twitter,

     Youtube, or Tictok had openly marked themselves as being aligned with the Democrat Party or

     with the licentious religion of secular humanism, then they would have a defense for the removal

     of political and religious speech that does not happen to conform to their favored religious and

     political worldviews. But those social media websites that have brutalized the Plaintiffs and

     relevant for the purpose of the state having jurisdiction to regulate those contracts because the
     contract at issue is undoubtedly a contract of adhesion. Twitter and Facebook have billions of
     subscribers, they never had a realistic expectation that the Plaintiffs would employ lawyers to
     review their contract. Therefore, the contract is a contract of adhesion. Accordingly, the
     specific terms of the adhesion contract do not matter. Schnabel v. Trilegiant Corp., 697 F.3d 110,
     119, 126-27 (2d Cir. 2012). However, what does matter is the fact that Twitter, Facebook, and
     Youtube have conspired to falsely market themselves as being "free, fair, open to the public, and
     open to all religious and political ideas" to induce reliance only to then break their promise and
     censor certain users in bad faith. This is a problem of broken promises flowing out of egoism.
               39
                  The reason why the Stop Social Media Censorship Act only applies to social media
     websites that have more than 75 million users is not to treat different potential speakers
     differently. The reason for this threshold is because the purpose of Section 230 was to allow
     websites on the internet to grow without the fear of certain liability. The evidence shows from
     the reasonable observer perspective that a social media website that has over 75 million profile
     users has "sufficiently grown." Therefore, a statute, such as the Stop Social Media Censorship
     Act, that allows victims of the deceptive, fraudulent, and dishonest honest trade practices of
     social media websites to acquire relief against a social media provider with more than 75 million
     subscribers is consistent with the spirit and "growth goals" of Section 230, which further causes
     it to fall squarely in the state-law exemption. The 75 million threshold is not imposed to treat
     smaller and larger social media websites differently. The threshold is included out of respect for
     the doctrine of preemption so that the Stop Social Media Censorship Act will squarely fall in the
     state-law exemption.
               40
                  A Black Lives Matter social media website, a Christian social media website, a Muslim
     social media website, an LGBTQ social media website could censor any profile user who
     opposed their fundamental doctrine and not be subjected to liability under the Stop Social Media
     Censorship Act, if they made their affiliation and preference of a certain worldview known
     upfront.
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                                                                                                         36


    others, like the Trump plaintiffs, due to a hidden religious and political agenda that they sprang

    on the whole of society to its extreme detriment. 41 This "gotcha game" tactic makes social media

    websites the poster child of bad faith, and the idea that they can continue to have total immunity

    because Congress made a bad law action combined with a bad judicial interpretation of that bad

    law is self-evidently unconscionable and repugnant to the vast majority of Americans. The

    arbitrary shifting of undefined standards conducted in the normal course of business by social

    media websites constitutes classic bad faith and breach of contract that has led to the injury of

    millions of profile users - to include the Plaintiffs. This controversy presents an opportunity for

    this Honorable Court and Governor DeSantis to alleviate real suffering that is crushing

    Floridians and the citizens of the other 49 states, by framing these issues correctly for once.

           46. In terms of breach of warranty, the Plaintiffs have been harmed by social media

    websites censoring others in bad faith. For example, Pastor Franklin Graham of the Billy

           41
                The Stop Social Media Censorship Act is calculated to stop businesses from harming
    consumers through broken promises, false advertisement, and fraud. The so-called "standards"
    floated by Facebook, Twitter, and Youtube have always been unclear, vague, and shifting. The
    changing of those standards constitutes bad faith. While it is true that social media websites
    might be able "to establish standards of decency without risking liability for doing so," what they
    cannot do is to change those standards arbitrarily after they induced billions of people to
    subscribe and invest in user profiles, having relied on the fact that the social media websites
    marketed themselves as free, fair, open to the public, and open to neutral political and religious
    speech. See Domen v. Vimeo, Inc., 991 F.3d 66, 73 (2d Cir. 2021 ). The court in Netchoice, LLC
    et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021) failed to pick up on the critical factor
    that Facebook, Twitter, and Youtube arbitrarily changed their standards in bad faith all the time,
    after fraudulently inducing billions of people to subscribe and invest in their service at great
    personal expense to themselves, their families, and their communities. That court ignored the
    shifiting standards completely, shrugging it off in callous disregard for reality, because it is out of
    touch with just how serious of a problem this has become for consumers and the Nation.
              In sum, this controversy is just about making the mega social media websites keep their
    promises to consumers. The goal of the Stop Social Media Censorship Act is not to punish
    disfavored, out-of-state businesses and to stop or deter them from exercising their First
    Amendment rights in ways the Plaintiffs dislikes. The goal is to force certain social media
    websites to honor their promises and to live up to the way that they marketed themselves from
    their inception in order to induce reliance. Social media websites like Twitter marked themselves
    as being neutral on religion and politics, and they should be legally forced to remain so despite
    the unwarranted inflated view that the employees who work there.
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                                                                                                        37


     Graham Foundation had over a million followers on his facebook profile page. The Plaintiffs

     were followers of his page and benefitted greatly from his life-giving posts that were rife with

     Bible verses. One day, Facebook's employees decided to delete Pastor Graham's Facebook page

     without warning, simply because the employees felt entitled to metaphorically crusify Pastor

     Graham and punish his followers for seeking the truth of the Gospel. Deleting Pastor Graham's

     profile had transferable injury on the Plaintiffs who were not only inconvenienced but stifled by

     the threat of deletion themselves.

                                      JURISDICTION AND VENUE
             47. This case arises under the United States Constitution and the laws of the United

     States and presents a federal question within this Court's jurisdiction under Article III of the

     federal Constitution and 28 U.S.C. §§ 1331 and 1361.

             48. The Court has the authority to grant declaratory relief pursuant to the Declaratory

     Judgment Act, 28 U.S.C. § 2201 et seq.

             49. The Court has the authority to award costs and attorneys' fees under 28 U.S.C. §

     2412.

             50. Venue is proper in this district under 28 U.S.C. § 1391(e)

                                               THE PARTIES

             51. John Gunter Jr. is the executive director of Special Forces Of Liberty. Christopher

     Sevier Esq. is the executive director of De Facto Attorneys General. Pastor Rich Penkoski is the

     executive director of Warriors For Christ. Deb Maxwell is a Florida chapter leader of Special

     Forces Of Liberty and Warriors For Christ. De Facto Attorneys General, Special Forces Of

     Liberty, and Warriors For Christ are partners, who have served as administrators on social media

     websites through Facebook, Twitter, Youtube, and Tictok. Plaintiff Gunter lives in Miami, and
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                                                                                                        38


   Deb Maxwell lives in Tampa. Plaintiff Sevier lives in Florida for part of the year. The Plaintiffs

   have a headquarters in Miami Florida. The Plaintiffs entered into agreements with Facebook,

    Twitter, and Youtube at different times in Florida, Tennessee, Louisiana, West Virginia, and in

   the District Of Columbia, and were subsequently censored by the social media websites after the

    social media websites had acted in concert to falsely marketed themselves as being free, fair,

    open to the public, and neutral on matters of politics and religion. The Plaintiffs felt the injury in

                42
    Florida.


           42
               The social media websites shifted their standards in bad faith and censored the
    Plaintiffs because their Constitutionally protected religious and political speech offended the
    delicate sensibilities of the employees who happened to work for the social media websites at the
    time. At the time of each censorship, the Plaintiffs had previously invested a ton of time and
    money in their user profile accounts. Every time the Plaintiffs have threatened Facebook,
    Twitter, and Youtube with legal action, the social media websites promise to immunize their
    deceptive and destructive trade practices by invoking Section 230 of the Communications
    Decency Act. This assumption based on the public record that social media websites might have
    total immunity under Section 230 has given rise to the Plaintiffs cause of action here in which
    the Constitutional or the parameters of Section 230 are in question.
            The Plaintiffs collectively consists primarily of Christ-followers, who served in the
    United States Military in foreign theaters of war, namely on the rule of law mission, which is
    purposed to better ensure a government's compliance with their highest Constitutional authority.
    The Plaintiffs have continued that mission state-side in America even though they no longer
    officially operating under Title 10 jurisdiction on behalf of the Armed Forces. The Plaintiffs
    routinely file comprehensive lawsuits across the United States on different controversial and
    complex issues that typically concern the "culture wars" and First Amendment issues that are too
    "politically hot" for the government-funded Attorneys General to pursue. In bringing such
    lawsuits, the Plaintiffs - without apology - often end up converting Article III Courts into their
    own private legislative research commission. Out of the overflow of the litigation pursued by the
    Plaintiffs, the Plaintiffs subsequently draft legislation for all 50 states and for the federal
    government, which is then routinely introduced by a bi-partisan network of sponsors that
    stretches across the Country before the Article I branch. The legislation authored by the Plaintiffs
    that gets presented to the members of legislative branch is legally vetted ad nausem and is
    calculated to survive judicial review, if subsequently challenged once enacted.
             One of the fights that the Amici have undertaken in multitudes of Federal District Courts
    concerns Big Tech censorship, since this fight has created a freedom crisis that is eroding the
    quality of life for millions of Americans. Subsequently, the Plaintiffs authored a proposed bill
    called the "Stop Social Media Censorship Act" that is customized for all 50 states and is
    narrowly tailored to parallel the spirit of Section 230 of the CDA so that it falls squarely in the
    state-law exemption under subsection (e) subparagraph (3) of the Section 230 - thereby getting
    around the problem of preemption. Here is a website for the bill:
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                                                                                                       39


             52.    The Plaintiffs authored the Stop Social Media Censorship Act for all 50 states, not

    for personal glory or donations but because it is the right thing to do and because as Christian

    missionaries, the Plaintiffs have set out to advance human flourishing as far as they are able.

             53. Defendant Attorney General Garland is the chief legal officer of the United States

    and heads the United States Department of Justice, which is the agency of the United States

    government responsible for enforcement of federal civil laws, including the statute at issue in

    this case. 43

             54. Governor DeSantis is the Governor of Florida. He resides in Florida and is sued in

    his official capacity. His staff members were the architects of SB 7072 which has been set on the

    path of nullification in Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L

    202l)(DE 113). Defendant Governor DeSantis has the authority under Article III, Section 3 of

    the Florida Constitution to convene a special session so that the Stop Social Media Censorship

    Act can be enacted in a manner that will allow the Plaintiffs here and the Trump Plaintiffs in

    Trump v. Twitter, 1:21-cv-22441 (S.D.F.L. 2021) to get relief from the government for their

    injuries inflicted by social media websites that engage in breach of contract, bad faith, unfair

    https://www.specialforcesofliberty.com/. Here is a short video that the Plaintiffs provide to state
    legislatures who prime sponsor, co-sponsor, or support the bill so that they can easily understand
    the bill and the issues involved: (Jtttps://youtu,be/CCcOALXNteM).
             Over 25 states moved on two primary bills written to stop the on-going problem of social
    media censorship that were drafted by either De Facto Attorneys General or Professor
    Hamburger of Columbia Lawschool. Countless Republicans and Democrats prime sponsored,
    co-sponsored, or supported these legislative measures. For a breakdown by state and by prime
    sponsor for the 2021 legislative session and the 2022 legislative session of the proposed language
    of the bills see Appendix A.
    43
       Attorney General Garland is unfit for the job because his paramount agenda is to excessively
    entangle the government with the religion of Secular Humanism in direct violation of the
    Establishment Clause. Attorney General Garland lacks the character and fitness to serve on the
    courts or as Attorney General because he does not understand the differences between "right and
    wrong," "real and fake," and "secular and non-secular." This individual has checked his brain at
    the door of secular humanism to the point that he does not even operate in objective reality or see
    that most of the Democrat party platform is cultish and unconstitutional under the Establishment
    Clause.
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                                                                                                         40


      dealing, fraudulent inducement, deceptive trade practices, false advertising, and other forms of
                                                                                                              ,,...I
      consumer protection violations. The Plaintiffs are asking Governor DeSantis to sua sponte

      convene a special session or, alternatively, that this Court order and direct the Governor to do so,

      which will actually give the Plaintiffs a valid pathway to acquiring redress through the courts

      against social media websites that have injured them and millions of others due to fraud.

            NOT ALLOWING CONSUMERS TO REDRESS INJURIES AGAINST SOCIAL
       MEDIA WEBSITES THAT MARKETED THEMSELVES FROM THEIR INCEPTION
      AS BEING NEUTRAL ON POLITICAL AND RELIGIOUS SPEECH IS HARMING THE
                                                   PUBLIC
             55. Issuing an injunction that strikes down Section 230 or finding that Florida could pass

      Stop Social Media Censorship Act and cure the constitutional defects of the Section 230 in view

      of the state-law exemption, serves the public's best interest. The public record is replete with

      examples evincing social media companies' sustained campaign of inconsistently and unfairly

      censoring, shadow banning, deplatforming, and deprioritizing Floridians, including journalistic

      enterprises and candidates for public office. 44 Senator Hughes of Texas, the prime sponsor of
             44
                 For example, state of Florida has admitted the following in the public record regarding
      how bad social media censorship is for the general public: The Babylon Bee, a conservative
      Christian news satire website headquartered in Jupiter, Florida that publishes satirical articles on
      religion, politics, and current events has repeatedly been the target of social media platforms'
      inconsistent and unfair behavior. In 2018, The Babylon Bees Face book page was threatened with
      removal and demonetization after one of its satirical articles titled "'CNN Purchases
      Industrial-Sized Washing Machine to Spin News Before Publication' was 'fact-checked."'
      Facebook later apologized and explained that it had made a "mistake." In 2020, the Babylon Bee
      posted a story titled "Senator Hirono Demands ACB Be Weighed Against a Duck to See If She Is
      a Witch," referencing the comedy Monty Python and the Holy Grail. Facebook demonetized The
      Babylon Bee's Facebook page and stuck to its determination that the article "incited violence"
      due to its reference to burning witches, reversing its decision only after numerous media outlets
      lambasted Facebook for its censorship. Also in 2020, Twitter briefly suspended The Babylon
      Bee's page for being "spam," reversing the suspension shortly thereafter and explaining that The
      Babylon Bee had "mistakenly" been caught in a spam filter.
              The New York Post has received a similar treatment for some of its stories. Twitter locked
      the New York Post's account and demanded that it delete six tweets that linked to the Post's
      expose on Hunter Biden in the fall of 2020. Facebook reduced the distribution of the story on its
      site. Twitter CEO Jack Dorsey later called the move a "total mistake," describing it as the result
      of a "process error." In April 2021, Facebook disallowed its users from sharing the New York
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     SB12, paid Facebook large amounts to promote his campaign posts on his user profile. Facebook

     pocketed the money and did not allow the campaign advertisements to be viewed by the public.

     Then Facebook began shadow banning Senator Hughe's posts and shutting down his profile page


     Post's story about a Black Lives Matter co-founder's expensive real estate purchases, citing the
     story as against its "community standards."
             Individuals and journalistic enterprises alike have had to grapple with social media
     platforms' inconsistent and unfair practices regarding COVID-19. In February 2021, Facebook
     announced that it would expand its content moderation on COVID-19 to include "false" and
     "debunked" claims such as that "COVID-19 is man-made or manufactured." It blocked the New
     York Post's article written that month suggesting that the virus could have leaked from a Chinese
     virology lab .. But now, given "ongoing investigations into the origin of COVID-19 and in
     consultation with public health experts," Facebook has decided that it will no longer "remove the
     claim that COVID-19 is man-made or manufactured."
             The social media platforms' behavior has also affected politicians. YouTube removed a
     video of Governor Ron De Santis holding a panel with pandemic health experts for allegedly
     violating community standards regarding COVID-19 medical information. YouTube stated that
     the video included information on mask-wearing that "contradicts the consensus of local and
     global health authorities." In April 2020, Twitter terminated the account of Howie Hawkins, a
     Green Party candidate for President, for allegedly violating its rule on "impersonation." And in
     early 2021, Facebook, Twitter, Instagram, and YouTube banned President Trump in the wake of
     the January 6 Capitol riot out of concerns that he would encourage violence on their platforms,
     while taking no action against Representative Maxine Waters for her statements to protestors
     during Derek Chauvin's trial for the murder of George Floyd.
             Social media platform users are not always notified that they have been deplatformed or
     given an explanation for how they violated the platforms' content guidelines. When a social
     media platform shadow bans a user, that user is still able to access the platform, post content, and
     comment on others' posts, but their actions are invisible to all other normal users. The user is not
     notified of the shadow ban. In one instance, a user was shadow banned from Reddit but
     continued to spend four to five hours a day posting content for weeks before realizing that the
     content was invisible to all other normal users.
             These examples of social media platforms' inconsistent and unfair practices are further
     evidenced by systematic examinations of how the platforms implement their own content
     guidelines. Social media platforms apply their content guidelines differently to posts with similar
     content,, and some suspend the accounts of right-leaning individuals at a higher rate than
     left-leaning individuals,. Officials of the platforms themselves have admitted that employees in
     charge of content moderation "could be biased and pursuing their own political agendas."
             The social media platforms' inconsistent treatment of user content would be bad enough
     if they were transparent about how they make moderation decisions. But some of the most
     important platforms are notoriously secretive about such matters, even while publicly
     claiming--contrary to the public record-that they apply their policies "in a way that is fair and
     consistent to all," (quoting prior version of Facebook report on enforcement of community
     standards). Perhaps most notoriously, senior Google executives have publicly claimed that the
     company does not manually alter search results despite public reporting to the contrary.
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    to give his opponent an advantage in the campaign against him. In response to the mistreatment

    of Senator Hughes, Facebook promised to hide behind Section 230 if the Senator sought redress

    from the government for its deceptive trade practices. What happened to Senator Hughes has

    happened to hundreds of law makers across the country. (The censorship of Senator Showers of

    Alaska was also incredibly egregious). In primaries involving Democrat candidates, social

    media websites have been censoring and shadow banning the candidate they disfavor, putting a

    thumb on the scale of such elections. This practice has provoked Democrat legislators to sign on

    as prime sponsor and co-sponsor of the Stop Social Media Censorship Act in a variety of states.

    For example, Senator Gabbard of Hawaii, a Democrat, who is former Presidential contender

    Tulsi Gabbard's father, prime sponsored the Stop Social Media Censorship Act because of the

    onslaught of censorship that his daughter experienced in running to become the Commander In

    Chief. Social media websites that marked themselves as being neutral on politics in order to

    create a digital public square censored Congresswoman Gabbard's speech ad nausem throughout

    her campaign for President simply because their employees favored other candidates, whose

    policies make them feel less convicted about their personal immorality. To pretend that social

    media websites are not threatening election integrity is asinine, and not a position that the

    judicial branch should take. For the judicial branch to continue to interpret Section 230 in a

    manner that allows for social media websites to meddle in election in bad faith with absolute

    immunity is unminding the trustworthiness and legitimacy of the courts writ large.

            FACTS REGARDING DIRECT INJURY TO THE PLAINTIFFS PERPETRATED
        BY FACEBOOK, TWITTER, AND YOUTUBE THAT HAVE GONE WITHOUT
     GOVERNMENT REDRESS BECAUSE OF THE THREAT OF SECTION 230 AND THE
     ABSENCE OF NARROWLY TAILORED STATE STATUTE LIKE THE STOP SOCIAL
                          MEDIA CENSORSHIP ACT
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           56. While residing in West Virginia (4th Circuit), Tennessee (6th Circuit), Florida (11th

    Circuit), Louisiana (5th Circuit), the District Of Columbia (DC Circuit) and elsewhere, the

    Plaintiffs were induced and enticed to contract witih Facebook, Twitter, Youtube, and Tictok,

    creating and investing substantially in user profiles on the promise that the platforms were (1)

    free, (2) fair, (3) open to the public, (4) a place where the free exchange of ideas by the user was

    permitted and encouraged, and (6) neutral on issues of religion and politics.

           57. At the time the Plaintiffs created their user profiles just about everyone they knew had

    a user profile to include people who shared the same religious and political beliefs as themselves.

    The Plaintiffs, like virtually all of the other billions of users of social media websites, did not

    retain lawyers who are subject matter experts in digital contracts to review the terms of services

    of what was apparently an adhesion contract. Instead, the Plaintiffs predominately consider how

    social media websites marketed themselves as being neutral on political and religious speech in

    deciding to create and invest substantially in their user profiles. The social media websites gave

    the Plaintiffs and millions of others the reasonable expectation that religious and political views

    could be expressed at will without the fear of punishment and reprisal by the social media

    website employees.

            58. The Plaintiffs are Christ-Followers who believe that the Bible is the Divine word of

    God and that Jesus Christ was exactly who He said He was. See John 14:6. The Plaintiffs are

    advocates for the radically transformative gospel narrative and feel compelled to attempt to

    gracefully fulfill the great commision in response to the love they believe that God has for them.

    See John 3:16; see Matthew 28:16-20. The gospel can in-part be summarized as, "humans are

    far worse than we ever dared to imagine, but we are far more loved by God than we could have

    ever dreamed." It is a faith-based worldview that humbles them and uplifts believes at the same
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      time. The Plaintiffs are not legalists, 45 and they were delighted to join social media platforms

      with other users who are critical of Christian doctrine and practices. The Plaintiffs welcome such

      critiques by non-believers and skeptics, while maintaining that the Plaintiffs' religious and

      political speech warrants equal protection, respect, and treatment. In creating several social

      media user profiles, the Plaintiffs believed based on how the social media websites marketed

      themselves that they could express and advocate for Christian principles, ideology, and beliefs

      without fear of censorship, persecution, or reprisal carried out by the social media website's

      employees themselves, who harbor animus towards Christians and Republicans and Democrats

      who represent "friends of the founding" of our Nation.

               59. The Plaintiffs take no issue with third parties with user profiles censoring the

      Plaintiffs' speech or blocking the Plaintiffs' profiles. The Plaintiffs were personally injured by

      the employees of the social media website, who themselves censored, banned, and blocked the

      Plaintiffs' speech based on vague and arbitrary shifting standards that were abused out of the

      overflow of the moral superiority complexes harbored by the employees of the social media

      websites. This imperialistic elitism should be staunchly condemned by the judicial branch.

               60. The employees at the social media websites censored, deleted, shadow-banned, and

      froze countless user profiles created by the Plaintiffs because the Plaintiffs took positions like (1)

      "men cannot be women;" (2) "Secular Humanism is a religion for the purpose of the First

      Amendment as the Supreme Court recognized" (3) "woke leftism dogma is inseparably linked to

      the religion of Secular Humanism religion for purposes of the Establishment Clause of the First

      Amendment;" (4) "a public library's decision to host Drag Queen Story Time at the taxpayer's

      expense violated the Establishment Clause of the First Amendment;" (5) "the government's

      decision to get in bed with the LGBTQ cult has proven to be a disaster for everyone;" (5) "life
      45
           Ephesians 2:8-9
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                                                                                                          45


     beings at conception and convience abortions are self-evidently immoral and subversive to

     human florishing;" (6) "the First Amendment Establishment Clause is the underlying legal basis

     for the Hyde Amendment and for the government to award public funds to convenience abortion

     providers is unconstitutional under the Establishment Clause for failing the prongs of the Lemon

     Test;" (7) "Black Lives Matter thinks that only the lives fthat matter are the one's who agree

     with their communist ideology - see Candice Owens;" (8) "the reason it is called the 'gay pride

     movement' is because everyone knows that there is nothing to be 'proud' about;" (9) "when a

     person says 'love is love' what they really mean is that they are perfectly ok with government

     assets being used to crush anyone who dares to suggest that homosexuality is entirely immoral,

     which is a position that is unloving;" (10) critical race theory is racists; (11) "Jesus is Lord;"

      (12) "what non-theistic leftist don't seem to understand is that love without truth is just shallow

      sentimentality."

             61. In a trial against social media webistes, the Plaintiffs could show that the social media

     websites decision to delete, shadow-ban, and censor the Plaintiffs' profiles costs the Plaintiffs

     hundreds of thousands of dollars. This is especially true in the case of Warriors For Christ, which

     had accumulated over 226,000 followers on Facebook, 575,000 followers on Youtube, and

      335,000 followers on Twitter. Warriors For Christ followers tuned in to watch weekly sermons

     provided by Pastor Rich and made donations to the ministry through its social media profiles. In

      a coordinated effort, social media websites deleted, banned, or froze Warriors For Christ user

     profiles just because the messages offered by Pastor Rich offended the delicate sensibilities of

     the brainwashed employees who work for the social media website in response to their refusal to

     think logically. After building entire business platforms on social media websites with the

     promise that the social media websites were neutral on politics and religion, the Plaintiffs have
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    had their accounts arbitrarily deleted, censored, blocked, marginalized, banned, and

    shadow-banned literally hundreds of times. The evidence shows that social media websites

    employees get off on haranguing, marginalizing, and oppressing users who do not share the same

    worldview, only to then cower behind 230 immunity that was passed by Congress. 46

           62. Just because some of the employees at social media websites do not like feeling

    convicted and harbor an emotional problem with the truth about the way things are and the way

    we are as humans does not mean that Congress can pass a law that shields social media websites

    from being held to account for their injurious malicious conduct. Accordingly, this Court is

    tasked with carving out the path for victims to be able to seek redress from the government in the

    wake of harmful business practices used by social media websites. Hundreds of religious

    institutions and political commentators have been deplatformed in a manner that is injurious to

    everyone, all because the social media website feel entitled to not live up to how they marketed

    themselves because of Section 230.


                        FIRST AMENDMENT VIOLATION - GENERALLY


           63. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

    paragraphs. The First Amendment of the United States Constitution states: "Congress shall make

    no law respecting an establishment of religion, or prohibiting the free exercise thereof; or

    abridging the freedom of speech, or of the press; or the right of the people peaceably to

    assemble, and to petition the Government for a redress of grievances."

           64. "Congress ... ma[d]e" Section 230, a "law," and this "law" has been interpreted and

    construed by government actors to create blanket immunity to the extent that the law "abridges

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      Social media websites have proven that people who are intolerant of intolerant people are
    intolerant; people who are judgmental against judgmental people are judgmental; and people
    who are dogmatic about not being dogmatic are the most dogmatic of all.
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    [the Plaintiffs] freedom of speech" and "the [Plaintiffs] right to petition the government for

    redress of grievances" in the wake of bad faith acts of social media websites that have engaged in

    self-evidently immoral consumer protection violations to include indecent deceptive trade

    practices, fraudulent inducement, unjust enrichment, bad faith, unfair dealing, breach of contract,

    and false advertising.

              65. The First Amendment right to petition the government for redress of grievances

    encompasses both the right to attempt to persuade the legislative and executive branches and the

    right to access the courts. California Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510

    (1972).

              66. While at the United States Capitol in D.C. in the halls of the Senate Russell building,

    in a heated exchange with Mark Zuckerberg, Plaintiff Sevier did the Christian thing and

    threatened to sue Mark Zuckerberg's "as@#$$ into powder," if his entity did not "stop its

    political and religious censoring of theists for being theists. In response, Mr. Zuckerberg,

    authorized agents, retorted that Facebook would invoke a Section 230 immunity blanket defense

    in the litigation threatened by De Facto Attorneys General, stating that Facebook could do

    "whatever the hell it wanted." 47 The posturing of Facebook's CEO combined with judicial

    interpretation of Section 230 has given the Plaintiffs the reasonable apprehension that the making

    of Section 230 by Congress constituted a legal blockade that has stopped the Plaintiffs from

    being able to seek redress from the government for the bad faith injurious actions of social media

    websites, like Facebook, that has harmed the Plaintiffs personally.

              67. Pursuant to Section 230, the government's creation or enforcement or lack of

    responsiveness to Section 230 has encouraged social media websites to censor the


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      This interaction is included pursuant to the state of mind exception of the hearsay rule, and not
    to prove the truth of the matter asserted.
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      constitutionally protected speech of the Plaintiffs, after the social media websites falsely

      marketed themselves as being neutral towards protected religious and political speech.

              68. The interpretation of Section 230 has created total blanket immunity in a manner that

      has thwarted the Plaintiffs from being able to seek redress for their grievances.

              69. Using its authority under Section 230 together and acting in concert, major social

      media websites regulate the content of speech over a vast swath of the Internet in bad faith, after

      having falsely marketed themselves as being free, fair, open to the public, and neutral towards

      religious and political speech that is considered to be protected speech.

                                  RIGHT TO PETITION - COUNT ONE
                                  U.S. Const., amend. 1 (Petition Clause)

              70. Plaintiffs re-allege and incorporate by reference all allegations set forth above.

              71. The Petition Clause of the First Amendment of the U.S. Constitution provides that

      "Congress shall make no law ... abridging ... the right of the people ...to petition the

      Government for a redress of grievances." U.S. Const., amend. I.

              72. The Challenged Provision prohibits the Plaintiffs from seeking redress from the

      government against social media websites that have injured them through fraud, breach of

      contract, false advertising, unjust enrichment, bad faith, unfair dealing, and deceptive trade

      practices.

              73. The Challenged Provision is overly broad and not justified by a legitimate,

      compelling, or overriding government interest.

              74. The Challenged Provision is not narrowly tailored to achieve any such legitimate,

      compelling, or overriding government interest.

              75. The Challenged Provision violates the Petition Clause of the First Amendment.
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           76. The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

    Plaintiffs as victims of bad faith social media censorship violates the Petition Clause of the First

    Amendment to the U.S. Constitution.

           77. Based on prior interpretations of Section 230 by the judicial branch, the Plaintiffs are

    under the apprehension that Section 230 serves as a total immunity blanket for social media

    websites that falsely market themselves and censor consumers after inducing them to invest.

                                    FREE SPEECH - COUNT TWO
                              [U.S. Const., amend. 1 (Freedom of Speech)]

           78. Plaintiffs re-allege and incorporate by reference all allegations set forth above.

           79. The Free Speech Clause of the First Amendment to the U.S. Constitution provide:

    "Congress shall make no law ... abridging the freedom of speech."

           80. The Challenged Provision prevents speech and expressive activity by allowing social

    media websites to act in bad faith while engaging in fraud, false advertising, theft-by-trick,

    breach of contract, unfair dealing, and deceptive trade practices with immunity.

           81. The Challenged Provision is unconstitutionally overbroad on its face because its

    unconstitutional applications are substantial in relation to its legitimate applications.

           82. As applied to the Plaintiffs, the Challenged Provision unconstitutionally restricts their

    protected speech.

           83. The Challenged Provision is not narrowly tailored to any legitimate, compelling, or

    overriding government interest.

           84. The Challenged Provision violates the Free Speech of the First Amendment in its

    making by Congress and its enforcement.
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             85. The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

     Plaintiffs as victims of bad faith social media censorship violates the Free Speech Clause of the

     First Amendment to the U.S. Constitution.

                              FREE EXERCISE CLAUSE - COUNT THREE
                                 [U.S. Const., amend. 1 (Free Exercise)]

             86. Plaintiffs re-allege and incorporate by reference all allegations set forth above.

             87. The Free Exercise Clause of the First Amendment to the U.S. Constitution protects

     plaintiffs' religious activities.

             88. As the result of Congressional action, the Plaintiffs religious expressions are being

     disfavored, stifled, and censored. The Congressional action that led to the censorship of the

     Plaintiffs religious speech has relegated the Plaintiffs to second-class citizen status. The Plaintiffs

     do not feel welcomed in their own country , even though they consider themselve to be "friends

     of the founding fathers," just as this Court is required to be.

             89. The Plaintiffs have no adequate remedy at law other than to have Section 230 voided.

             90.   The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

     Plaintiffs as victims of bad faith social media censorship violates the Free Exercise Clause of the

     First Amendment to the U.S. Constitution because it stifles religious expressions that are

     otherwise protected.

                      ESTABLISHMENT CLAUSE VIOLATION - COUNT FOUR
                           [U.S. Const., amend. 1 (Establishment Clause)]

             91. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

     paragraphs.

             92. The Establishment Clause of the First Amendment to the United States Constitution

     provides that "Congress shall make no law respecting an establishment of religion."
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           93. The Establishment Clause of the First Amendment forbids the enactment of any law,

    program, or practice "respecting an establishment of religion." Congress is required to pursue a

    course of neutrality with respect to religion.

           94. From the reasonable person perspective, Congress's enactment of Section 230 fails

    all three prongs of the Lemon Test and violates the First Amendment Establishment Clause for

    constituting a non-secular sham that lacks a primary secular purpose that has cultivated an

    indefensible legal weapon against non-observers of the religion of Secular Humanism, and for

    serving to excessively entangle the government with the religion of Secular Humanism. 48

           95. The Supreme Court and nearly all of the Federal Court of appeals have recognized

    that Secular Humanism is a religion for the purpose of the First Amendment's Free Speech, Free



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               To pass muster under the Establishment Clause, a practice must satisfy the Lemon test,
    pursuant to which it must: (1) have a valid secular purpose; (2) not have the effect of advancing,
    endorsing, or inhibiting religion; and (3) not foster excessive entanglement with religion. Id. at
    592 (citing Lemon v. Kurtzman, 403 U.S. 602 (1971)). It is important to understand that
    government action "violates the Establishment Clause if it fails to satisfy any of these prongs."
    Edwards v. Aguillard, 482 U.S. 578,583 (1987); Agostini v. Felton, 521 U.S. 203,218 (1997).
    The evidence will show that Congress's make Section 230 fails all three prongs of the Lemon
    Test. At the core of the "Establishment Clause is the requirement that a government justify in
    secular terms its purpose for engaging in activities which may appear to endorse the beliefs of a
    particular religion." ACLU v. Rabun Cnty. Chamberof Commerce, Inc.,698 F. 2d 1098, 1111 (11th
    Cir.1983). This secular purpose must be the "pre-eminent" and "primary" force driving the
    government's action, and "has to be genuine, not a sham, and not merely secondary to a religious
    objective." McCreary Cnty, Ky. v. ACLU of Ky., 545 U.S. 844 (2005). Under this second prong
    of the Lemon test, courts ask, "irrespective of the ... stated purpose, whether [the state action] ..
    has the primary effect of conveying a message that the [government] is advancing or inhibiting
    religion." Indiana Civil Liberties Union v. O'Bannon, 259 F.3d 766, 771 (7th Cir. 2001). The
    "effect prong asks whether, irrespective of government's actual purpose," Wallace v. Jaffree, 4 72
    U.S. 38, 56 n.42 (1985), the "symbolic union of church and state .. .is sufficiently likely to be
    perceived by adherents of the controlling denominations as an endorsement, and by the
    nonadherents as a disapproval, of their individual religious choices." School Dist. v. Ball, 473
    U.S. 373,390 (1985);see also Larkin v. Grendel's Den, 459 U.S. 116, 126-27 (1982)(even the
    "mere appearance" ofreligious endorsement is prohibited). Congress's enactment of Section 230
    has constituted a "legal weapon that no [Christian or non-observer of Secular Humanism] can
    obtain." City of Boerne v. Flores, 521 U.S. 507 (1997). Social media websites have wielded a
    legal weapon in direct violation of prong II of Lemon.
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      Exercise, and Establishment Clauses. 49 The high priest and poet, Justice Kennedy, enshrined the

      core fundamental truth claim of Secular Humanism into law in Planned Planned Parenthood v.


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                The United States Supreme Court already found that Secular Humanism is a religion
      for the purposes of the First Amendment Establishment Clause inTorcaso v. Watkins, 367
      U.S.488, n. 11 (l 961 ), stating "among religions in this country which do not teach what would
      generally be considered a belief in the existence of God are Buddhism, Taoism, Ethical Culture,
      Secular Humanism, and others. See Washington Ethical Society v. District of Columbia, 2 49
      F.2d 127, 101 U.S. App. D.C. 371 (D.C. Cir 1957); Fellowship of Humanity v. County of
      Alameda, 153 Cal.App.2d 673,315 P.2d 394 (1957); II Encyclopaedia of the Social Sciences
      293; 4 Encyclopaedia Britannica (1957 ed.) 325-327; 21 id., at 797; Archer, Faiths Men Live By
      (2d ed. revised by Purinton), 120-138, 254-313; 1961 World Almanac 695, 712; Year Book of
      American Churches for 1961, at 29, 47."
              See also - School District ofA Bington Township, Pa. v. Schempp, 374 U.S. 203,225
      (1963)("[T]he State may not establish a "religion of secularism" in the sense of affirmatively
      opposing or showing hostility to religion, thus "preferring those who believe in no religion over
      those who do believe.")
              See also - the decision in United States v. Seeger, 3 80 US 163, 166 (1965) defined
      religion as all sincere beliefs "based upon a power or being, or upon a faith, to which all else is
      subordinate or upon which all else is ultimately dependent." Thus, according to Seeger,
      "religion" includes atheists and agnostics, as well as adherents to traditional theism. The logical
      conclusion from the Seeger decision is that "[a]bsolute vertical disbelief in the traditional sense -
      disbelief in God - is irrelevant" to First Amendment considerations. Id. See generally Bowser,
      Delimiting Religion in the Constitution: A Classification Problem, 11 VAL. U.L. REV. 163
      (1977); Boyan, Defining Religion in Operational and Institutional Terms, 1 16 U. PA. L. REv.
      4 79 (1968); Clancy and Weiss, The Conscientious Objector Exemption: Problems in Conceptual
      Clarity and Constitutional Considerations, 17 ME.L. REV. 4 79 (1968); Clark, Guidelines for the
      Free Exercise Clause, 8 3 HARV. L. REV. 327 (l 969); Killilea, Standards for Expanding
      Freedom of Conscience, 34 U. Prrr. L. REv. 531 (1973); Rabin, When is a Religious Belief
      Religious: United States v. Seeger and the Scope of Free Exercise, 51 CORNELL L.Q. 231
      (1966); Comment, Defining Religion: Of God, the Constitution and the D.A.R., 32 U. CHI. L.
      REv. 533 (1965).
              See also - in Welsh v. United States, 398 U.S. 333 (1970), the Supreme Court extended
      the Seeger rationale and held "that purely ethical and moral considerations were religious." The
      Supreme Court further blurred the distinction between religion and morality by holding that a
      sincere person may be denied an exemption only if his belief or belief system does "not rest upon
      and invade ethical or religious principles, but instead rests solely upon considerations of policy,
      pragmatism or expediency." Id. at 342-43. Most of the Federal Court of appeals have also
      already found that Secular Humanism is a religion for the purpose of the First Amendment
      Establishment Clause in cases such as Malnak v. Yogi, 592 F.2d 197, 200-15 (3d Cir.1979);
      Theriault v. Silber, 547 F.2d 1279, 1281 (5th Cir. 1977); Thomas v. ReviewBd., 450 U.S. 707,
      714, 101 S.Ct. 1425, 67 L.Ed.2d 624 (1981); Lindellv. McCallum, 352 F.3d 1107, 1110 (7th Cir.
      2003); Real Alternatives, Inc. v.Sey Dep't of Health & Human Ser, 150 F. Supp. 3d 419, 2017
      WL3324690 (3d Cir. Aug. 4, 2017); and Wells v. City and County of Denver, 257 F.3d 1132,
       1148 (10th Cir. 2001); United States v. Kauten, 133 F.2d 703, 708 (2d Cir. 1943).
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     Casey, 505 U.S. 833, 846-47 (1992), when he stated that "at the heart of liberty is the right to

     define one's own concept of existence, of meaning, of the universe." Hitler believed this as well

     and hung the same condescending message over the front gate of Buchenwald concentration

     camp. The largest religion in the United States is Secular Humanism, also referred to by

     theologians as anti-theism, postmodern individualistic western moral relativism and expressive

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     individualism.

            96. The Plaintiffs have standing as taxpayers under Flast v. Cohen, 392 U.S. 83 (1968) 51

     and other cases to pursue this cause of action. The Plaintiffs have a logical nexus as taxpayers
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     to pursue this cause of action as the authors of the Stop Social Media Censorship Act.

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                 Critical race theory, Black Lives Matter's ideology, Planned Parenthood's dogma, and
     the LGBTQ orthodoxy are doctrines that are inseparably linked to the religion of Secular
     Humanism. While Facebook, Twitter, and Youtube marketed themselves as being neutral on
     matters of religion, they have used Section 230 to excessively entangle the Nation with the
     irrational and licentious religion of Secular Humanism. What the Democrat party fails to
     understand is that Secular Humanism promotes licentiousness and is an attempt to justify
     practices that are inconsistent with the peace and safety of the state. The government has the
     right to regulate the fire out of Secular Humanism practices because the Free Exercise Clause is
     not absolute.
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                 The general rules regarding standing to challenge governmental actions are designed to
     ensure that courts are addressing actual cases that can be resolved by the judicial system.
     However, in some circumstances, individuals may seek to challenge governmental actions for
     which neither those individuals nor any other individuals could meet standing requirements.
     Indeed, the Supreme Court has noted that in some instances "it can be argued that if [someone
     with a generalized grievance] is not permitted to litigate this issue, no one can do so." United
     States v. Richardson, 418 U.S. 166 (1974). Generally, the Supreme Court has noted, "lack of
     standing within the narrow confines of Art.III jurisdiction does not impair the right to assert
     [one's] views in the political forum or at the polls." However, the ability of individuals to affect
     change through political and democratic means does not eliminate all cases where a large group
     of individuals would be affected by the challenged governmental action. In particular, the Court
     has specifically allowed taxpayer standing for claims arising under the Establishment Clause.
     Under the Flast exception to the general prohibition on taxpayer standing, taxpayers may raise
     challenges of actions exceeding specific constitutional limitations (such as the Establishment
     Clause) taken by Congress under Article I's Taxing and Spending Clause which is applicable to
     the states under the Fourteenth Amendment. Flast v. Cohen, 392 U.S. 83 (1968). As Justice
     Ginsburg shrewdly pointed out, "the underlying premise of Flast v. Cohen [is] that the
     Establishment Clause will be unenforceable unless we recognize taxpayer standing." Id. At 8
              52
                 The Plaintiffs pay every form of conceivable state and federal tax in Florida. The
     federal taxes that the Plaintiffs pay in Florida go to the United States' general fund. The salaries
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                                                                                                         54

           97. Congress may have had an emotional reason for passing Section 230 into law

    because it wanted to see the Internet "grow" but that consideration is an emotional appeal, and it

    is a long-standing jurisprudence that emotional appeals, even really good ones, cannot be used to

    usurp the Establishment Clause of the First Amendment. See Holloman v. Harland, 370 F.3 1252

    (11th Cir. 2004).

           98. The enactment of Section 230 by Congress has represented an endorsement of the

    religion of Secular Humanism in how it has been used by social media websites to entangle the

    government with the religion of Secular Humanism , constituting excessive endorsement of the

    Secular Humanist religion due to Congress making a bad law that was not thoughtout.

           99.    The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

    Plaintiffs as victims of bad faith social media censorship violates the Establishment Clause of the

    First Amendment to the U.S. Constitution for failing the prongs of the Lemon Test.


         DECLARATION OF FIRST AMENDMENT VIOLATIONS OF SECTION 230's
                            MAKING - COUNT FIVE

            100. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

    paragraphs.

            101. In censoring (flagging, shadow-banning, etc.) the Plaintiffs, social media websites

    relied upon and acted pursuant to Section 230 of the Communications Decency Act. Congress's

    action constitutes the superseding cause that is preventing Plaintiffs from acquiring relief from

    social media websites.


    of the members of Congress are paid out of the general fund. Congress made Section 230 in the
    normal course of business, and that statute has served as government action that establishes the
    secular humanism as favored by social media websites as the official and favored religion of the
    United States. As non-observers of the secular humanism religion, the Plaintiffs have been
    relegated to second-class citizen status.
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                                                                                                       55

           102. The social media websites would not have deplatformed the Plaintiffs or similarly

    situated profile users but for the immunity purportedly offered by Section 230.

           103. Section 23 0(c)(2) purports to immunize social media companies from liability for

    action taken by them to block, restrict, or refuse to carry "objectionable" speech even if that

    speech is "constitutionally protected" under the Free Speech Clause and Free Exercise Clause of

    the First Amendment. 47 U.S.C. § 230(c)(2).

           104. In addition, Section 230(c)(l) also has been interpreted as furnishing an additional

    immunity to social media companies for action taken by them to block, restrict, or refuse to carry

    constitutionally protected speech.

           105. Section 230(c)(l) and 230(c)(2) were deliberately enacted by Congress to induce,

    encourage, and promote social medial companies to accomplish an objective--the censorship of

    supposedly "objectionable" but constitutionally protected speech on the Internet-that Congress

    could not constitutionally accomplish itself.

           106. Congress cannot lawfully induce, encourage, or promote private persons to

    accomplish what it is constitutionally forbidden to accomplish." Norwood v. Harrison, 413 US

    455, 465 (1973).

           107. Section 230(c)(2) is therefore unconstitutional on its face, and Section 230(c)(l) is

    likewise unconstitutional insofar as it has been interpreted to immunize social media companies

    for action they take to censor constitutionally protected speech.

           106. Section 230(c)(2) on its face, as well as Section 230(c)(l) when interpreted as

    described above, are also subject to heightened First Amendment scrutiny as content- and

    viewpoint-based regulations authorizing and encouraging large social media companies to censor

    constitutionally protected speech on the basis of its supposedly objectionable content and
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                                                                                                          56

      viewpoint. See Denver Area Educational Telecommunications Consortium, Inc. v. FCC, 518 U.S.

      727 (1996).

              108. Such heightened scrutiny cannot be satisfied here because Section 230 is not

      narrowly tailored, but rather a blank check issued to private companies holding unprecedented

      power over the content of public discourse to censor constitutionally protected speech with

      impunity, resulting in a grave threat to the freedom of expression, to religious exercise, and to

      democracy itself; because the word "objectionable" in Section 230 is so ill-defined, vague and

      capacious that it results in systematic viewpoint-based censorship of political speech, rather than

      merely the protection of children from obscene or sexually explicit speech as was its original

      intent; because Section 230 purports to immunize social media companies for censoring speech

      on the basis of viewpoint, not merely content; because Section 230 has turned a handful of

      private behemoth companies into "ministries of truth" and into the arbiters of what information

      and viewpoints can and cannot be uttered or heard by hundreds of millions of Americans; and

      because the legitimate interests behind Section 230 could have been served through far less

      speech-restrictive measures. 53

              109. Accordingly, the Plaintiffs seek an injunction and a declaration that Section

      230(c )(1) and (c )(2) are unconstitutional insofar as they purport to immunize from liability social

      media companies and other Internet platforms for actions they take to censor constitutionally

      protected free speech and constitutionally protected free exercise of religion.

                                              ALTERNATIVE COUNT
                DECLARATORY JUDGEMENT OF UNCONSTITUTIONALITY OF SECTION
           230 AND THE COMMUNICATIONS DECENCY ACT, THE STOP SOCIAL MEDIA
                        CENSORSHIP ACT, AND § 501.204 - COUNT SIX
      53
        The "ministries of truth" favor the religion of Secular Humanism over non-religion and over
      other religions, causing any reasonable observer to see that the Congress's immunity has had the
      effect of establishing Secular Humanism as the supreme religion of the Nation in violation of the
      prongs of the Lemon Test and the First Amendment's Establishment Clause.
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    ___ 110. Plaintiffs re-allege and re-aver all of the allegations contained in the previous

    paragraphs. This claim for declaratory relief is pleaded in the alternative. 47 U.S.C. § 230(3)(c)

    states "Nothing in this section shall be construed to prevent any State from enforcing any State

    law that is consistent with this section. No cause of action may be brought and no liability may

    be imposed under any State or local law that is inconsistent with this section.

            111. The Plaintiffs seek a declaration that Section 230 on its face and as applied to the

    Plaintiffs does not violate the First Amendment only if Florida or any other state were to enact a

    statute, like the Stop Social Media Censorship Act, that is narrowly tailored to fall in the state

    law exemption under subsection (e) subparagraph (3) of Section 230 because a lawsuit brought

    under such a statute would allow litigants to seek redress against social media websites that act in

    bad faith and commit fraud.

           112. Issuing a declaration that clarifies the state-law exemption is not enough. Therefore,

    the Plaintiffs ask this Court to direct Governor Desantis to call a special session pursuant to

    Article III, Section 3 of the Florida Constitution in step with his oath of office under Clause 3 of

    Article VI of the United States Constitution to enact the Stop Social Media Censorship Act to

    cure constitutional defects of SB7072 in view of the decision in Netchoice, LLC et al., v. Moody

    et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) so that the Plaintiffs can finally have the

    actual ability to properly petition the courts of competent jurisdiction for redress against

    deceptive social media websites that defrauded and dehumanized them.

           113. The Plaintiffs seek declaration and clarification from the Court on whether the

    Plaintiffs and other injured Floridians could bring a lawsuit under§ 501.2041 against social

    media websites that have victimized them in view of the preliminary injunction entered in
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     Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) or whether

     § 501.2041 would be automatically preempted by Section 230.


                                     DEMAND FOR A BENCH TRIAL

              114. The Plaintiffs request a bench trial on all issues so triable.

                                            PRAYER FOR RELIEF

     115. WHEREFORE, the Plaintiffs respectfully requests that the Court either enter an Order:

              A. Declaring that the challenged provision, 47 U.S.C. § 230, et. seq. on its face and as

     applied to Plaintiffs, violates the Petition Clause of the First Amendment to the U.S. Constitution

     and the Free Speech, Free Exercise, and Establishment Clauses of the First Amendment to the

     U.S. Constitution and is enjoined from enforcement;

              B. Alternatively, declaring that 47 U.S.C. § 230(c)(l) and (c)(2)

     on its face and as applied to Plaintiffs, violates the Petition Clause of the First Amendment to the

     U.S. Constitution and the Free Speech, Free Exercise, and Establishment Clauses of the First

     Amendment to the U.S. Constitution and is, thereby, enjoined from enforcement;

              C. Alternatively, declaring that the State of Florida should have enacted the amended

     version ofHB 33 by Sen. Gruters and Rep. Sabatin (referred interchangeably as the Stop Social

     Media Censorship Act), and not SB7072 that suffers from the Constitutional concerns described

     by the court in Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE

      113);

              D. Alternatively, declaring that if Florida or any other state were to enact the Stop Social

      Media Censorship Act that the statute would not be preempted under Section 230 and because it

      falls squarely within the state-law exemption under subsection (e) subparagraph (3) of Section

      230 and that the Plaintiffs and others who were similarly situated could pursue a cause of action
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                                                                                                          59

    under the state statute without the lawsuit being automatically preempted by the Supremacy

    Clause in view of Section 230;

              E. Alternatively, requiring Defendant Governor DeSantis to call a special session

    pursuant to Article III, Section 3 of the Florida Constitution in step with his oath of office under

    Clause 3 of Article VI of the United States Constitution to deliberate enacting the Stop Social

    Media Censorship Act to cure Constitutional defects of SB7072 54 in view of the decision in

    Netchoice, LLC et al., v. Moody et. al. 4:21cv220-RH-MAF (N.D.F.L 2021)(DE 113) so that the

    Plaintiffs and other Floridians who have been injured by social media websites can finally and

    properly petition the government for redress in a legally proper manner so that they could have

    the chance to be made whole again;

              F. Alternatively, declaring that the Plaintiffs could bring a lawsuit under § 501.2041

    against social media websites that have victimized them and that § 501.204 would not be

    automatically preempted by Section 230 because § 501.2041 within the state-law exemption

    subsection (e) subparagraph (3).

              G. Permitting an award of attorneys' fees and costs to Plaintiffs in an amount to be

    determined at trial.

              H. Permitting an award of such other and further relief as the Court may deem just and

    proper.

              I. Granting Plaintiff Sevier ECF filing access;

              J. Granting the Plaintiffs leave to file two separate motions for preliminary injunction,

    permanent injunction, and/or summary judgment and that they be given leave to file excessive

    pages for the same reasons the plaintiffs in Netchoice, LLC et al., v. Moody et. al.

    4:21cv220-RH-MAF (N.D.F.L 2021) were given.
              54
                   SB7072 the bill which created §106.072, § 287.137, and§ 501.204
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              K. Liberally granting leave to third parties that seek leave to submit amicus briefs, even

      if the briefs are critical of the Plaintiffs' watertight positions.

              ls/Christopher Sevier Esg.,I    ~ J_:
              DE FACTO ATTORNEYS GENERAL
              Mailing: 118 16th Ave S #24 7 - Music Row
              Nashville, TN 37203
              (615) 500-4411
              BCN: 026577
              909 Santa RosaBlvd,
              Fort Walton Beach, FL 32548
              4301 50th St, Suite 300, #2009,
              Washington, DC 20816
              "hostwarsmusic@~aB,com
              www.specialforcesofliberty.com
              www.chrissevier.com
              1LT27AJAG
              Bravo Two Zero

              ls/John Gunter Jr./   ~/L ✓
             SPECIAL FORCE(©F LIBER'fY
              195 NW 103rd Strreet
             Miami, FL 33150
             (801) 654-5973
             johnjr@tel-electronics.com
             www.specialforcesofliberty.com
             www.stopsocialmediacensorshipact.com
             SGM27D
             Gator Six Zulu
             (TO BE REPRESENTED PRO HAC)

              /s/Deb Maxwell/ ~ l _ , ~
              SPECIAL FORCES OF LIBERTY
              4415 Spring Lake CT
              New Port Richey, FL 34652
              (727) 400-2182
              I debmaxwell@gmail.com
              www,specialforcesofliberty,com
              (TO BE REPRESENTED PRO HAC)

             ls/Pastor Rich Penkoski/ ~          ~1jft.---1
             WARRIORS FOR CHRIST
             195 NW 103rd Strreet
             Miami, FL 33150
             4301 50th St, Suite 300, #2009,
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                                                                          61


         Washington, DC 20816
         (801) 654-5973
         pastor@wfcchurch.org
         https;//www.wfcchurch,or"
         (TO BE REPRESENTED PRO HAC)

         ls/Greg' Degeyter Esg./ ~ ~
         DEFACTOATTORNEYS~NERAL
         BCN: 24062695
         degeyterlaw@gmail.com
         9898 Bissonnet St Ste 626
         Houston , Texas 77036
         (713) 505-0524
         Attorney On Behalf Of Special Forces Of Liberty &
         Warriors For Christ
         (PRO HAC APPLJCIATION FORTHCOMING)
Case 1:21-cv-22577-DPG Document 1 Entered on FLSD Docket 07/20/2021 Page 123 of 145
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    APPENDIX A
    1. Alabama - Drafted as follows for the 2022 legislative session:
    https:llwww.dropbox.com/s/mhOkpmi8s9bkjsp/2022%20ALABAMA%20STOP%20SOCIAL%2
    0MEDIA %2QCENSORSHIP%20AMENDED%20FINAL,pdf?dl=O
    2. Alaska. Drafted by Senator Showers (R) for introduction at the 2022 legislative session:
    https://www.dropbox.com/s/ci7c8x9rlOjb55z/2Q22%2QAlaska%20StQP%2QSocial%2QMedia%2
    0Censorship%20Act%20AMENDED%20FINAL.pdf?dl=0
    3. Arizona. SB1428 sponsored by Sen. Townsend (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/AZ/text/SB 1428/2021
    -Amended for 2022 legislative session to be introduced by Sen. Townsend:
    bttps:/lwww,dropbox,com/s/7i0iakb3z4tole~022%20Arizona%20Stcw%20SociaJ%20Media%
    20Censorship%20final,pdf?dl=Q
    4. Arkansas. Drafted by Chairman Sen. Clark (R) to be introduced at the 2023 legislative
    session:
    https://www.dropbox.com/s/o98fkpfblyzgkmy/2023%20Arkansas%20Stop%20Social%20Media
    %20Censorship%20Act%20AMENDED%20%281 %29 .pdf?dl=0
    5. California. In review by Sen. Grove to be introduced at the 2022 legislative session as
    follows:
    https:llwww.dropbox.com/s/b7n96qeefbkesw3/2022%20Califomia%20Stcw%20Social%20Medi
    a%20Censorship%20Act,pdf?dl=0
    6. Colorado. To be introduced by Rep. Williams at the 2022 legislative session as follows:
    https://www.dropbox.com/s/tcc7uxddogwgs6f/2022%20Colorado%20Stop%20Social%20Media
    %20Censorship%20Act%20Final.pdf?dl=0
    7. Connecticut. To be introduced as follows at the 2022 legislative session:
    https://www,dropbox,com/s/db4xv70hcu5j4jp/2022%20Connectjcut%20Stop%20SociaJ%20Med
    ia%20Censorship%20Act%2QFINAL%20AMENDED,pdf?dJ=0
    8. Delaware. To be introduced by Sen. Richardson (R) at the 2022 legislative session:
    httl)s://www.dropbox,com/s/Qx3ayrs6964xy9n/2022%20Delaware%20Stop%20Social%2QMedia
    %20Censorship%20Act.pdf?dl=0
    9. Florida. HB 33 sponsored by Rep. Sabatini (R) - provided by De Facto Attorneys General -
    at the 2021 legislative session:
    https://Jeeiscan,com/FL/bjJJ/H00JJ/2021
    To be introduced at the 2022 legislative session as follows:
    https://www,dropbox,com/s/b65uewx;s2ntj48t/2022%20FJorida%20Stop%20SociaJ%20Media%
    2QCensorship%2QAct%20AMENDED,pdf?dl=0
    10. Georgia. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/391sacz7gg3oekj/2022%20New%20Georgia%20Stop%20Social%2
    0Media%20Censorship%20Act%20FINAL %20%281 %29 .pdf?dl=0
    11. Hawaii. SB357 sponsored by Sen. Gabbard (D) - provided by De Facto Attorneys General
    - at the 2021 legislative session:
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     https://legiscan.com/HI/text/SB357/2021
     To be introduced at the 2022 legislative session by Sen. Gabbard as follows:
     https://www.dropbox.com/s/4dro0dl wrkp4gah/2022%20Hawaii%20Stop%20Social%20Media%
     20Censorship%20Act%20%28 l %29 .pdf?dl=0
     12. Idaho. H0323 sponsored by Rep. Nichols (R) - provided by De Facto Attorneys General -
     at the 2021 legislative session:
     htt,ps://leiiscan,com/ID/text/H0323/202 l
     To be introduced at the 2022 legislative session by Rep. Nichols as follows:
     https://www.dropbox.com/s/5m97vlmpdrs36cg/2022%20Idaho%20Stop%20Social%20Media%
     20Censorship%20Act.pdf?dl=0
     13. Illinois. Drafted as follows for the 2022 legislative session:
     https://www.dropbox.com/s/tun4sxpl4r4h2ka/2022%20Illinois%20Stop%20Social%20Media%2
     0Censorship,pdf?dI=0
     14. Indiana: To be introduced at the 2022 legislative session by Rep. Jacobs as follows:
     htt,ps://www.drnpbox.com/s/laea6ssvk,03j5lj/2022%20Indiana%20Stop%20Social%20Media%20
     Censorship%20Act%20.pdf?dl=0
     15. Iowa. HFl 71 sponsored by Rep. Salmon - provided by De Facto Attorneys General - at the
     2021 legislative session:
     https ://legiscan.com/IA/text/HF 171 /2021
     To be introduced at the 2022 legislative session by Rep. Salmon as follows:
     htt,ps://www.dropbox,com/s/66e8he2cdOzxsj4/2022%20Iowa%20Stop%20SociaJ%20Media%20
     Censorship%20Act%20AMENDED,pdf?dl=0
     16. Kansas. HB2322 sponsored by Rep. Gaber (R) - provided by De Facto Attorneys General.
     To be introduced by Rep. Garber at the 2022 legislative session as follows:
     https://www.dropbox.com/s/6dxnzcfpzlr67gd/2022%20Kansas%20Stop%20Social%20Media%2
     0Censorship%20Act.pdf?dl=0
     17. Kentucky. SB 111 sponsored by Sen. Mills (R) - provided by De Facto Attorneys General -
     at the 2021 legislative session:
     htt,ps://leiiscan,com/KY/text/SBJ 1112021
     To be introduced at the 2022 legislative session by Sen. Mills as follows:
     https://www.dropbox.com/s/tlr4kcgakrlelyc/2022%20Kentucky%20Stop%20Social%20Media%
     20Censorship%20Act%20%28 l %29 .pdf?dl=0
     18. Louisiana. SB196 sponsored by Sen. Morris (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https://legiscan.com/LA/text/SB196/2021
     To be introduced at the 2022 legislative session by Sen. Morris as follows:
     htt,ps://www.dropbox.com/s/oOQiu7nout6np6h/Louisiana-2021-SB J96-Emirossed%20%283%29.
     pdf?dl=0
     19. Maine. LD1609 sponsored by Rep. Sampson (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
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    https ://legiscan.com/ME/text/LD 1609/2021
    To be introduced at the 2022 legislative session by Rep. Sampson as follows:
    https://www.dropbox.com/s/xii2kpbtktkkrsf/2022%20Maine%20Stop%20Social%20Media%20
    Censorship%20Act.pdf?dl=0
    20. Maryland. HB1314 sponsored by Del. Adams (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan,com/MD/text/HB 1314/202 I
    To be introduced at the 2022 legislative session by Del. Adams as follows:
    https://www.dropbox.com/s/nshl9js3df3yyn5/2022%20Mazyland%20Stop%20Social%20Media
    %20Censorship%20Act.pdf?dl=0
    21. Massachusetts. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/yy2ubrgeo5eft6k/2022%20Massachusetts%20Stop%20Social%20M
    edja%20Censorshjp%20Act.pdf?dJ=0
    22. Michigan. To be introduced as follows at the 2022 legislative session:
    https ://www.dmpbox.com/s/n3lgnOuw23re3 7z/2022%20Michi gan%20Stop%20Social%20Media
    %20Censorship%20Act%20Final%20amendment,pdf?dl=0
    23. Minnesota. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/7zrv9gy8jzv48gi/2022%20Minnesota%20Stop%20Social%20Media
    %20Censorship%20Act%20Amended%20final.pdf?dl=0
    24. Mississippi: SB 2617 sponsored by Sen. Hill (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    bttps ;//legiscan,com/MS/text/SB2617/202 I
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/wyjq7ean5b37ogw/Mississippi%20Stop%20Social%20Media%20C
    ensorship%20Act.pdf?dl=0
    25. Missouri. HB 482 sponsored by Rep. Coldman (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    bttps;//Jegjscan com/MO/hjlJ/HB482/202 J
    To be introduced as follows at the 2022 legislative session:
    https://www,dropbox,com/s/2nj5e2vlyro8m39/2022%20Missmrri%20Stop%20SocjaJ%20Media
    %20Censorship%20Act.pdf?dl=0
    26. Montana. To be introduced as follows at the 2023 legislative session:
    https://www.dropbox.com/s/qtwz360f2dik04u/2023%20MONTANA%20STOP%20SOCIAL %2
    0MEDIA%20CENSORSHIP%20ACT%20AMENDED%20FINAL.pdf?dl=0
    27. Nebraska. LB621 sponsored by Sen. Curt Friesen (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https;//legiscan,com/NE/text/LB621/2021
    To be introduced as follows at the 2023 legislative session:
    https://www.dropbox.com/s/4s6wsko5dw9syj4/2022%20Nebraska%20%2QStop%20Social%20
    Media%20Censorship%20Act%20FINAL.pdf?dl=0
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     28. Nevada: To be introduced as follows at the 2023 legislative session:
     29. New Hampshire. HB133 sponsored by Rep. Plett (R) - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ://legiscan.com/NH/text/HB 13 3/2021
     To be introduced as follows at the 2022 legislative session:
     https;//www.drophox com/s/bjlwhnhjf4cfxuj/2022%20New%20Hampshjre%20Stop%20Socjal
     %20Medja%20Censorshjp%20Act.pdf?dJ=0
     30. New Jersey. A578 sponsored by Asm. Auth - provided by De Facto Attorneys General - at
     the 2021 legislative session:
     https://legiscan.com/NJ/text/A578/2020
     To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/pkt2wgtgx8mwpjb/New%20Jersey%20Stop%20Social%20Media%
     20Censorshjp%20Act.pdf?dl=0
     31. New Mexico. To be introduced as follows at the 2022 legislative session:
     https://www,dro.pbox,corn/s/3rjkno4547telvr/2022%20New%20Mexico%20Stop%20Social%20
     Media%20Censorship%20Act%20AMENDED.pdf?dl=0
     32. New York. To be introduced as follows at the 2022 legislative session:
     https://www.dropbox.com/s/fretoaagwy7108z/2022%20New°/o20York%20Stop%20Social%20M
     edia%20Censorship%20Act%20FINAL%20AMENDED%20.pdf?dl=0
      33. North Carolina. S497 sponsored by Sen. Alexander - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ://legjscan,com/NC/text/S497/2021
     34. North Dakota. HB1144 sponsored by Rep. Kading. - provided by Professor Hamburger-
     at the 2021 legislative session:
     https://legiscan.com/ND/text/1144/2021
     To be introduced as follows at the 2022 legislative session by Rep. Jones:
     https://www.dropbox.com/s/iwf5b1eyyj82wsi/2022%20North%20Dakota%20Stop%20Social%2
     0Medja%20Censorshjp%20Act pdf?dJ=0
     35. Ohio. To be introduced as follows at the 2022 legislative session:
     https;//www,dropbox,com/s/yzjrj2z6g80eer4/2022%20New%20Ohjo%20Stop%20Socjal%20Me
     dia%20Censorship%20Act%20Final,pdf?dl=0
     36. Oklahoma. SB383 sponsored by Sen. Standridge - provided by De Facto Attorneys
     General - at the 2021 legislative session:
     https ://legiscan.corn/OK/text/S83 83/2021
     To be introduced as follows at the 2022 legislative session:
                               so;
     https ;//www.drophox com/s/J 8fe4z7QWUXh/2022%20OkJahoma%20Stop%2QSocjaJ%20Medj
     a%20Censorshjp%20Act%20FINAL %20AMENDED,pdf?dl=0
     37. Oregon. To be introduced as follows at the 2022 legislative session by Rep. Leif:
     htt,ps://www,dropbox.com/s/4k0sm4j5o0iub68/2022%20Oregon%20Stop%20Social%20Media%
     20Censorship%20Act%20FINAL%20AMENDED.pdf?dl=0
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    38. Pennsylvania. SB604 sponsored by Sen. Mastriano - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/PNtext/SB604/2021
    39. Rhode Island. H5564 sponsored by Vella-Wilkinson (D) - provided by De Facto
    Attorneys General - at the 2021 legislative session:
    https;//www.dropbox.com/s/hnk 11 ybifb0bgk8/2022%20Rhode%20Island%20Stop%20Social%2
    0Media%20Censorship,pdf?dl=0
    40. South Carolina. H3450 sponsored by Rep. Burns (R) - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/SC/text/H3450/2021
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/73d6fwl1hwr204t/2022%20South%20Carolina%20Stop%20Social
    %20Media%20Censorshjp%20Act%20Consolidated%20%282%29,pdf?dl=0
    41. South Dakota. HB1223 sponsored by Rep. Jensen - provided by De Facto Attorneys
    General - at the 2021 legislative session:
    https ://legiscan.com/SD/bill/HB 1223/2021
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/7bnc8jvt50hhzbu/2022%20South%20Dakota%20Stop%20Social%2
    0Media%20Censorship%20Act.pdf?dl=0
    42. Tennessee. To be introduced as follows at the 2022 legislative session:
    https;//www,dropbox,com/s/.ylrlbjujf5awlep/2022%20Tennessee%20Stop%20Social%20Medja
    %20Censorship%2Qbill%200859%20amended%20FINAL%20.pdf?dl=0
    43. Texas. SB12 sponsored by Sen. Hughes - provided by De Facto Attorneys General - at the
    2021 legislative session:
    https://www.dropbox.com/s/upeh2w5u5pn6zfc/2022%20Texas%20Stop%20Social%20Media%2
    0Censorship%20Act.pdf?dl=0
    44. Utah. SB228 sponsored by Sen. McKell - provided by De Facto Attorneys General - at the
    2021 legislative session:
    https;//le~jscan,com/UT/text/SB0228/2021
    To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/6zv60b2igd5xpun/2022%20Utah%20Stop%20Social%20Media%20
    Censorship%20Act%20AMENDED%20FINAL.pdf?dl=0
    45. Vermont. To be introduced as follows at the 2022 legislative session:
    https://www.dropbox.com/s/kyx6ok5u8o 1fhwu/2021 %20Vermont%20Stop%20Social%20Media
    %20Censorship%20Act%20FINAL %20.pdf?dl=0
    46. Virginia. To be introduced as follows at the 2022 legislative session by Delegate Byron:
    https;//www,drophox,com/s/fmbib~9oe9r6st3/2022%20Vir~ioia%20Stop%20Social%20Medja%
    20Censorship%20Act%20%28 I %29,pdf?dl=0
    47. Washington. To be introduced as follows at the 2022 legislative session:
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     https://www.dropbox.com/s/x3tig83nsjdhr0p/2022%20Washineton%20Stop%20Social%20Medi
     a%20Censorship%20Act%20FINAL.pdf?dl=0
     48. West Virginia. To be introduced as follows at the 2022 legislative session by Sen Azinger:
     https://www.dropbox.com/s/6tfkmxloznw5igj/West%20Virginia%20Stop%20Social%20Media%
     20Censorshjp%20Act,pdf?dI=0
     49. Wisconsin. To be introduced as follows at the 2022 legislative session:
     https;//www,dropbox,com/s/pt8v99suwbitiel/2022%20Wisconsin%20Stop%20SociaJ%20Media
     %20Censorship%20Act,pdf?dl=0
     50. Wyoming. SF0lO0 sponsored by Sen. Steinmetz - provided by Professor Hamburger- at
     the 2021 legislative session:
     https://legiscan.com/WY/text/SF0 1OO/id/2339364/Wyoming-2021-SFO100-Engrossed.pdf
     To be introduced as follows at the 2022 legislative session:
     https;//www,dmpbox com/s/mdr58wy4wsuvh9J/2022%20Wyomioi;::%20Stop%20Socja)%20Me
     dia%20Censorship%20Act,pdf?dI=0
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            To survive strict scrutiny, an infringement on speech must further a compelling state
    interest and must be narrowly tailored to achieve that interest. See, e.g., Reed, 576 U.S. at 171.

            The Amici's l



    WHAT IS THEIR INTEREST

    LEGISLATION

    ARGUMENT



    It is self-evident that the censorship carried out by the major social media platforms is immoral,
    harmful, and wrong. But this Court does not have to address whether section 230 is
    unconstitutional or whether social media websites should be classified as quasi-state actors, who
    are thereby subject to compliance with the First Amendment.

    It is no doubt true that the social media accounts of the President were an instrument of his
    presidency and that the Democrats have acted in conjunction with the Defendants to censor
    political opponents.



           Is it necessary to classify social media websites as state actors as the Plaintiffs contend in
    paragraph 3 of their original complaint? No. 1

            Is it necessary for the Court to declare Section 230 unconstitutional?




    These companies have the wealth and power of most sovereign nations. They are incredibly
    powerful entities.

    Our rights come from God. Our rights
    1
      Twitter has increasingly engaged in impermissible censorship resulting from threatened legislative
    action, a misguided reliance upon Section 230 of the Communications Decency Act, 47 U.S.C. § 230, and
    willful participation in joint activity with federal actors. Defendant Twitter's status thus rises beyond that of
    a private company to that of a state actor, and as such, Defendant is constrained by the First Amendment
    right to free speech in the censorship decisions it makes.
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              Employing shifting standards is not good faith. applicable standards.

              The First Amendment does not restrict the rights of private entities not performing
      traditional, exclusive public functions. See, e.g., Manhattan Cmty. Access Corp. v. Halleck, 139
      S. Ct. 1921, 1930 (2019). While it is true that a social media

               First, the State has asserted it is on the side of the First Amendment; the plaintiffs are not.
      It is perhaps a nice sound bite. But the assertion is wholly at odds with accepted constitutional
      principles. The First Amendment says "Congress" shall make no law abridging the freedom of
      speech or of the press
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    Biden v. Knight 141 S. Ct. 1220 (2021) "public forum."




    The Plaintiffs are correct, the Communications Decency Act was designed to protect decent
    speech over indecent speech, not to promote deceptive trade practices. 2

    77. The CDC has publicly stated that it works with "social media partners," including Twitter, to
    "curb the spread of vaccine misinformation."



    Page 27 of 4:21-cv-00220-RH-MAF D
    "Whatever might be said of any other allegedly compelling state interest, these statutes are not
    narrowly tailored. Like prior First Amendment restrictions, this is an instance of burning the
    house to roast a pig. See, e.g., Reno v. ACLU, 521 U.S. at 882; Sable Commc'n of Cal., Inc. v.
    FCC, 492 U.S. 115, 131 (1989)."



    Even if Florida Statutes§ 501.2041 is riddled with imprecision and ambiguity. But this, without
    more, does not render the statute unconstitutional.

    Page 29: The plaintiffs easily meet the other prerequisites to a preliminary injunction. If a
    preliminary injunction is not issued, the plaintiffs' members will sometimes be compelled to
    speak and will sometimes be forbidden from speaking, all in violation of their editorial judgment
    and the First Amendment. This is irreparable injury.




    2
      63. In 1996, Congress passed the Communications Decency Act of 1996, which amended the
    Telecommunications Act of 1934 with Section 230(c), intending to promote the growth and development
    of social media platforms, as well as to protect against the transmission of obscene materials over the
    Internet to children
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                           (Red language means amended)

          F L O R I D A   H O U S E   0 F   R E P R E S E N T A T I V E S

     HB                                                                 2022

                              A bill to be entitled
     An act relating to social media websites; providing a short title;
     providing definitions; providing that the owner or operator of a
     social media website is subject to a private right of action by
     certain social media website users in this state under certain
     conditions; providing for damages; authorizing the award of
     reasonable attorney fees and costs; prohibiting a social media
     website from using hate speech as a defense; authorizing the Attorney
     General to bring an action on behalf of social media website users;
     providing exceptions for the deletion or censorship of certain types
     of speech; provides for fines by the secretary of state; provides for
     severability; providing an effective date.


           WHEREAS, the Communications Decency Act was created to
     protect decent speech, not deceptive trade practices, and
           WHEREAS, repealing section 230 of the Communications
     Decency Act at the federal level is unnecessary because it
     already includes a state-law exemption and the Stop Social Media
     Censorship Act was crafted to fall squarely in the state-law
     exemption of section 230 to cure abuses of section 230 to
     protect the consumers of this state, and
           WHEREAS, contract law is a state-law issue, and when a
     citizen of this state signs up to use certain social media
     websites, they are entering into a contract, and
           WHEREAS, this state has a compelling interest in holding
     certain social media websites to higher standards for having
     substantially created a digital public square through fraud,
     false advertising, and deceptive trade practices, and
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             WHEREAS, major social media websites have engaged in the
     greatest bait and switch of all times by marketing themselves as
     free,    fair, and open to all ideas to induce subscribers only to
     then prove otherwise at great expense to consumers and election
     integrity, and
             WHEREAS, breach of contract, false advertising, bad faith,
     unfair dealing, fraudulent inducement, and deceptive trade
     practices are not protected forms of speech for purpose of the
     first amendment of the United States Constitution or the
     Constitution of this state, and
             WHEREAS, the major social media websites have already
     reached critical mass, and they did it through fraud,       false
     advertising, and deceptive trade practices at great expense to
     the health, safety, and welfare of consumers of this state,
     while making it difficult for others to compete with them, and
             WHEREAS, the state has an interest in helping its citizens
     enjoy their free exercise rights in certain semi-public forums
     commonly used for religious and political speech, regardless of
     which political party or religious organization they ascribe to,
     and
             WHEREAS, this state is generally opposed to online
     censorship unless the content is injurious to children or
     promotes human trafficking; only then does this state accept
     limited censorship, and
             WHEREAS, this act is not intended to apply to a website
     that merely deletes comments posted by members of the general
     public in response to material published by the website's owner,
     NOW THEREFORE,

     Be It Enacted by the Legislature of the State of Florida:
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            Section 1. This act may be cited as the "Stop Social Media
    Censorship Act."

            Section 2.   This section is intended to create a statute
    that parallels the spirit of 47        u.s,c.
                                           § 230 that falls within
    the state law exemption under 47 u,s,c, § 230/e} /3} and create a
    civil right of action that will deter the following:
            (1\   Deceptive    trade practices;
            (2)   False advertising;
            (3)   Breach of contract;
            /4l   Bad faith;
            (5)   Unfair dealing;
            (6l   Fraudulent inducement; and
            /7\ The stifJ ing of political and religious speech in the
    modern-day digital public square cultivated by social media
    websites that have achieved critical mass through fraud,

            Section 3.   Social media website speech; cause of action;
    penalties,-

            111   As used in this section. the term;
            (a)   "Algorithm" means a set of instructions designed to
    perform a specific task.
            (b)   "Hate speech" means a phrase concerning content that
    an individual finds offensive based on his or her personal moral
    code.
            (c)   "Obscene" means that an average person. applying
    contemporary community standards, would find that, taken as a
    whole, the dominant theme of the material appeals to prurient
    interests.
            ldl   "Political speech" means speech relating to the state,
    government. body politic, or public administration as it relates
    to governmental policymaking, The term includes speech by the
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      government or a candidate for office and any discussion of
      social issues, The term does not include speech concerning the
      administration, law, or civil aspects of government.
            (e)    ''Religious speech" means a set of unproven answers,
      truth claims. faith-based assumptions. and naked assertions that
      attempt to explain such greater questions created, what
      constitutes right and wrong what happens after death.
            (f)    "Social media website":
            1. Means an Internet website or application that enables
      users to communicate with each other by posting information.
      comments, messages, or images and that meets all of the
      following requirements:
           i,     Is open to the public,
           ii.     Has more than 75 million subscribers with personal
      user profiles,
           iii.     From its inception, has not been specifically
      affiliated with any one religion or political party.
           iv,     Provides a means for the website's users to report
      obscene materials and has in place procedures for evaluating
      those reports and removing obscene material; and
           v.     Allows for subscribers to sign up for a personal user
      profile page or account where beliefs and preferences can be
      expressed by the user,
           2. The term does not include a website that merely permits
      members of the general public to post comments on content
      published by the owner of the website.
            (g)    "User profile" means a collection of settings and
      information associated with a user or subscriber who signs up
      for an account made available by a social media website. Such
      accounts often include the explicit digital representation of
      the identity of the user or subscriber with respect to the
      operating environment of a social media website. Such accounts
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    often associate characteristics with a user or subscriber, which
    may help in ascertaining the interactive behavior of the user
    along with their personal preferences and beliefs.
          (2) (al   The owner or operator of a social media website who
    contracts with a socjal media website user in this state is
    subject to a private right of action by such user if the social
    media website purposely;
          1.    Deletes or censors the user's religious speech or
    political speech; or
          2,    uses an algorithm to disfavor or censure the user's
    religious speech or political speech.
          (bl    A social media website user may be awarded all of the
    following damages under this section;
          1.    Up to $75,000 in statutory damages.
          2.    Actual damages,
          3. If aggravating factors are present, punitive damages.
          4.    Other forms of equitable relief.
          (c\    The prevailing party in a cause of action under this
    section may be awarded costs and reasonable attorney fees.
          (d\    A social media website that restores from deletion or
    removes the censoring of a social media website user's speech in
    a reasonable amount of time may use that fact to mitigate any
    damages.
          (3)    A social media website may not use the social media
    website user's alleged hate speech as a basis for justification
    or defense of the social media website's actions at trial.
          (4)    The Attorney General may also bring a civil cause of
    action under this section on behalf of a social media website
    user who resides in this state and whose religious speech or
    political speech has been censored by a social media website,
          (5)    This section does not apply to any of the following:
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           (a)     A social media website that deletes or censors a
      social media website user's speech or that uses an algorithm to
      disfavor or censure speech that:
           1.      Calls for immediate acts of violence;
           2,      Is obscene. lewd. lascivious. filthy or pornographic in
      nature;
           3.      Is the result of operational error;
           4.      Is the result of a court order;
           5.      Cornes from an inauthentic source or involves false
      personation;
           6.      Entices criminal conduct;
           7,      Involves minors bullying minors;
           B,      constitqtes trademark or copyright infringement;
           9.      Is excessively violent; and
           10.      constitutes harassing spam of the commercial. not
      religious or political, nature.
            (b) A social media website user's censoring of another
      social media website user's speech.
            ( 6)    Qnly users who are 16 years of age or older have
      standing to seek enforcement of this section.
           Section 4. The secretary of state rnsay;
            (1)     Issue a fine in one of the following amounts if the
      Secretary of State finds that the social media website has
      engaged in deplatforming or shadowbanning a political candidate
      seeking office in Connecticut in violation of this act:
            (a\     If the candidate is seeking statewide office. up to
      s100.ooo per day of the violation;
            lb)     For all other candidates, up to $10,000 per day of the
      violation; and
            (2) Disclose a social media company's algorithmic bias for
      or against a political candidate seeking Statewide office under
      subsection Ill of this section as a campaign contribution,
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          Section 5.   If any section in this act or any part of any
    section is declared invalid or unconstitutional. the declaration
    shall not affect the validity or constitutionality of the
    remaining portions.
          Section 6.   This act shall take effect July 1, 2022.
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      47 U.S. Code § 230 - Protection for private blocking and
      screening of offensive material

            U.S. Code                 Notes




                  (a)     FINDINGS

                         The Congress finds the following:

                       (1) The rapidly developing array of Internet and other interactive
                       computer services available to individual Americans represent an
                       extraordinary advance in the availability of educational and
                       informational resources to our citizens.

                       (2) These services offer users a great degree of control over the
                       information that they receive, as well as the potential for even
                       greater control in the future as technology develops.

                       (3) The Internet and other interactive computer services offer a
                       forum for a true diversity of political discourse, unique opportunities
                       for cultural development, and myriad avenues for intellectual activity.

                       (4) The Internet and other interactive computer services have
                       flourished, to the benefit of all Americans, with a minimum of
                       government regulation.

                       (5) Increasingly Americans are relying on interactive media for a
                       variety of political, educational, cultural, and entertainment services.

                  (b)     POLICY
    V




https://www.law.comell.edu/uscode/text/47/230                                                                                                                              1/6
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                        (2) to preserve the vibrant and competitive free market that
                        presently exists for the Internet and other interactive computer
                        services, unfettered by Federal or State regulation;
                                                                                                                                                                               .......   ,




                        (3) to encourage the development of technologies which maximize
                        user control over what information is received by individuals, families,
                        and schools who use the Internet and other interactive computer
                        services;

                         (4) to remove disincentives for the development and utilization of
                        blocking and filtering technologies that empower parents to restrict
                        their children's access to objectionable or inappropriate online
                        material; and

                        (5) to ensure vigorous enforcement of Federal criminal laws to deter
                        and punish trafficking in obscenity, stalking, and harassment by
                        means of computer.

                    ( c)   PROTECTION FOR             "Gooo        SAMARITAN" BLOCKING AND SCREENING OF OFFENSIVE

                   MATERIAL

                         (1)    TREATMENT OF PUBLISHER OR SPEAKER

                        No provider or user of an interactive com12uter service shall be
                        treated as the publisher or speaker of any information provided by
                        another information content provi_d_e_r.

                         ( 2)   CIVIL LIABILITY

                                No provider or user of an interactive computer service shall be
                                held liable on account of-

                             (A) any action voluntarily taken in good faith to restrict access to
                             or availability of material that the provider or user considers to be
                             obscene, lewd, lascivious, filthy, excessively violent, harassing, or
                             otherwise objectionable, whether or not such material is
                             constitutionally protected; or

                             (B) any action taken to enable or make available to information
                             content providers or others the technical means to restrict access
     V                       to material described in paragraph (1).111




https://www .law .comell .edu/uscode/text/47/230                                                                                                                         2/6
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                   A provider of interactive computer service shall, at the time of entering
                   an agreement with a customer for the provision of interactive computer
                   service and in a manner deemed appropriate by the provider, notify such
                   customer that parental control protections (such as computer hardware,
                   software, or filtering services) are commercially available that may assist
                   the customer in limiting access to material that is harmful to minors.
                   Such notice shall identify, or provide the customer with access to
                   information identifying, current providers of such protections.

                   (e)     EFFECT ON OTHER LAWS

                        (1) No        EFFECT ON CRIMINAL LAW

                        Nothing in this section shall be construed to impair the enforcement
                        of section .?..?.. J or -~~1 of this title, chapter 71 (relating to obscenity)
                        or 110 (relating to sexual exploitation of children) of title 18, or any
                        other Federal criminal statute.

                        (2) No        EFFECT ON INTELLECTUAL PROPERTY LAW

                        Nothing in this section shall be construed to limit or expand any law
                        pertaining to intellectual property.

                        (3)     STATE LAW

                        Nothing in this section shall be construed to prevent any State from
                        enforcing any State law that is consistent with this section. No cause
                        of action may be brought and no liability may be imposed under any
                        State or local law that is inconsistent with this section.
                        --
                        ( 4) No       EFFECT ON COMMUNICATIONS PRIVACY LAW

                        Nothing in this section shall be construed to limit the application of
                        the Electronic Communications Privacy Act of 1986 or any of the
                        amendments made by such Act, or any similar State law.

                        (5) No        EFFECT ON SEX TRAFFICKING LAW

                              Nothing in this section (other than subsection (c)(2)(A)) shall be
                              construed to impair or limit-

                             (A) any claim in a civil action brought under section 1595 of title
     V




https://www .law.comell .edu/uscode/text/47/230                                                                                                                             3/6
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                             (B) any charge in a criminal prosecution brought under State law
                             if the conduct underlying the charge would constitute a violation
                             of section 1591 of title 18; or

                             (C) any charge in a criminal prosecution brought under State law
                             if the conduct underlying the charge would constitute a violation
                             of section 2421A of title 18, and promotion or facilitation of
                             prostitution is illegal in the jurisdiction where the defendant's
                             promotion or facilitation of prostitution was targeted.


                    (f)    DEFINITIONS

                           As used in this section:

                        (1) INTERNET
                        The term "Internet" means the international computer network of
                        both Federal and non-Federal interoperable packet switched data
                        networks.

                        (2) INTERACTIVE COMPUTER SERVICE
                        The term "interactive computer servic~." means any information
                        service, system, or access software provider that provides or enables
                        computer access by multiple users to a computer server, including
                        specifically a service or system that provides access to the Internet
                        and such systems operated or services offered by libraries or
                        educational institutions.

                        (3) INFORMATION CONTENT PROVIDER
                        The term "information content provider" means any___ person or entity
                        that is responsible, in whole or in part, for the creation or
                        development of information provided through the Internet or any
                        other interactive computer service.

                          ( 4)   ACCESS SOFTWARE PROVIDER

                                 The term "access software provider" means a provider of
                                 software (including client or server software), or enabling tools
                                 that do any one or more of the following:
     V




https://www .law .comell .edu/uscode/text/47/230                                                                                                                          4/6
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                             (C) transmit, receive, display, forward, cache, search, subset,
                             organize, reorganize, or translate content.


                (June 19, 1934, ch. 652, title II, § 230, as added Pub. L. 104-104, title V,
                § 509_, Feb. 8, 1996, 110 Stat. 137; amended Pub. L. 105-277, div. C, title
                ~JV.,.§ 1404(a.)., Oct. 21, 1998, 112 Stat. 2681-739; Pub. L. 115-164,_
                § 4(a), Apr. 11, 2018, 132 Stat. 1254.)




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     TERMS OF USE

     PRIVACY



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                                                                                 L




     V




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